                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                                 Desc
                                                                                                 Exhibit A - Payroll Register Page 1 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Abreu Lopez, Jordhy Enmanuel                   207 Glendale Ave                            Hourly Rate:          14.5000           Hire Date: 10/28/2021     Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ABREJORD XXX-XX-2408                                                                Status:               Active            Birth Date: 4/2/XXXX      State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 109.48                  Paid Gross: 109.48                 Net Pay: 95.80                 Direct Deposit: - None -                            Check Amount: 95.80               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.55              109.48             62.11                900.61                                                            SOC SEC EE                109.48           6.79            900.61                55.84
                                                                                                                                                                        MED EE                    109.48           1.59            900.61                13.06
                                                                                                                                                                        FEDERAL WH                109.48           3.35            900.61                73.45
                                                                                                                                                                        SOUTH CAROLINA WH         109.48           1.95            900.61                40.10
                         Totals:             7.55             109.48              62.11                900.61                 Totals:         0.00              0.00                 Totals:                      13.68                                 182.45

Abreu Lopez, Rafael David                      207 Glendale Ave                            Hourly Rate:          14.5000           Hire Date: 9/30/2021      Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ABRERAFA XXX-XX-3136                                                                Status:               Active            Birth Date: 8/31/XXXX     State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 109.48                  Paid Gross: 109.48                 Net Pay: 95.81                 Direct Deposit: - None -                            Check Amount: 95.81               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.55              109.48            190.44              2,761.41                                                            SOC SEC EE                109.48           6.79          2,886.47               178.96
Overtime                                    0.00                0.00              5.75                125.06                                                            MED EE                    109.48           1.58          2,886.47                41.85
                                                                                                                                                                        FEDERAL WH                109.48           3.35          2,886.47               271.87
                                                                                                                                                                        SOUTH CAROLINA WH         109.48           1.95          2,886.47               151.86
                         Totals:             7.55             109.48             196.19               2,886.47                Totals:         0.00              0.00                 Totals:                      13.67                                 644.54

Alberino Jr, Ronald                            206 Anglewood Dr                            Per Pay Salary:       1153.85           Hire Date: 2/10/2020      Federal: Single                     Exempts: 1     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #: ALBERONA XXX-XX-3058                                                                Status:               Active            Birth Date: 4/10/XXXX     State SC: Single                    Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 461.54                  Paid Gross: 461.54                 Net Pay: 377.13                Direct Deposit: Checking ####4051       377.13      Check Amount: 0.00                Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                      Wage             Tax         YTD Wage            YTD Tax
Regular                  28.8462           16.00              461.54          1,816.00             52,384.79 MedInsPT                         0.00          4,578.75    SOC SEC EE                461.54          28.62         47,179.64           2,925.14
                                                                                                                 DentalPT                     0.00            516.60    MED EE                    461.54           6.69         47,179.64             684.10
                                                                                                                 VisioPTWH                    0.00            109.80    FEDERAL WH                461.54          32.52         47,179.64           5,060.82
                                                                                                                                                                        SOUTH CAROLINA WH         461.54          16.58         47,179.64           2,470.43
                         Totals:            16.00             461.54           1,816.00              52,384.79                Totals:         0.00          5,205.15                 Totals:                      84.41                            11,140.49

Albert, Brad A                                 219 Raleighwood Lane                        Per Pay Salary:       2307.70           Hire Date: 7/19/2021      Federal: Single or Married Filing   Exempts:       Addl Tax: $50.00          Res State:     SC
                                               SIMPSONVILLE, SC 29681                                                                                        Separately
Emp #: ALBEBRAD XXX-XX-5866                                                                Status:               Active            Birth Date: 4/3/XXXX                                                                                   Work State: SC
                                                                                                                                                             State SC: Single                    Exempts: 0     Addl Tax: $50.00
REGULAR CHECK                          Gross Wage: 923.08                  Paid Gross: 923.08                 Net Pay: 618.77                Direct Deposit: Checking ####0977       618.77      Check Amount: 0.00                Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  57.6924           16.00              923.08            640.00             36,923.20     MedInsPT                     0.00            248.30    SOC SEC EE                923.08          57.23         37,538.78              2,327.40
Vacation                                    0.00                0.00             16.00                923.08     DentalPT                     0.00             49.50    MED EE                    923.08          13.38         37,538.78                544.31
ER Match*                                   0.00                0.00              0.00              1,107.72     K401                         0.00          3,323.04    FEDERAL WH                923.08         127.98         34,215.74              6,151.70
                                                                                                                 VisioPTWH                    0.00              9.70    SOUTH CAROLINA WH         923.08         105.72         34,215.74              3,093.85
                                                                                                                 STD                          0.00            103.80
                                                                                                                 Voluntary Life               0.00             20.80
                                                                                                                 Accidental Ill               0.00             13.25
                                                                                                                 Critical Illnes              0.00             41.20
                         Totals:            16.00             923.08             656.00              37,846.28                Totals:         0.00          3,809.59                 Totals:                     304.31                            12,117.26
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                   Page 1
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:21 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 2 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Alexander Mendez, David                        205 Conway Ave                              Hourly Rate:          17.0000           Hire Date: 3/30/2020      Federal: Single                   Exempts: 4     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ALEXDAVI XXX-XX-3448                                                                Status:               Active            Birth Date: 3/29/XXXX     State SC: Single                  Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 294.95                  Paid Gross: 294.95                 Net Pay: 271.92                Direct Deposit: - None -                          Check Amount: 271.92             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000           17.35              294.95          1,774.81             27,501.67 Other                            0.00              36.00 SOC SEC EE                294.95          18.29         45,710.09              2,834.03
Overtime                                    0.00                0.00            734.75             16,704.42                                                            MED EE                  294.95           4.28         45,710.09                662.80
Vacation                                    0.00                0.00             72.00              1,144.00                                                            FEDERAL WH              294.95           0.00         45,710.09              3,208.51
Holiday                                     0.00                0.00             16.00                240.00                                                            SOUTH CAROLINA WH       294.95           0.46         45,710.09              1,885.67
Personal                                    0.00                0.00              8.00                120.00
                         Totals:           17.35              294.95          2,605.56             45,710.09           Totals:                0.00              36.00                Totals:                    23.03                                8,591.01

Andrade, Mark                                  140 Gray Court Estate Dr                    Hourly Rate:          14.5000           Hire Date: 7/29/2021      Federal: Married                  Exempts: 4     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #:                   XXX-XX-4470                                                       Status:               Active            Birth Date: 3/29/XXXX     State SC: Married                 Exempts: 4     Addl Tax:                 Work State: SC
ANDRMARK
REGULAR CHECK                          Gross Wage: 115.28                  Paid Gross: 115.28                 Net Pay: 106.45                Direct Deposit: - None -                          Check Amount: 106.45             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.95              115.28            556.46              8,068.75                                                            SOC SEC EE              115.28           7.15         10,183.82                631.40
Overtime                                    0.00                0.00             91.91              1,999.07                                                            MED EE                  115.28           1.68         10,183.82                147.67
FloatingHoliday                             0.00                0.00              8.00                116.00                                                            FEDERAL WH              115.28           0.00         10,183.82                218.66
                                                                                                                                                                        SOUTH CAROLINA WH       115.28           0.00         10,183.82                299.09
                         Totals:             7.95             115.28             656.37              10,183.82                Totals:         0.00               0.00                Totals:                     8.83                                1,296.82

Armstrong, Dewey T                             445 South Oakley Lane                       Per Pay Salary:       2307.69           Hire Date: 7/16/2018      Federal: Married                  Exempts: 4     Addl Tax:                 Res State:     SC
                                               Spartanburg, SC 29301
Emp #:                   XXX-XX-2883                                                       Status:               Active            Birth Date: 7/22/XXXX     State SC:                         Exempts: 4     Addl Tax:                 Work State: SC
ARMSDEWE
REGULAR CHECK                          Gross Wage: 923.08                  Paid Gross: 923.08                 Net Pay: 838.23                Direct Deposit: Checking ####3422       838.23    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage            YTD Tax
Regular                  57.6923           16.00              923.08          1,816.00            176,250.21 K401                             0.00          19,285.94 SOC SEC EE                  0.00           0.00        142,800.00           8,853.60
Auto Allowance                              0.00                0.00              0.00              8,000.00                                                            MED EE                  923.08          13.39        184,250.21           2,671.63
ER Match*                                   0.00                0.00              0.00              7,013.20                                                            FEDERAL WH              923.08          35.77        164,964.27          23,386.51
                                                                                                                                                                        SOUTH CAROLINA WH       923.08          35.69        164,964.27          10,216.81
                         Totals:            16.00             923.08           1,816.00           184,250.21                  Totals:         0.00          19,285.94                Totals:                    84.85                            45,128.55

Atkinson, Jamie L                              429 Oakland Rd                              Per Pay Salary:       1634.62           Hire Date: 8/31/2020      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Union, SC 29379
Emp #: ATKIJAMI XXX-XX-8617                                                                Status:               Active            Birth Date: 11/11/XXXX    State SC: Married                 Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 653.85                  Paid Gross: 653.85                 Net Pay: 566.96                Direct Deposit: Checking ####5008       566.96    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current               YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  40.8654           16.00              653.85          1,774.01             64,013.13     MedInsPT                     0.00           6,581.25   SOC SEC EE              653.85          40.54         66,787.21              4,140.81
Overtime                                    0.00                0.00            174.92              8,527.33     DentalPT                     0.00             823.50   MED EE                  653.85           9.48         66,787.21                968.41
Vacation                                    0.00                0.00             44.00              1,563.85     VisioPTWH                    0.00             172.35   FEDERAL WH              653.85           0.00         66,787.21              1,057.83
Holiday                                     0.00                0.00              8.00                260.00     STD                          0.00             538.20   SOUTH CAROLINA WH       653.85          36.87         66,787.21              3,467.78
                                                                                                                 LTD                          0.00             932.88
                                                                                                                 Accidental Ill               0.00             121.90
                                                                                                                 Critical Illnes              0.00             621.00
                         Totals:            16.00             653.85           2,000.93              74,364.31                Totals:         0.00           9,791.08                Totals:                    86.89                                9,634.83
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 2
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:21 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 3 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Bacon, Rosette                                 155 Ride Rd Apt 1010                        Per Pay Salary:       1153.85           Hire Date: 1/7/2020       Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29607
Emp #: BACOROSE XXX-XX-1670                                                                Status:               Active            Birth Date: 3/21/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 461.54                  Paid Gross: 461.54                 Net Pay: 403.00                Direct Deposit: Checking ####1922       403.00    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  28.8462           16.00              461.54          1,776.00             52,919.34 MedInsPT                         0.00          1,053.90    SOC SEC EE              461.54          28.62         51,730.89              3,207.32
                                                                                                                 DentalPT                     0.00            108.90    MED EE                  461.54           6.69         51,730.89                750.10
                                                                                                                 VisioPTWH                    0.00             25.65    FEDERAL WH              461.54          13.75         51,730.89              4,405.90
                                                                                                                 STD                          0.00            251.10    SOUTH CAROLINA WH       461.54           9.48         51,730.89              2,458.43
                                                                                                                 Voluntary Life               0.00             74.70
                                                                                                                 Accidental Ill               0.00            119.25
                         Totals:            16.00             461.54           1,776.00              52,919.34                Totals:         0.00          1,633.50                 Totals:                    58.54                            10,821.75

Baker, Benjamin                                10 Chicago Dr                               Hourly Rate:          17.0000           Hire Date: 5/6/2021       Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: BAKEBENJ XXX-XX-8262                                                                Status:               Active            Birth Date: 9/10/XXXX     State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 127.50                  Paid Gross: 127.50                 Net Pay: 117.74                Direct Deposit: - None -                          Check Amount: 117.74             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000            7.50              127.50          1,049.85             15,725.79 Other                            0.00             10.00 SOC SEC EE                 127.50           7.91         21,662.69              1,343.09
Overtime                                    0.00                0.00            259.15              5,488.90                                                            MED EE                  127.50           1.85         21,662.69                314.11
Vacation                                    0.00                0.00              8.00                112.00                                                            FEDERAL WH              127.50           0.00         21,662.69                690.67
Holiday                                     0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH       127.50           0.00         21,662.69                563.12
Personal                                    0.00                0.00              8.00                112.00
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:            7.50              127.50          1,341.00             21,662.69           Totals:                0.00             10.00                 Totals:                     9.76                                2,910.99

Bartolo Miguel, Juana                          311 Conway Ave                              Hourly Rate:          14.5000           Hire Date: 7/15/2021      Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BARTJUAN XXX-XX-8768                                                                Status:               Active            Birth Date: 8/15/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.00                  Paid Gross: 232.00                 Net Pay: 213.96                Direct Deposit: - None -                          Check Amount: 213.96             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            472.02              7,059.30                                                            SOC SEC EE              232.00          14.38          8,843.56                548.30
Overtime                                    0.00                0.00             73.78              1,668.26                                                            MED EE                  232.00           3.36          8,843.56                128.23
Vacation                 14.5000            8.00              116.00              8.00                116.00                                                            FEDERAL WH              232.00           0.00          8,843.56                475.05
                                                                                                                                                                        SOUTH CAROLINA WH       232.00           0.30          8,843.56                287.51
                         Totals:            16.00             232.00             553.80               8,843.56                Totals:         0.00              0.00                 Totals:                    18.04                                1,439.09




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 3
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:21 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 4 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Bell, Krystal L                                242 Oak Street                              Hourly Rate:          17.5000           Hire Date: 6/25/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: BELLKRYS XXX-XX-4015                                                                Status:               Active            Birth Date: 12/10/XXXX    State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 139.48                  Paid Gross: 139.48                 Net Pay: 128.81                Direct Deposit: Savings ####3500        128.81    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            7.97              139.48            663.58             10,469.54                                                            SOC SEC EE              139.48           8.65         12,092.41               749.73
Overtime                                    0.00                0.00             26.39                574.87                                                            MED EE                  139.48           2.02         12,092.41               175.34
Vacation                                    0.00                0.00             40.00                652.00                                                            FEDERAL WH              139.48           0.00         12,092.41               523.67
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH       139.48           0.00         12,092.41               191.91
Personal                                    0.00                0.00              8.00                140.00
FloatingHoliday                             0.00                0.00              8.00                140.00
                         Totals:            7.97              139.48            753.97             12,092.41           Totals:                0.00               0.00                Totals:                    10.67                                1,640.65

Blackwell, Jeffrey L                           129 Queens Circle                           Hourly Rate:          25.0000           Hire Date: 2/25/2021      Federal: Married                  Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BLACJEFF          XXX-XX-8063                                                       Status:               Active            Birth Date: 9/5/XXXX      State SC: Married                 Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 200.00                  Paid Gross: 200.00                 Net Pay: 184.57                Direct Deposit: Checking ####1476       184.57    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  25.0000            8.00              200.00          1,331.89             30,617.25 Michigan Child                   0.00           2,497.67 SOC SEC EE                200.00          12.40         41,000.17              2,542.01
                                                                                                                 Support
Overtime                                     0.00               0.00             261.14               8,822.92                                                          MED EE                  200.00           2.90         41,000.17                594.50
Vacation                                     0.00               0.00              40.00               1,000.00                                                          FEDERAL WH              200.00           0.00         41,000.17              2,667.67
Holiday                                      0.00               0.00               8.00                 200.00                                                          SOUTH CAROLINA WH       200.00           0.13         41,000.17              1,994.76
Personal                                     0.00               0.00               8.00                 160.00
FloatingHoliday                              0.00               0.00               8.00                 200.00
                         Totals:             8.00             200.00           1,657.03              41,000.17                Totals:         0.00           2,497.67                Totals:                    15.43                                7,798.94

Blanton, Michael Wayne                         166 Burt Gin Rd                             Per Pay Salary:       1826.93           Hire Date: 6/17/2020      Federal: Married                  Exempts: 8     Addl Tax:                 Res State:     SC
                                               Gaffney, SC 29340
Emp #: BLANMICH XXX-XX-6127                                                                Status:               Active            Birth Date: 5/28/XXXX     State SC: Married                 Exempts: 8     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 730.77                  Paid Gross: 730.77                 Net Pay: 666.25                Direct Deposit: Checking ####0825       666.25    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  45.6733           16.00              730.77          1,736.00             79,288.77 MedInsPT                         0.00           7,080.30   SOC SEC EE              730.77          45.31         74,866.49              4,641.72
Vacation                                    0.00                0.00             80.00              3,653.87 DentalPT                         0.00             823.50   MED EE                  730.77          10.59         74,866.49              1,085.56
                                                                                                                 VisioPTWH                    0.00             172.35   FEDERAL WH              730.77           0.00         74,866.49              3,712.60
                                                                                                                 STD                          0.00             567.00   SOUTH CAROLINA WH       730.77           8.62         74,866.49              3,249.47
                                                                                                                 Voluntary Life               0.00           1,413.00
                                                                                                                 Accidental Ill               0.00             296.10
                                                                                                                 Critical Illnes              0.00             858.60
                         Totals:            16.00             730.77           1,816.00              82,942.64                Totals:         0.00          11,210.85                Totals:                    64.52                            12,689.35




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 4
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:21 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 5 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Bluford, Alexander J                           194 Coggins Dairy Rd                        Hourly Rate:         14.0000            Hire Date: 10/28/2021     Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BLUFALEX XXX-XX-8566                                                                Status:              Active             Birth Date: 4/15/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 215.60                  Paid Gross: 215.60                 Net Pay: 199.11                Direct Deposit: - None -                          Check Amount: 199.11             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.40              215.60             55.40                775.60                                                            SOC SEC EE              215.60          13.37            898.03                55.68
Overtime                                    0.00                0.00              5.83                122.43                                                            MED EE                  215.60           3.12            898.03                13.02
                                                                                                                                                                        FEDERAL WH              215.60           0.00            898.03                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       215.60           0.00            898.03                 3.66
                         Totals:            15.40             215.60              61.23                898.03                 Totals:         0.00              0.00                 Totals:                    16.49                                  72.36

Borgos Negron, Janisse Linnette                331 A Bronco                                Hourly Rate:         15.5000            Hire Date: 5/6/2021       Federal: Married                  Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BORGJANI XXX-XX-5266                                                                Status:              Active             Birth Date: 4/28/XXXX     State SC: Married                 Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.52                Direct Deposit: - None -                          Check Amount: 114.52             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00          1,036.09             16,059.45                                                            SOC SEC EE              124.00           7.69         24,476.16              1,517.52
Overtime                                    0.00                0.00            335.34              7,796.71                                                            MED EE                  124.00           1.79         24,476.16                354.90
Vacation                                    0.00                0.00             16.00                248.00                                                            FEDERAL WH              124.00           0.00         24,476.16                608.38
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       124.00           0.00         24,476.16                764.87
Personal                                    0.00                0.00              8.00                124.00
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          1,411.43             24,476.16           Totals:                0.00              0.00                 Totals:                     9.48                                3,245.67

Borreli Borreli, Lisbette                      385 Fleming Mill Rd                         Hourly Rate:         15.0000            Hire Date: 2/11/2021      Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BORRLISB XXX-XX-8929                                                                Status:              Active             Birth Date: 2/6/XXXX      State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.20                  Paid Gross: 232.20                 Net Pay: 214.43                Direct Deposit: - None -                          Check Amount: 214.43             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.48              232.20          1,464.97             20,774.55                                                            SOC SEC EE              232.20          14.40         29,943.80              1,856.52
Overtime                                    0.00                0.00            397.44              8,209.25                                                            MED EE                  232.20           3.37         29,943.80                434.19
Vacation                                    0.00                0.00             40.00                600.00                                                            FEDERAL WH              232.20           0.00         29,943.80                893.25
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       232.20           0.00         29,943.80                743.39
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.48              232.20          1,926.41             29,943.80           Totals:                0.00              0.00                 Totals:                    17.77                                3,927.35




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 5
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:22 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 6 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Boyd, Junius                                   414 Bookroom Road                           Hourly Rate:          16.5000           Hire Date: 6/9/2020       Federal: Single                   Exempts: 4     Addl Tax:                 Res State:     SC
                                               Kinards, SC 29355
Emp #: BOYDJUNI XXX-XX-5331                                                                Status:               Active            Birth Date: 5/30/XXXX     State SC: Single                  Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 141.08                  Paid Gross: 141.08                 Net Pay: 130.29                Direct Deposit: - None -                          Check Amount: 130.29             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  16.5000            8.55              141.08          1,695.88             26,628.14     MedInsPT                     0.00          1,053.90    SOC SEC EE              141.08           8.75         35,009.95              2,170.62
Overtime                                    0.00                0.00            331.13              7,711.36     VisioPTWH                    0.00             25.65    MED EE                  141.08           2.04         35,009.95                507.64
Vacation                                    0.00                0.00             80.00              1,262.00     STD                          0.00            243.00    FEDERAL WH              141.08           0.00         35,009.95              1,837.42
Holiday                                     0.00                0.00             16.00                244.00     LTD                          0.00            680.40    SOUTH CAROLINA WH       141.08           0.00         35,009.95              1,173.27
Personal                                    0.00                0.00              8.00                120.00     Accidental Ill               0.00            119.25
FloatingHoliday                             0.00                0.00              8.00                124.00     Critical Illnes              0.00            370.80
                         Totals:            8.55              141.08          2,139.01             36,089.50                  Totals:         0.00          2,493.00                 Totals:                    10.79                                5,688.95

Bridges, Carroll                               PO Box 775                                  Hourly Rate:          14.5000           Hire Date: 6/8/2020       Federal: Married                  Exempts: 2     Addl Tax:                 Res State:     SC
                                               Drayton, SC 29333
Emp #: BRIDCARR XXX-XX-8819                                                                Status:               Active            Birth Date: 12/31/XXXX    State SC: Married                 Exempts: 2     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.12                Direct Deposit: Checking ####5923       107.12    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00          1,778.13             24,756.32 DentalPT                         0.00            366.30 SOC SEC EE                 116.00           7.19         33,078.19              2,050.85
Overtime                                    0.00                0.00            338.98              6,972.17                                                            MED EE                  116.00           1.68         33,078.19                479.63
Vacation                                    0.00                0.00             80.00              1,160.00                                                            FEDERAL WH              116.00           0.00         33,078.19              1,544.29
Holiday                                     0.00                0.00             16.00                224.00                                                            SOUTH CAROLINA WH       116.00           0.01         33,078.19              1,367.59
Personal                                    0.00                0.00              8.00                108.00
FloatingHoliday                             0.00                0.00             16.00                224.00
                         Totals:            8.00              116.00          2,237.11             33,444.49           Totals:                0.00            366.30                 Totals:                     8.88                                5,442.36

Bristow Jr, Eddie                              207 Charing Cross Road                      Per Pay Salary:       1400.00           Hire Date: 9/27/2021      Federal:                          Exempts:       Addl Tax:                 Res State:     SC
                                               Irmo, SC 29063
Emp #: BRISEDDI XXX-XX-6760                                                                Status:               Active            Birth Date: 10/25/XXXX    State SC:                         Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 270.20                  Paid Gross: 270.20                 Net Pay: 236.62                Direct Deposit: Checking ####9684       236.62    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  35.0000            7.72              270.20              7.72                270.20                                                            SOC SEC EE              270.20          16.75            270.20                16.75
1099 Earnings                               0.00                0.00              0.00             10,036.25                                                            MED EE                  270.20           3.92            270.20                 3.92
                                                                                                                                                                        FEDERAL WH              270.20           2.89            270.20                 2.89
                                                                                                                                                                        SOUTH CAROLINA WH       270.20          10.02            270.20                10.02
                         Totals:             7.72             270.20                7.72             10,306.45                Totals:         0.00              0.00                 Totals:                    33.58                                  33.58

Brown, Jennifer F                              219 Independence Ave                        Hourly Rate:          15.0000           Hire Date: 7/29/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt. 272
Emp #:                   XXX-XX-3610           Laurens, SC 29360                           Status:               Active            Birth Date: 5/7/XXXX      State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC
BROWJENN
REGULAR CHECK                          Gross Wage: 232.50                  Paid Gross: 232.50                 Net Pay: 214.72                Direct Deposit: Checking ####4450       214.72    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.50              232.50            413.62              6,204.30                                                            SOC SEC EE              232.50          14.41          6,898.13               427.68
Overtime                                    0.00                0.00              4.17                 93.83                                                            MED EE                  232.50           3.37          6,898.13               100.02
Vacation                                    0.00                0.00             32.00                480.00                                                            FEDERAL WH              232.50           0.00          6,898.13                 0.00
Personal                                    0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       232.50           0.00          6,898.13                 5.97
                         Totals:           15.50              232.50            457.79              6,898.13           Totals:                0.00              0.00                 Totals:                    17.78                                 533.67

 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 6
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:22 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                              Desc
                                                                                                 Exhibit A - Payroll Register Page 7 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                      Payroll Type: Regular Payroll

Brown, Sharon R                                118 North Street                            Hourly Rate:         14.0000            Hire Date: 2/26/2021     Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Wellford, SC 29385
Emp #:                   XXX-XX-3485                                                       Status:              Active             Birth Date: 2/16/XXXX    State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC
BROWSHAR
REGULAR CHECK                          Gross Wage: 215.32                  Paid Gross: 215.32                 Net Pay: 178.19                Direct Deposit: Checking ####9423      178.19    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.38              215.32          1,176.29             15,835.70 Other                            0.00            10.00 SOC SEC EE                 215.32          13.35         18,318.73              1,135.76
Overtime                                    0.00                0.00             94.19              1,811.03                                                           MED EE                  215.32           3.12         18,318.73                265.62
Vacation                                    0.00                0.00             32.00                448.00                                                           FEDERAL WH              215.32          13.94         18,318.73              1,812.15
Holiday                                     0.00                0.00              8.00                112.00                                                           SOUTH CAROLINA WH       215.32           6.72         18,318.73                970.51
Personal                                    0.00                0.00              8.00                112.00
                         Totals:           15.38              215.32          1,318.48             18,318.73           Totals:                0.00            10.00                 Totals:                    37.13                                4,184.04

Bulow, Franklin                                101 Woodrow St Apt. 101                     Hourly Rate:         14.5000            Hire Date: 6/15/2020     Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: BULOFRAN XXX-XX-2034                                                                Status:              Active             Birth Date: 10/13/XXXX   State SC: Single                  Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 130.79                  Paid Gross: 130.79                 Net Pay: 120.15                Direct Deposit: Checking ####6306      120.15    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            9.02              130.79          1,591.96             21,637.17     MedInsPT                     0.00          1,053.90   SOC SEC EE              130.79           8.11         23,209.80              1,439.01
Overtime                                    0.00                0.00             53.26              1,079.08     DentalPT                     0.00            108.90   MED EE                  130.79           1.89         23,209.80                336.54
Vacation                                    0.00                0.00             92.00              1,250.00     VisioPTWH                    0.00             25.65   FEDERAL WH              130.79           0.00         23,209.80              1,751.18
Holiday                                     0.00                0.00             16.00                216.00     STD                          0.00            218.70   SOUTH CAROLINA WH       130.79           0.64         23,209.80                899.15
Personal                                    0.00                0.00              8.00                108.00     Accidental Ill               0.00            119.25
FloatingHoliday                             0.00                0.00              8.00                108.00     Critical Illnes              0.00            286.20
                         Totals:            9.02              130.79          1,769.22             24,398.25                  Totals:         0.00          1,812.60                Totals:                    10.64                                4,425.88

Burns, Jonathan C                              245 Lamar Street                            Hourly Rate:         31.5000            Hire Date: 2/25/2021     Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Greer, SC 29651
Emp #:                   XXX-XX-9922                                                       Status:              Active             Birth Date: 8/17/XXXX    State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC
BURNJONAT
REGULAR CHECK                          Gross Wage: 173.25                  Paid Gross: 173.25                 Net Pay: 159.99                Direct Deposit: Checking ####7609      159.99    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  31.5000            5.50              173.25          1,424.28             41,698.58 SC Child Support                 0.00          3,039.61 SOC SEC EE                173.25          10.74         56,620.45              3,510.47
Overtime                                    0.00                0.00            305.43             13,289.87                                                           MED EE                  173.25           2.52         56,620.45                821.00
Vacation                                    0.00                0.00             32.00                928.00                                                           FEDERAL WH              173.25           0.00         56,620.45              3,408.16
Holiday                                     0.00                0.00              8.00                240.00                                                           SOUTH CAROLINA WH       173.25           0.00         56,620.45              2,262.91
Personal                                    0.00                0.00              8.00                240.00
FloatingHoliday                             0.00                0.00              8.00                224.00
                         Totals:            5.50              173.25          1,785.71             56,620.45            Totals:               0.00          3,039.61                Totals:                    13.26                            10,002.54




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 7
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                 Created on: 11/16/2021 9:29:22 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 8 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Burns, Rashad J                                117 Perez Drive                             Hourly Rate:         15.5000            Hire Date: 7/15/2021      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #:                   XXX-XX-7731                                                       Status:              Active             Birth Date: 1/20/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC
BURNRASH
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 107.18               Direct Deposit: Pay Card (Checking)      107.18    Check Amount: 0.00               Check #:
                                                                                                                                                            ####3727
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            549.88              8,166.09                                                            SOC SEC EE              124.00           7.68          8,937.01                554.09
Overtime                                    0.00                0.00             23.97                522.92                                                            MED EE                  124.00           1.80          8,937.01                129.59
Vacation                                    0.00                0.00             16.00                248.00                                                            FEDERAL WH              124.00           4.80          8,937.01                871.21
                                                                                                                                                                        SOUTH CAROLINA WH       124.00           2.54          8,937.01                488.92
                         Totals:             8.00             124.00             589.85              8,937.01                 Totals:         0.00              0.00                 Totals:                    16.82                                2,043.81

Calhoun, Walter A                              900 Church Street                           Hourly Rate:         14.5000            Hire Date: 9/23/2021      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: CALHWALT XXX-XX-4392                                                                Status:              Active             Birth Date: 8/21/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 131.23                  Paid Gross: 131.23                 Net Pay: 112.83                Direct Deposit: Checking ####9503       112.83    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            9.05              131.23            208.31              3,020.51                                                            SOC SEC EE              131.23           8.14          3,026.60               187.65
Overtime                                    0.00                0.00              0.28                  6.09                                                            MED EE                  131.23           1.91          3,026.60                43.89
                                                                                                                                                                        FEDERAL WH              131.23           5.53          3,026.60               275.33
                                                                                                                                                                        SOUTH CAROLINA WH       131.23           2.82          3,026.60               152.11
                         Totals:             9.05             131.23             208.59              3,026.60                 Totals:         0.00              0.00                 Totals:                    18.40                                 658.98

Campbell, James R                              2735 Anderson Road                          Hourly Rate:         17.0000            Hire Date: 11/5/2018      Federal: Married                  Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt 1402
Emp #: CAMPJAME XXX-XX-7117                    Anderson, SC 29611                          Status:              Active             Birth Date: 11/14/XXXX    State SC:                         Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 301.41                  Paid Gross: 301.41                 Net Pay: 278.35                Direct Deposit: - None -                          Check Amount: 278.35             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000           17.73              301.41          1,734.72             24,810.24     MedInsPT                     0.00          1,053.90    SOC SEC EE              301.41          18.69         37,989.15              2,355.33
Overtime                                    0.00                0.00            629.84             12,903.36     DentalPT                     0.00            108.90    MED EE                  301.41           4.37         37,989.15                550.84
Vacation                                    0.00                0.00             80.00              1,040.00     VisioPTWH                    0.00             25.65    FEDERAL WH              301.41           0.00         37,989.15                118.09
Holiday                                     0.00                0.00             16.00                216.00     STD                          0.00            178.20    SOUTH CAROLINA WH       301.41           0.00         37,989.15                601.48
Personal                                    0.00                0.00              8.00                104.00     LTD                          0.00            137.80
FloatingHoliday                             0.00                0.00              8.00                104.00     Accidental Ill               0.00            119.25
                         Totals:           17.73              301.41          2,476.56             39,177.60                  Totals:         0.00          1,623.70                 Totals:                    23.06                                3,625.74

CANNON, TERRICA S                              600 WEST MAIN STREET                        Hourly Rate:         15.5000            Hire Date: 6/29/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: CANNTERR XXX-XX-4867                                                                Status:              Active             Birth Date: 11/16/XXXX    State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.97               Direct Deposit: Pay Card (Checking)      111.97    Check Amount: 0.00               Check #:
                                                                                                                                                            ####2088
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            657.18             10,186.36                                                            SOC SEC EE              124.00           7.69         11,193.73               694.01
Overtime                                    0.00                0.00             16.66                387.37                                                            MED EE                  124.00           1.80         11,193.73               162.31
Vacation                                    0.00                0.00             24.00                372.00                                                            FEDERAL WH              124.00           0.00         11,193.73                 0.00
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       124.00           2.54         11,193.73               608.58
Personal                                    0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00            713.84             11,193.73           Totals:                0.00              0.00                 Totals:                    12.03                                1,464.90
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 8
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:22 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21 Entered 11/29/21 17:22:28                                               Desc
                                                                                                 Exhibit A - Payroll Register Page 9 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Centeno, Manuel                                104 Southview Dr                            Per Pay Salary:       1346.15           Hire Date: 5/10/2021      Federal: Married                  Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-6880                                                       Status:               Active            Birth Date: 12/4/XXXX     State SC: Married                 Exempts: 0     Addl Tax:                 Work State: SC
CENTMANU
REGULAR CHECK                          Gross Wage: 538.46                  Paid Gross: 538.46                 Net Pay: 438.09                Direct Deposit: Checking ####2986       350.47    Check Amount: 0.00               Check #:
                                                                                                                                                            Savings ####0913     87.62
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  33.6538           16.00              538.46            976.00             32,846.06 MedInsPT                         0.00          6,036.84 SOC SEC EE                 538.46          33.39         29,103.18              1,804.40
Vacation                                    0.00                0.00             80.00              2,692.30 DentalPT                         0.00            329.40 MED EE                     538.46           7.81         29,103.18                422.00
                                                                                                                 VisioPTWH                    0.00             68.94 FEDERAL WH                 538.46          30.38         29,103.18              2,527.16
                                                                                                                 STD                          0.00            217.98 SOUTH CAROLINA WH          538.46          28.79         29,103.18              1,797.01
                                                                                                                 LTD                          0.00            610.56
                                                                                                                 Voluntary Life               0.00             37.44
                                                                                                                 Accidental Ill               0.00            118.44
                                                                                                                 Critical Illnes              0.00            111.24
                         Totals:            16.00             538.46           1,056.00              35,538.36                Totals:         0.00          7,530.84             Totals:                       100.37                                6,550.57

Chavez, Marisela                               319 Wilson Street                           Hourly Rate:          15.0000           Hire Date: 7/29/2021      Federal: Single                   Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: CAHVMARI XXX-XX-4772                                                                Status:               Active            Birth Date: 8/16/XXXX     State SC: Single                  Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 240.00                  Paid Gross: 240.00                 Net Pay: 221.64                Direct Deposit: - None -                          Check Amount: 221.64             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            8.00              120.00            526.88              7,903.20                                                            SOC SEC EE              240.00          14.88          9,582.63                594.12
Overtime                                    0.00                0.00             58.64              1,319.43                                                            MED EE                  240.00           3.48          9,582.63                138.95
Vacation                 15.0000            8.00              120.00             16.00                240.00                                                            FEDERAL WH              240.00           0.00          9,582.63                291.23
FloatingHoliday                             0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       240.00           0.00          9,582.63                226.56
                         Totals:           16.00              240.00            609.52              9,582.63           Totals:                0.00              0.00                 Totals:                    18.36                                1,250.86

Cisneros, Jorge A                              665 S Harper St Ext                         Hourly Rate:          15.0000           Hire Date: 9/9/2021       Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: CISNJORG XXX-XX-4804                                                                Status:               Active            Birth Date: 3/15/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 120.00                  Paid Gross: 120.00                 Net Pay: 104.04                Direct Deposit: Checking ####8236       104.04    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            8.00              120.00            304.55              4,568.25                                                            SOC SEC EE              120.00           7.44          5,094.54                315.86
Overtime                                    0.00                0.00             23.39                526.29                                                            MED EE                  120.00           1.74          5,094.54                 73.87
                                                                                                                                                                        FEDERAL WH              120.00           4.40          5,094.54                487.80
                                                                                                                                                                        SOUTH CAROLINA WH       120.00           2.38          5,094.54                273.40
                         Totals:             8.00             120.00             327.94               5,094.54                Totals:         0.00              0.00                 Totals:                    15.96                                1,150.93




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 9
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:22 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 10 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Clark, Rodney E                                570 Booker Blvd                             Hourly Rate:          14.0000           Hire Date: 7/15/2021      Federal: Single                     Exempts: 3     Addl Tax:                 Res State:     SC
                                               UNA, SC 29378
Emp #:                   XXX-XX-6957                                                       Status:               Active            Birth Date: 2/27/XXXX     State SC: Single                    Exempts: 3     Addl Tax:                 Work State: SC
CLARRODN
REGULAR CHECK                          Gross Wage: 239.12                  Paid Gross: 239.12                 Net Pay: 220.33                Direct Deposit: Checking ####5118       220.33      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           17.08              239.12            660.62              9,248.68 Other                            0.00             10.00 SOC SEC EE                   239.12          14.83         11,830.42                733.49
Overtime                                    0.00                0.00            122.94              2,581.74                                                            MED EE                    239.12           3.47         11,830.42                171.54
                                                                                                                                                                        FEDERAL WH                239.12           0.00         11,830.42                680.62
                                                                                                                                                                        SOUTH CAROLINA WH         239.12           0.49         11,830.42                404.58
                         Totals:            17.08             239.12             783.56              11,830.42                Totals:         0.00             10.00                 Totals:                      18.79                                1,990.23

Cobb, Kimberly S                               6351 Riverfork Rd                           Hourly Rate:          19.0000           Hire Date: 7/23/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Waterloo, SC 29384                                                                                            Separately
Emp #: COBBKIMB XXX-XX-2305                                                                Status:               Active            Birth Date: 10/27/XXXX                                                                                 Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 128.63                  Paid Gross: 128.63                 Net Pay: 116.07                Direct Deposit: Checking ####0309       116.07      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  19.0000            6.77              128.63            482.76              9,172.44                                                            SOC SEC EE                128.63           7.97          9,921.14                615.11
Overtime                                    0.00                0.00              2.27                 64.70                                                            MED EE                    128.63           1.87          9,921.14                143.86
Vacation                                    0.00                0.00             28.00                532.00                                                            FEDERAL WH                128.63           0.00          9,921.14                  0.00
Personal                                    0.00                0.00              8.00                152.00                                                            SOUTH CAROLINA WH         128.63           2.72          9,921.14                547.52
                         Totals:            6.77              128.63            521.03              9,921.14           Totals:                0.00              0.00                 Totals:                      12.56                                1,306.49

Coleman, Litronda M                            927 Cline St                                Hourly Rate:          16.5000           Hire Date: 8/19/2021      Federal: Head of Household          Exempts:       Addl Tax:                 Res State:     SC
                                               Newberry, SC 29108
Emp #: COLELITR XXX-XX-0819                                                                Status:               Active            Birth Date: 9/11/XXXX     State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 23.93                   Paid Gross: 23.93                  Net Pay: 21.97                 Direct Deposit: Checking ####1840       21.97       Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                          Wage            Tax         YTD Wage               YTD Tax
Regular                  16.5000            1.45               23.93            377.74              6,224.47                                                            SOC SEC EE                  23.93          1.49          6,514.46               403.90
Overtime                                    0.00                0.00              1.05                 25.99                                                            MED EE                      23.93          0.35          6,514.46                94.46
Vacation                                    0.00                0.00             16.00                264.00                                                            FEDERAL WH                  23.93          0.00          6,514.46                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH           23.93          0.12          6,514.46               356.58
                         Totals:             1.45                23.93           394.79               6,514.46                Totals:         0.00              0.00                 Totals:                       1.96                                 854.94

Colunga Reyes, Jennifer                        311 Conway Ave                              Hourly Rate:          14.0000           Hire Date: 6/28/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: COLUJENN XXX-XX-8371                                                                Status:               Active            Birth Date: 5/30/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 217.00                  Paid Gross: 217.00                 Net Pay: 193.58                Direct Deposit: - None -                            Check Amount: 193.58             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.50              217.00            735.51             10,297.14                                                            SOC SEC EE                217.00          13.45         15,657.11               970.74
Overtime                                    0.00                0.00            212.57              4,463.97                                                            MED EE                    217.00           3.15         15,657.11               227.03
Vacation                                    0.00                0.00             40.00                560.00                                                            FEDERAL WH                217.00           0.00         15,657.11                 0.00
Holiday                                     0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH         217.00           6.82         15,657.11               918.57
Personal                                    0.00                0.00              8.00                112.00
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:           15.50              217.00          1,012.08             15,657.11           Totals:                0.00              0.00                 Totals:                      23.42                                2,116.34


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 10
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                           Entered 11/29/21 17:22:28                    Desc
                                                                                                Exhibit A - Payroll Register                       Page 11 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                      Payroll Type: Regular Payroll

Copeland, Kenneth R                            309 BYRD DR                                 Hourly Rate:         14.5000          Hire Date: 6/29/2021     Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325                                                                                          Separately
Emp #: COPEKENN XXX-XX-9956                                                                Status:              Active           Birth Date: 11/10/XXXX                                                                                Work State: SC
                                                                                                                                                          State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 104.91             Direct Deposit: Pay Card (Checking)     104.91      Check Amount: 0.00               Check #:
                                                                                                                                                          ####5402
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            681.57              9,882.84                                                        SOC SEC EE                 116.00           7.19         10,826.15               671.22
Overtime                                    0.00                0.00             19.37                421.31                                                        MED EE                     116.00           1.68         10,826.15               156.98
Vacation                                    0.00                0.00             24.00                348.00                                                        FEDERAL WH                 116.00           0.00         10,826.15               665.68
Holiday                                     0.00                0.00              8.00                116.00                                                        SOUTH CAROLINA WH          116.00           2.22         10,826.15               582.87
Personal                                    0.00                0.00              4.00                 58.00
                         Totals:            8.00              116.00            736.94             10,826.15           Totals:              0.00             0.00                Totals:                       11.09                                2,076.75

Correa-Sandoval, Yasmin                        226 Northside Church Road                   Hourly Rate:         14.0000          Hire Date: 9/27/2021     Federal: Single                     Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-7670                                                       Status:              Active           Birth Date: 9/2/XXXX     State SC: Single                    Exempts: 3     Addl Tax:                 Work State: SC
CORRYASM
REGULAR CHECK                          Gross Wage: 224.98                  Paid Gross: 224.98                 Net Pay: 207.53              Direct Deposit: Checking ####1085      207.53      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           16.07              224.98          1,134.76             14,994.82                                                        SOC SEC EE                 224.98          13.95         19,168.18              1,188.43
Overtime                                    0.00                0.00            171.22              3,341.36                                                        MED EE                     224.98           3.26         19,168.18                277.94
Vacation                                    0.00                0.00             40.00                520.00                                                        FEDERAL WH                 224.98           0.00         19,168.18              1,040.59
Holiday                                     0.00                0.00              8.00                104.00                                                        SOUTH CAROLINA WH          224.98           0.24         19,168.18                620.15
Personal                                    0.00                0.00              8.00                104.00
FloatingHoliday                             0.00                0.00              8.00                104.00
                         Totals:           16.07              224.98          1,369.98             19,168.18           Totals:              0.00             0.00                Totals:                       17.45                                3,127.11

Craine, James R                                1219 Chestnut St Ext                        Hourly Rate:         14.0000          Hire Date: 6/25/2021     Federal: Single                     Exempts: 4     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: CRAIJAME XXX-XX-2841                                                                Status:              Active           Birth Date: 7/14/XXXX    State SC: Single                    Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 222.88                  Paid Gross: 222.88                 Net Pay: 205.82              Direct Deposit: Checking ####2121      205.82      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000            7.92              110.88            671.49              9,400.86                                                        SOC SEC EE                 222.88          13.82         11,638.34                721.58
Overtime                                    0.00                0.00             95.88              2,013.48                                                        MED EE                     222.88           3.24         11,638.34                168.76
Vacation                 14.0000            8.00              112.00              8.00                112.00                                                        FEDERAL WH                 222.88           0.00         11,638.34                488.87
Holiday                                     0.00                0.00              8.00                112.00                                                        SOUTH CAROLINA WH          222.88           0.00         11,638.34                328.04
                         Totals:           15.92              222.88            783.37             11,638.34           Totals:              0.00             0.00                Totals:                       17.06                                1,707.25




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                               Page 11
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                 Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 12 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Cuevas, Gabriela                               66 RTS                                      Hourly Rate:          14.5000           Hire Date: 2/11/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: CUEVGABR XXX-XX-6231                                                                Status:               Active            Birth Date: 4/12/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Married                   Exempts: 6     Addl Tax:
REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.13                Direct Deposit: Checking ####0840       107.13      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00          1,498.19             21,003.80                                                            SOC SEC EE                116.00           7.19         33,095.98              2,051.95
Overtime                                    0.00                0.00            555.30             11,628.18                                                            MED EE                    116.00           1.68         33,095.98                479.89
Vacation                                    0.00                0.00             16.00                232.00                                                            FEDERAL WH                116.00           0.00         33,095.98              2,807.48
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH         116.00           0.00         33,095.98                967.12
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            8.00              116.00          2,085.49             33,095.98           Totals:                0.00               0.00                Totals:                       8.87                                6,306.44

Dalton, Randall G                              433 Phillips Lane                           Per Pay Salary:       1384.62           Hire Date: 9/30/2003      Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Greer, SC 29650
Emp #: DALTRAND XXX-XX-7070                                                                Status:               Active            Birth Date: 12/26/XXXX    State SC:                           Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 553.85                  Paid Gross: 553.85                 Net Pay: 428.09                Direct Deposit: Checking ####0399       428.09      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD    Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  34.6155           16.00              553.85          1,376.00             47,630.93 MedInsPT                         0.00           5,946.50   SOC SEC EE                553.85          34.34         41,258.19              2,558.01
ER Match*                                   0.00                0.00              0.00              1,882.92 DentalPT                         0.00             356.40   MED EE                    553.85           8.03         41,258.19                598.24
                                                                                                                 Roth_401K                    0.00           2,353.82   FEDERAL WH                553.85          53.52         41,258.19              5,660.38
                                                                                                                 JH_Loan                      0.00           2,009.48   SOUTH CAROLINA WH         553.85          29.87         41,258.19              2,576.52
                                                                                                                 VisioPTWH                    0.00              69.84
                                                                                                                 STD                          0.00             324.00
                                                                                                                 LTD                          0.00             860.40
                         Totals:            16.00             553.85           1,376.00              47,630.93                Totals:         0.00          11,920.44                Totals:                     125.76                            11,393.15

Davis, Devonae L                               52 Gumby Drive                              Hourly Rate:          15.5000           Hire Date: 6/17/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325                                                                                             Separately
Emp #: DAVIDEVO XXX-XX-4287                                                                Status:               Active            Birth Date: 9/21/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 122.45                  Paid Gross: 122.45                 Net Pay: 110.62                Direct Deposit: Checking ####8417       110.62      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.90              122.45            666.99              9,810.41                                                            SOC SEC EE                122.45           7.59         10,702.30                663.54
Overtime                                    0.00                0.00             30.34                659.89                                                            MED EE                    122.45           1.77         10,702.30                155.18
Vacation                                    0.00                0.00             16.00                232.00                                                            FEDERAL WH                122.45           0.00         10,702.30                  0.00
                                                                                                                                                                        SOUTH CAROLINA WH         122.45           2.47         10,702.30                556.59
                         Totals:             7.90             122.45             713.33              10,702.30                Totals:         0.00               0.00                Totals:                      11.83                                1,375.31




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 12
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                 Desc
                                                                                                Exhibit A - Payroll Register                         Page 13 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                       Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                    Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                    Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                     Payroll Type: Regular Payroll

Davis, Kendrick A                              201 Dillon Drive                            Hourly Rate:          15.5000           Hire Date: 6/25/2021     Federal: Head of Household       Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: DAVIKEND XXX-XX-0340                                                                Status:               Active            Birth Date: 6/16/XXXX    State SC: Single                 Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.98                Direct Deposit: Checking ####5359     111.98    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            650.86              9,623.55                                                          SOC SEC EE              124.00           7.68         11,026.36               683.63
Overtime                                    0.00                0.00             25.96                566.81                                                          MED EE                  124.00           1.80         11,026.36               159.88
Vacation                                    0.00                0.00             32.00                488.00                                                          FEDERAL WH              124.00           0.00         11,026.36               408.03
Holiday                                     0.00                0.00              8.00                116.00                                                          SOUTH CAROLINA WH       124.00           2.54         11,026.36               590.74
Personal                                    0.00                0.00              8.00                116.00
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            8.00              124.00            732.82             11,026.36           Totals:                0.00             0.00                Totals:                    12.02                                1,842.28

Dawkins, Terrance L                            6323 N Pinnecle Dr                          Hourly Rate:          14.0000           Hire Date: 8/26/2021     Federal: Head of Household       Exempts:       Addl Tax:                 Res State:     SC
                                               Spartanburg, SC 29303                                                                                                                         (Block)
Emp #:                   XXX-XX-2433                                                       Status:               Active            Birth Date: 9/29/XXXX                                                                              Work State: SC
DAWKTERR                                                                                                                                                    State SC: Single                 Exempts:       Addl Tax:
                                                                                                                                                                                             (Block)
REGULAR CHECK                          Gross Wage: 215.60                  Paid Gross: 215.60                 Net Pay: 199.10               Direct Deposit: Pay Card (Checking)    199.10    Check Amount: 0.00               Check #:
                                                                                                                                                            ####1575
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.40              215.60            372.55              5,215.70                                                          SOC SEC EE              215.60          13.37          6,366.57               394.73
Overtime                                    0.00                0.00             17.47                366.87                                                          MED EE                  215.60           3.13          6,366.57                92.32
Vacation                                    0.00                0.00             40.00                560.00                                                          FEDERAL WH              215.60           0.00          6,366.57                 0.00
Personal                                    0.00                0.00              8.00                112.00                                                          SOUTH CAROLINA WH       215.60           0.00          6,366.57                36.14
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:           15.40              215.60            446.02              6,366.57           Totals:                0.00             0.00                Totals:                    16.50                                 523.19

DAWKINS, WILLIE EARL                           499 Georgia Acres Rd                        Hourly Rate:          19.0000           Hire Date: 7/1/2021      Federal: Single                  Exempts: 9     Addl Tax:                 Res State:     SC
                                               P.O.Box 621
Emp #:                   XXX-XX-8512           Gray Court, SC 29645                        Status:               Active            Birth Date: 9/7/XXXX     State SC: Single                 Exempts: 9     Addl Tax:                 Work State: SC
DAWKWILL
REGULAR CHECK                          Gross Wage: 159.60                  Paid Gross: 159.60                 Net Pay: 147.40                Direct Deposit: Checking ####7127     147.40    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current             YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  19.0000            8.40              159.60            656.67             12,476.73     MedInsPT                     0.00           915.75   SOC SEC EE              159.60           9.89         14,167.93               878.41
Overtime                                    0.00                0.00             69.20              1,972.23     DentalPT                     0.00           103.32   MED EE                  159.60           2.31         14,167.93               205.43
Vacation                                    0.00                0.00             24.00                456.00     K401                         0.00           268.42   FEDERAL WH              159.60           0.00         13,899.51               162.56
Holiday                                     0.00                0.00              8.00                152.00     VisioPTWH                    0.00            21.96   SOUTH CAROLINA WH       159.60           0.00         13,899.51               228.09
Personal                                    0.00                0.00              8.00                152.00     STD                          0.00            61.56
ER Match*                                   0.00                0.00              0.00                268.42     LTD                          0.00           146.34
                                                                                                                 Voluntary Life               0.00           168.23
                         Totals:             8.40             159.60             765.87              15,208.96                Totals:         0.00         1,685.58                Totals:                    12.20                                1,474.49




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                              Page 13
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 14 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

DeLa Cruz, Gilbert                             207 McDowell Street                         Hourly Rate:         14.5000            Hire Date: 9/30/2021      Federal: Married                    Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: DELAGILB XXX-XX-0212                                                                Status:              Active             Birth Date: 5/3/XXXX      State SC: Married                   Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 115.28                  Paid Gross: 115.28                 Net Pay: 106.47                Direct Deposit: - None -                            Check Amount: 106.47             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.95              115.28            193.62              2,807.51                                                            SOC SEC EE                115.28           7.14          2,819.91               174.83
Overtime                                    0.00                0.00              0.57                 12.40                                                            MED EE                    115.28           1.67          2,819.91                40.89
                                                                                                                                                                        FEDERAL WH                115.28           0.00          2,819.91                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         115.28           0.00          2,819.91                38.74
                         Totals:             7.95             115.28             194.19              2,819.91                 Totals:         0.00              0.00                 Totals:                       8.81                                 254.46

Dennis, Rodney N                               307 Cemetery Street                         Hourly Rate:         14.5000            Hire Date: 9/30/2021      Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-2814                                                       Status:              Active             Birth Date: 9/13/XXXX     State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC
DENNRODN
REGULAR CHECK                          Gross Wage: 109.91                  Paid Gross: 109.91                 Net Pay: 101.50                Direct Deposit: Checking ####0808       101.50      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.58              109.91            155.85              2,259.85                                                            SOC SEC EE                109.91           6.81          2,259.85               140.11
                                                                                                                                                                        MED EE                    109.91           1.60          2,259.85                32.77
                                                                                                                                                                        FEDERAL WH                109.91           0.00          2,259.85                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         109.91           0.00          2,259.85                 0.17
                         Totals:             7.58             109.91             155.85              2,259.85                 Totals:         0.00              0.00                 Totals:                       8.41                                 173.05

Deshpande, Kaustubh S                          264 Tuxedo Lane                             Per Pay Salary:      3846.16            Hire Date: 7/18/2018      Federal: Married                    Exempts: 6     Addl Tax:                 Res State:     SC
                                               Greer, SC 29651
Emp #: DESHKAUS XXX-XX-5132                                                                Status:              Active             Birth Date: 12/6/XXXX     State SC:                           Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 1,538.46                Paid Gross: 1,538.46               Net Pay: 1,355.31              Direct Deposit: Checking ####8788       1,355.31    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                          Wage            Tax         YTD Wage            YTD Tax
Regular                  96.1540           16.00            1,538.46          1,816.00            159,038.80                                                            SOC SEC EE                   0.00          0.00        142,800.00           8,853.60
                                                                                                                                                                        MED EE                   1,538.46         22.31        159,038.80           2,306.06
                                                                                                                                                                        FEDERAL WH               1,538.46         89.27        159,038.80          20,153.70
                                                                                                                                                                        SOUTH CAROLINA WH        1,538.46         71.57        159,038.80           9,471.27
                         Totals:            16.00           1,538.46           1,816.00           159,038.80                  Totals:         0.00              0.00                 Totals:                     183.15                            40,784.63

Dial, Shatori S                                522 Green Street                            Hourly Rate:         15.0000            Hire Date: 6/25/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: DIALSHAT XXX-XX-4862                                                                Status:              Active             Birth Date: 6/5/XXXX                                                                                   Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 172.20                  Paid Gross: 172.20                 Net Pay: 154.47                Direct Deposit: Checking ####6460       154.47      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            3.48               52.20            529.04              7,808.88                                                            SOC SEC EE                172.20          10.67          8,467.15               524.96
Overtime                                    0.00                0.00              8.38                182.27                                                            MED EE                    172.20           2.49          8,467.15               122.77
Vacation                 15.0000            8.00              120.00              8.00                120.00                                                            FEDERAL WH                172.20           0.00          8,467.15                 0.00
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH         172.20           4.57          8,467.15               418.41
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           11.48              172.20            569.42              8,467.15           Totals:                0.00              0.00                 Totals:                      17.73                                1,066.14


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 14
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 15 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Diaz-Tapia, Dora Nelly                         8 Townsend Street                           Hourly Rate:          16.5000           Hire Date: 10/7/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: DIAZDORA XXX-XX-1068                                                                Status:               Active            Birth Date: 4/13/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts: 0     Addl Tax:
REGULAR CHECK                          Gross Wage: 132.00                  Paid Gross: 132.00                 Net Pay: 119.04                Direct Deposit: Checking ####8603       119.04      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  16.5000            8.00              132.00            161.00              2,656.51                                                            SOC SEC EE                132.00           8.19          2,687.21               166.61
Overtime                                    0.00                0.00              1.24                 30.70                                                            MED EE                    132.00           1.91          2,687.21                38.96
                                                                                                                                                                        FEDERAL WH                132.00           0.00          2,687.21               175.47
                                                                                                                                                                        SOUTH CAROLINA WH         132.00           2.86          2,687.21               146.13
                         Totals:             8.00             132.00             162.24               2,687.21                Totals:         0.00              0.00                 Totals:                      12.96                                 527.17

Dickard, Jodi L                                207 McDowell                                Hourly Rate:          15.5000           Hire Date: 8/19/2021      Federal: Married                    Exempts: 6     Addl Tax:                 Res State:     SC
                                               Apt 207
Emp #: DICKJODI XXX-XX-9073                    Laurens, SC 29360                           Status:               Active            Birth Date: 3/6/XXXX      State SC: Married                   Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 240.25                  Paid Gross: 240.25                 Net Pay: 221.87                Direct Deposit: - None -                            Check Amount: 221.87             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.50              116.25            434.70              6,737.89                                                            SOC SEC EE                240.25          14.90          8,256.06               511.88
Overtime                                    0.00                0.00             54.63              1,270.17                                                            MED EE                    240.25           3.48          8,256.06               119.71
Personal                 15.5000            8.00              124.00              8.00                124.00                                                            FEDERAL WH                240.25           0.00          8,256.06                55.18
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH         240.25           0.00          8,256.06               163.35
                         Totals:           15.50              240.25            505.33              8,256.06           Totals:                0.00              0.00                 Totals:                      18.38                                 850.12

Dillahunt Jr, Edward Earl                      1616 Fernwood Glendale Rd                   Hourly Rate:          28.0000           Hire Date: 8/6/2021       Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Spartanburg, SC 29307
Emp #: DILLEDWA XXX-XX-9312                                                                Status:               Active            Birth Date: 10/1/XXXX     State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 376.60                  Paid Gross: 376.60                 Net Pay: 298.08                Direct Deposit: Checking ####0615       149.04      Check Amount: 0.00               Check #:
                                                                                                                                                            Checking ####8508        149.04
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  28.0000           13.45              376.60            515.04             14,421.12 SC Child Support                 0.00           636.05 SOC SEC EE                    376.60          23.35         17,204.46              1,066.68
Overtime                                    0.00                0.00             66.27              2,783.34                                                            MED EE                    376.60           5.46         17,204.46                249.46
                                                                                                                                                                        FEDERAL WH                376.60          32.25         17,204.46              2,478.18
                                                                                                                                                                        SOUTH CAROLINA WH         376.60          17.46         17,204.46              1,079.72
                         Totals:            13.45             376.60             581.31              17,204.46                Totals:         0.00            636.05                 Totals:                      78.52                                4,874.04

Dominguez, Magaly                              771 East Butler Rd                          Hourly Rate:          15.0000           Hire Date: 3/25/2021      Federal: Single                     Exempts:       Addl Tax:                 Res State:     SC
                                               Mauldin, SC 29662
Emp #:                   XXX-XX-8416                                                       Status:               Active            Birth Date: 11/9/XXXX     State SC: Single                    Exempts:       Addl Tax:                 Work State: SC
DOMIMAGA
REGULAR CHECK                          Gross Wage: 232.05                  Paid Gross: 232.05                 Net Pay: 190.97                Direct Deposit: Checking ####3398       190.97      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.47              232.05          1,154.98             16,606.94                                                            SOC SEC EE                232.05          14.39         20,248.31              1,255.40
Overtime                                    0.00                0.00            136.33              2,817.37                                                            MED EE                    232.05           3.36         20,248.31                293.60
Vacation                                    0.00                0.00             40.00                600.00                                                            FEDERAL WH                232.05          15.61         20,248.31              2,038.27
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         232.05           7.72         20,248.31              1,127.07
Personal                                    0.00                0.00              8.00                104.00
                         Totals:           15.47              232.05          1,347.31             20,248.31           Totals:                0.00              0.00                 Totals:                      41.08                                4,714.34



 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 15
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:23 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 16 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Espinoza, Carlos                               207 McDowell Street                         Hourly Rate:         14.0000            Hire Date: 4/1/2021       Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: Espicarl          XXX-XX-9240                                                       Status:              Active             Birth Date: 1/5/XXXX      State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 105.00                  Paid Gross: 105.00                 Net Pay: 95.16                 Direct Deposit: - None -                          Check Amount: 95.16              Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000            7.50              105.00          1,196.19             16,749.49                                                            SOC SEC EE              105.00           6.51         22,097.00              1,370.01
Overtime                                    0.00                0.00            228.03              4,783.51                                                            MED EE                  105.00           1.53         22,097.00                320.41
Vacation                                    0.00                0.00             24.00                340.00                                                            FEDERAL WH              105.00           0.00         22,097.00                523.28
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH       105.00           1.80         22,097.00              1,265.37
Personal                                    0.00                0.00              8.00                108.00
                         Totals:            7.50              105.00          1,464.22             22,097.00           Totals:                0.00              0.00                 Totals:                     9.84                                3,479.07

Estevan Alonzo, Petrona                        116 Lavender Ln                             Hourly Rate:         14.5000            Hire Date: 9/16/2021      Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ESTEPETR XXX-XX-4774                                                                Status:              Active             Birth Date: 8/29/XXXX     State SC: Single                  Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 106.86                Direct Deposit: - None -                          Check Amount: 106.86             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            282.62              4,098.02                                                            SOC SEC EE              116.00           7.19          4,136.09               256.44
Overtime                                    0.00                0.00              1.75                 38.07                                                            MED EE                  116.00           1.68          4,136.09                59.97
                                                                                                                                                                        FEDERAL WH              116.00           0.00          4,136.09               309.78
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           0.27          4,136.09               159.70
                         Totals:             8.00             116.00             284.37              4,136.09                 Totals:         0.00              0.00                 Totals:                     9.14                                 785.89

Felix Mateo, Maria                             118 High Street                             Hourly Rate:         17.5000            Hire Date: 2/25/2021      Federal: Married                  Exempts: 2     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: FELIMARI XXX-XX-1299                                                                Status:              Active             Birth Date: 1/12/XXXX     State SC: Married                 Exempts: 2     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 137.90                  Paid Gross: 137.90                 Net Pay: 127.25                Direct Deposit: Checking ####4878       127.25    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            7.88              137.90          1,373.91             20,261.02                                                            SOC SEC EE              137.90           8.54         25,110.24              1,556.83
Overtime                                    0.00                0.00            188.97              3,913.22                                                            MED EE                  137.90           2.00         25,110.24                364.10
Vacation                                    0.00                0.00             40.00                604.00                                                            FEDERAL WH              137.90           0.00         25,110.24              1,075.15
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH       137.90           0.11         25,110.24                999.30
Personal                                    0.00                0.00              8.00                108.00
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            7.88              137.90          1,626.88             25,110.24           Totals:                0.00              0.00                 Totals:                    10.65                                3,995.38

Flores, Ricco                                  109 Cora St                                 Hourly Rate:         14.0000            Hire Date: 5/6/2021       Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: FLORRICC XXX-XX-2438                                                                Status:              Active             Birth Date: 12/10/XXXX    State SC: Married                 Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 218.82                  Paid Gross: 218.82                 Net Pay: 202.08                Direct Deposit: - None -                          Check Amount: 202.08             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.63              218.82          1,012.51             13,903.49                                                            SOC SEC EE              218.82          13.57         16,453.07              1,020.09
Overtime                                    0.00                0.00             94.38              1,885.58                                                            MED EE                  218.82           3.17         16,453.07                238.57
Vacation                                    0.00                0.00             24.00                328.00                                                            FEDERAL WH              218.82           0.00         16,453.07                708.92
Holiday                                     0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH       218.82           0.00         16,453.07                338.06
Personal                                    0.00                0.00              8.00                112.00
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:           15.63              218.82          1,154.89             16,453.07           Totals:                0.00              0.00                 Totals:                    16.74                                2,305.64
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 16
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:24 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 17 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Ford, Glen H                                   17 El Dorado Dr lot 24                      Per Pay Salary:       1019.23           Hire Date: 6/23/2014      Federal: Single                   Exempts: 5     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29617
Emp #: FORDGLEN XXX-XX-9983                                                                Status:               Active            Birth Date: 3/27/XXXX     State SC:                         Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 407.69                  Paid Gross: 407.69                 Net Pay: 374.53                Direct Deposit: Checking ####0137       374.53    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  25.4808           16.00              407.69          1,769.87             41,868.65     AflacPT                      0.00            275.40    SOC SEC EE              407.69          25.27         49,603.74              3,075.43
Overtime                                    0.00                0.00            198.16              4,607.21     AflacAT                      0.00            279.45    MED EE                  407.69           5.91         49,603.74                719.25
Vacation                                    0.00                0.00            120.00              3,057.69     MedInsPT                     0.00             23.42    FEDERAL WH              407.69           0.00         49,603.74              3,178.90
Holiday                                     0.00                0.00              8.00                124.00     DentalPT                     0.00              2.42    SOUTH CAROLINA WH       407.69           1.98         49,603.74              1,950.84
Personal                                    0.00                0.00              8.00                124.00     JH_Loan                      0.00            112.86
FloatingHoliday                             0.00                0.00              8.00                124.00     TranAmerL                    0.00          1,719.45
                                                                                                                 VisioPTWH                    0.00              0.57
                         Totals:            16.00             407.69           2,112.03              49,905.55                Totals:         0.00          2,413.57                 Totals:                    33.16                                8,924.42

Fortner, Brandon J                             238 Riverfork Rd                            Hourly Rate:          26.0000           Hire Date: 7/23/2021      Federal: Married Filing Jointly   Exempts:       Addl Tax:                 Res State:     SC
                                               Waterloo, SC 29384
Emp #: FORTBRAN XXX-XX-0191                                                                Status:               Active            Birth Date: 10/11/XXXX    State SC: Married                 Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 339.82                  Paid Gross: 339.82                 Net Pay: 298.93                Direct Deposit: Checking ####9200       298.93    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  26.0000           13.07              339.82            600.98             15,625.48                                                            SOC SEC EE              339.82          21.07         18,256.42              1,131.90
Overtime                                    0.00                0.00             67.46              2,630.94                                                            MED EE                  339.82           4.93         18,256.42                264.72
                                                                                                                                                                        FEDERAL WH              339.82           0.00         18,256.42                  8.66
                                                                                                                                                                        SOUTH CAROLINA WH       339.82          14.89         18,256.42              1,135.57
                         Totals:            13.07             339.82             668.44              18,256.42                Totals:         0.00               0.00                Totals:                    40.89                                2,540.85

Francisco Sosa, Ester                          504 Clemson St                              Hourly Rate:          15.0000           Hire Date: 7/29/2021      Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: FRANESTE XXX-XX-4716                                                                Status:               Active            Birth Date: 5/1/XXXX      State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.50                  Paid Gross: 232.50                 Net Pay: 214.72                Direct Deposit: - None -                          Check Amount: 214.72             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.50              232.50            436.79              6,671.09                                                            SOC SEC EE              232.50          14.41          6,862.91               425.50
Overtime                                    0.00                0.00              8.25                191.82                                                            MED EE                  232.50           3.37          6,862.91                99.51
                                                                                                                                                                        FEDERAL WH              232.50           0.00          6,862.91                41.65
                                                                                                                                                                        SOUTH CAROLINA WH       232.50           0.00          6,862.91                74.50
                         Totals:            15.50             232.50             445.04               6,862.91                Totals:         0.00               0.00                Totals:                    17.78                                 641.16

Fuentes Reyes, Neysis                          299 Miller Rd Apt 63                        Hourly Rate:          15.0000           Hire Date: 2/17/2020      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Mauldin, SC 29662
Emp #: FUENNEYS XXX-XX-2828                                                                Status:               Active            Birth Date: 6/26/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 120.45                  Paid Gross: 120.45                 Net Pay: 104.39                Direct Deposit: Checking ####1429       104.39    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            8.03              120.45          1,305.46             19,581.90 GuardiaAT                        0.00             12.29 SOC SEC EE                 120.45           7.47         22,673.63              1,405.77
Overtime                                    0.00                0.00             73.41              1,651.73                                                            MED EE                  120.45           1.75         22,673.63                328.77
Vacation                                    0.00                0.00             64.00                960.00                                                            FEDERAL WH              120.45           4.45         22,673.63              2,214.97
Holiday                                     0.00                0.00             16.00                240.00                                                            SOUTH CAROLINA WH       120.45           2.39         22,673.63              1,225.93
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:            8.03              120.45          1,474.87             22,673.63           Totals:                0.00             12.29                 Totals:                    16.06                                5,175.44
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 17
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:24 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 18 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Fuentes, Nilka                                 1403 Chestnut St Ext                        Hourly Rate:          15.0000           Hire Date: 4/26/2015      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: FUENNILK XXX-XX-0455                                                                Status:               Active            Birth Date: 5/6/XXXX      State SC:                         Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 231.30                  Paid Gross: 231.30                 Net Pay: 190.40                Direct Deposit: Checking ####9544       190.40    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.42              231.30          1,368.09             20,521.35     AflacPT                      0.00            390.15    SOC SEC EE              231.30          14.34         23,748.97              1,472.44
Overtime                                    0.00                0.00            117.61              2,646.22     MedInsPT                     0.00          1,053.90    MED EE                  231.30           3.35         23,748.97                344.36
Vacation                                    0.00                0.00            104.00              1,560.00     DentalPT                     0.00            108.90    FEDERAL WH              231.30          15.53         23,748.97              2,349.86
Holiday                                     0.00                0.00             16.00                240.00     VisioPTWH                    0.00             25.65    SOUTH CAROLINA WH       231.30           7.68         23,748.97              1,289.46
Personal                                    0.00                0.00             16.00                240.00     STD                          0.00            190.35
FloatingHoliday                             0.00                0.00              8.00                120.00     LTD                          0.00            532.80
                                                                                                                 Voluntary Life               0.00            374.85
                                                                                                                 Accidental Ill               0.00            119.25
                         Totals:            15.42             231.30           1,629.70              25,327.57                Totals:         0.00          2,795.85                 Totals:                    40.90                                5,456.12

Fuller, Frederick ONeil                        113 Bailey Circle                           Hourly Rate:          14.0000           Hire Date: 8/19/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: FULLFRED XXX-XX-4928                                                                Status:               Active            Birth Date: 5/26/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 214.62                  Paid Gross: 214.62                 Net Pay: 198.21               Direct Deposit: Pay Card (Checking)      198.21    Check Amount: 0.00               Check #:
                                                                                                                                                            ####1524
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.33              214.62            403.29              5,816.78 DentalPT                         0.00             14.52 SOC SEC EE                 214.62          13.30          6,048.76               375.02
Overtime                                    0.00                0.00              0.50                 10.50                                                            MED EE                  214.62           3.11          6,048.76                87.71
Personal                                    0.00                0.00              8.00                112.00                                                            FEDERAL WH              214.62           0.00          6,048.76                 0.00
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       214.62           0.00          6,048.76                 2.04
                         Totals:           15.33              214.62            419.79              6,063.28           Totals:                0.00             14.52                 Totals:                    16.41                                 464.77

Galvan, Adriana N                              1054 Jonella Ave                            Hourly Rate:          14.5000           Hire Date: 9/9/2021       Federal: Single                   Exempts: 5     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: GALVADRI XXX-XX-4450                                                                Status:               Active            Birth Date: 1/2/XXXX      State SC: Single                  Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 113.54                  Paid Gross: 113.54                 Net Pay: 104.86                Direct Deposit: - None -                          Check Amount: 104.86             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.83              113.54            319.17              4,628.00                                                            SOC SEC EE              113.54           7.04          4,644.97               287.99
Overtime                                    0.00                0.00              0.78                 16.97                                                            MED EE                  113.54           1.64          4,644.97                67.35
                                                                                                                                                                        FEDERAL WH              113.54           0.00          4,644.97                44.81
                                                                                                                                                                        SOUTH CAROLINA WH       113.54           0.00          4,644.97                61.48
                         Totals:             7.83             113.54             319.95               4,644.97                Totals:         0.00              0.00                 Totals:                     8.68                                 461.63




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 18
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:24 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 19 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Garabito, Margia                               18 Irish Moss Ct                            Hourly Rate:          16.0000           Hire Date: 8/19/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #:                   XXX-XX-3635                                                       Status:               Active            Birth Date: 2/15/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC
GARAMARG
REGULAR CHECK                          Gross Wage: 250.08                  Paid Gross: 250.08                 Net Pay: 230.17                Direct Deposit: Checking ####1978       230.17    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  16.0000           15.63              250.08            412.78              6,604.48     DentalPT                     0.00             91.50    SOC SEC EE              250.08          15.50          7,012.47               434.77
Overtime                                    0.00                0.00              5.61                134.64     VisioPTWH                    0.00             19.15    MED EE                  250.08           3.63          7,012.47               101.68
Vacation                                    0.00                0.00              8.00                128.00     STD                          0.00             28.80    FEDERAL WH              250.08           0.00          7,012.47               280.84
Personal                                    0.00                0.00              8.00                128.00     LTD                          0.00             33.30    SOUTH CAROLINA WH       250.08           0.78          7,012.47               210.33
FloatingHoliday                             0.00                0.00              8.00                128.00
                         Totals:           15.63              250.08            442.39              7,123.12                  Totals:         0.00            172.75                 Totals:                    19.91                                1,027.62

Garcia, Maria Guadalupe                        523 Conway Ave                              Hourly Rate:          14.5000           Hire Date: 8/5/2021       Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: GARCMARI XXX-XX-6113                                                                Status:               Active            Birth Date: 7/10/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.00                  Paid Gross: 232.00                 Net Pay: 214.25                Direct Deposit: - None -                          Check Amount: 214.25             Check #:
Earnings                     Rate          Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                                     0.00                0.00            493.38              7,154.06                                                            SOC SEC EE              232.00          14.39          8,270.43               512.77
Overtime                                    0.00                0.00             40.66                884.37                                                            MED EE                  232.00           3.36          8,270.43               119.92
Vacation                 14.5000           16.00              232.00             16.00                232.00                                                            FEDERAL WH              232.00           0.00          8,270.43                 5.72
                                                                                                                                                                        SOUTH CAROLINA WH       232.00           0.00          8,270.43                40.34
                         Totals:            16.00             232.00             550.04               8,270.43                Totals:         0.00              0.00                 Totals:                    17.75                                 678.75

Garner, Stephen C                              435 Joyce Lane                              Hourly Rate:          26.0000           Hire Date: 9/10/2021      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Fountain Inn, SC 29644
Emp #: GARNSTEP XXX-XX-4464                                                                Status:               Active            Birth Date: 7/10/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 198.90                  Paid Gross: 198.90                 Net Pay: 165.49                Direct Deposit: Checking ####9935       165.49    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  26.0000            7.65              198.90            319.47              8,306.22                                                            SOC SEC EE              198.90          12.33         10,054.33                623.37
Overtime                                    0.00                0.00             39.49              1,540.11                                                            MED EE                  198.90           2.89         10,054.33                145.79
Personal                                    0.00                0.00              8.00                208.00                                                            FEDERAL WH              198.90          12.29         10,054.33              1,392.72
                                                                                                                                                                        SOUTH CAROLINA WH       198.90           5.90         10,054.33                624.58
                         Totals:             7.65             198.90             366.96              10,054.33                Totals:         0.00              0.00                 Totals:                    33.41                                2,786.46

Garza Orozco, Gloria                           38 Rts Dr                                   Hourly Rate:          14.5000           Hire Date: 8/5/2021       Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #:                   XXX-XX-9204                                                       Status:               Active            Birth Date: 8/22/XXXX     State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC
OROZGLOR
REGULAR CHECK                          Gross Wage: 112.09                  Paid Gross: 112.09                 Net Pay: 103.51                Direct Deposit: - None -                          Check Amount: 103.51             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.73              112.09            490.92              7,118.40                                                            SOC SEC EE              112.09           6.95          7,356.57               456.11
Overtime                                    0.00                0.00             10.95                238.17                                                            MED EE                  112.09           1.63          7,356.57               106.67
                                                                                                                                                                        FEDERAL WH              112.09           0.00          7,356.57                27.56
                                                                                                                                                                        SOUTH CAROLINA WH       112.09           0.00          7,356.57                69.79
                         Totals:             7.73             112.09             501.87               7,356.57                Totals:         0.00              0.00                 Totals:                     8.58                                 660.13




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 19
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:24 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                           Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                       Page 20 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                     Payroll Type: Regular Payroll

Garza, Maria D                                 4604 Torrington Rd                          Hourly Rate:         15.0000          Hire Date: 2/4/2021       Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: GARZMARI XXX-XX-1819                                                                Status:              Active           Birth Date: 11/17/XXXX    State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 236.55                  Paid Gross: 236.55                 Net Pay: 218.45              Direct Deposit: - None -                          Check Amount: 218.45             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.77              236.55          1,510.01             21,370.15 Other                          0.00              1.00 SOC SEC EE                 236.55          14.67         30,883.81              1,914.80
Overtime                                    0.00                0.00            435.83              9,033.66                                                          MED EE                  236.55           3.43         30,883.81                447.82
Vacation                                    0.00                0.00              8.00                120.00                                                          FEDERAL WH              236.55           0.00         30,883.81                975.57
Holiday                                     0.00                0.00              8.00                120.00                                                          SOUTH CAROLINA WH       236.55           0.00         30,883.81                793.62
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.77              236.55          1,977.84             30,883.81           Totals:              0.00              1.00                 Totals:                    18.10                                4,131.81

Goggans, Chelsea M                             274 Piedmont Ave                            Hourly Rate:         15.0000          Hire Date: 6/10/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: GOGGCHEL XXX-XX-7856                                                                Status:              Active           Birth Date: 3/17/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 112.50                  Paid Gross: 112.50                 Net Pay: 101.82              Direct Deposit: Checking ####9330       101.82    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            7.50              112.50            763.00             11,445.00                                                          SOC SEC EE              112.50           6.97         13,053.25               809.30
Overtime                                    0.00                0.00             44.81              1,008.25                                                          MED EE                  112.50           1.63         13,053.25               189.27
Vacation                                    0.00                0.00             24.00                360.00                                                          FEDERAL WH              112.50           0.00         13,053.25                39.38
Holiday                                     0.00                0.00              8.00                120.00                                                          SOUTH CAROLINA WH       112.50           2.08         13,053.25               721.08
Personal                                    0.00                0.00              8.00                120.00
                         Totals:            7.50              112.50            847.81             13,053.25           Totals:              0.00              0.00                 Totals:                    10.68                                1,759.03

GONZALES, ELIZABETH                            110 MELROSE DR                              Hourly Rate:         14.5000          Hire Date: 6/29/2021      Federal: Married                  Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: GONZELIZ XXX-XX-0561                                                                Status:              Active           Birth Date: 2/28/XXXX     State SC: Married                 Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.13              Direct Deposit: Checking ####3617       107.13    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            743.74             10,784.29                                                          SOC SEC EE              116.00           7.19         12,887.47               799.02
Overtime                                    0.00                0.00             70.03              1,523.18                                                          MED EE                  116.00           1.68         12,887.47               186.87
Vacation                                    0.00                0.00             24.00                348.00                                                          FEDERAL WH              116.00           0.00         12,887.47               108.57
Holiday                                     0.00                0.00              8.00                116.00                                                          SOUTH CAROLINA WH       116.00           0.00         12,887.47               296.95
Personal                                    0.00                0.00              8.00                116.00
                         Totals:            8.00              116.00            853.77             12,887.47           Totals:              0.00              0.00                 Totals:                     8.87                                1,391.41




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                              Page 20
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                Created on: 11/16/2021 9:29:24 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                           Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                       Page 21 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                     Payroll Type: Regular Payroll

Gonzalez, Luis                                 105 Green Pine Way                          Hourly Rate:         15.0000          Hire Date: 3/16/2020      Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Easley, SC 29642
Emp #: GONZLUIS XXX-XX-7833                                                                Status:              Active           Birth Date: 12/28/XXXX    State SC: Single                  Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 241.20                  Paid Gross: 241.20                 Net Pay: 210.26              Direct Deposit: Checking ####4932       210.26    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           16.08              241.20          1,589.74             23,206.10                                                          SOC SEC EE              241.20          14.95         33,264.52              2,062.40
Overtime                                    0.00                0.00            372.22              7,914.42                                                          MED EE                  241.20           3.50         33,264.52                482.34
Vacation                                    0.00                0.00             96.00              1,440.00                                                          FEDERAL WH              241.20           8.25         33,264.52              3,026.23
Holiday                                     0.00                0.00             16.00                224.00                                                          SOUTH CAROLINA WH       241.20           4.24         33,264.52              1,537.43
FloatingHoliday                             0.00                0.00              8.00                120.00
Bereavement                                 0.00                0.00             24.00                360.00
                         Totals:           16.08              241.20          2,105.96             33,264.52           Totals:              0.00              0.00                 Totals:                    30.94                                7,108.40

Grajales, Maria                                505 Pickens Street                          Hourly Rate:         15.0000          Hire Date: 4/1/2021       Federal: Married                  Exempts: 2     Addl Tax:                 Res State:     SC
                                               Joanna, SC 29351
Emp #: garjmari          XXX-XX-8250                                                       Status:              Active           Birth Date: 12/31/XXXX    State SC: Married                 Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 236.25                  Paid Gross: 236.25                 Net Pay: 210.20              Direct Deposit: - None -                          Check Amount: 210.20             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.75              236.25          1,174.60             16,979.00                                                          SOC SEC EE              236.25          14.65         20,558.04              1,274.60
Overtime                                    0.00                0.00            148.68              3,099.04                                                          MED EE                  236.25           3.42         20,558.04                298.09
Vacation                                    0.00                0.00             16.00                240.00                                                          FEDERAL WH              236.25           0.00         20,558.04                814.28
Holiday                                     0.00                0.00              8.00                120.00                                                          SOUTH CAROLINA WH       236.25           7.98         20,558.04              1,154.69
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.75              236.25          1,355.28             20,558.04           Totals:              0.00              0.00                 Totals:                    26.05                                3,541.66

Grant, Adrian                                  515 S Harper Street                         Hourly Rate:         15.5000          Hire Date: 3/18/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: GRANADRI XXX-XX-0675                                                                Status:              Active           Birth Date: 10/20/XXXX    State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51              Direct Deposit: Checking ####2784       114.51    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00          1,223.58             18,987.34                                                          SOC SEC EE              124.00           7.69         21,404.94              1,327.11
Overtime                                    0.00                0.00             72.76              1,681.60                                                          MED EE                  124.00           1.80         21,404.94                310.37
Vacation                                    0.00                0.00              8.00                116.00                                                          FEDERAL WH              124.00           0.00         21,404.94                165.18
Holiday                                     0.00                0.00              8.00                124.00                                                          SOUTH CAROLINA WH       124.00           0.00         21,404.94                195.18
FloatingHoliday                             0.00                0.00              8.00                124.00
Bereavement                                 0.00                0.00             24.00                372.00
                         Totals:            8.00              124.00          1,344.34             21,404.94           Totals:              0.00              0.00                 Totals:                     9.49                                1,997.84




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                              Page 21
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                Created on: 11/16/2021 9:29:25 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 22 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Grant, Zondasia                                212 Friendship Dr                           Hourly Rate:         15.5000            Hire Date: 8/5/2021       Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #:                   XXX-XX-6359                                                       Status:              Active             Birth Date: 4/3/XXXX      State SC: Single                  Exempts: 1     Addl Tax:                 Work State: SC
GRANZOND
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.05                Direct Deposit: Checking ####8937       114.05    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            394.94              6,121.64                                                            SOC SEC EE              124.00           7.69          6,245.64                387.23
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            MED EE                  124.00           1.80          6,245.64                 90.56
                                                                                                                                                                        FEDERAL WH              124.00           0.00          6,245.64                443.50
                                                                                                                                                                        SOUTH CAROLINA WH       124.00           0.46          6,245.64                228.23
                         Totals:             8.00             124.00             402.94              6,245.64                 Totals:         0.00              0.00                 Totals:                     9.95                                1,149.52

Guadalupe, Benjamin                            31 Setzler Rd                               Hourly Rate:         14.5000            Hire Date: 8/15/2021      Federal: Single                   Exempts:       Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: GUADBENJ XXX-XX-1358                                                                Status:              Active             Birth Date: 9/25/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 5.80                    Paid Gross: 5.80                   Net Pay: 5.32                  Direct Deposit: Checking ####0701       5.32      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage            Tax         YTD Wage               YTD Tax
Regular                  14.5000            0.40                5.80            379.17              5,498.03 SC Child support                 0.00            183.75 SOC SEC EE                    5.80          0.36          6,350.93               393.76
Overtime                                    0.00                0.00              1.88                 40.90                                                            MED EE                     5.80          0.09          6,350.93                92.09
Vacation                                    0.00                0.00             40.00                580.00                                                            FEDERAL WH                 5.80          0.00          6,350.93               636.17
Personal                                    0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH          5.80          0.03          6,350.93               346.31
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            0.40                5.80            437.05              6,350.93            Totals:               0.00            183.75                 Totals:                     0.48                                1,468.33

Gutierrez, Dolores V                           105 Chandler St                             Hourly Rate:         14.5000            Hire Date: 5/28/2019      Federal: Married                  Exempts: 4     Addl Tax:                 Res State:     SC
                                               Greenvile, SC 29609
Emp #: GUTIDOLO XXX-XX-3752                                                                Status:              Active             Birth Date: 11/6/XXXX     State SC:                         Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.12                Direct Deposit: - None -                          Check Amount: 107.12             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00          1,748.52             24,365.97                                                            SOC SEC EE              116.00           7.20         40,276.08              2,497.12
Overtime                                    0.00                0.00            692.37             14,334.11                                                            MED EE                  116.00           1.68         40,276.08                584.00
Vacation                                    0.00                0.00             72.00              1,028.00                                                            FEDERAL WH              116.00           0.00         40,276.08              1,569.87
Holiday                                     0.00                0.00             16.00                224.00                                                            SOUTH CAROLINA WH       116.00           0.00         40,276.08              1,532.09
Personal                                    0.00                0.00             16.00                216.00
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            8.00              116.00          2,552.89             40,276.08           Totals:                0.00              0.00                 Totals:                     8.88                                6,183.08

Hammond, Christina                             614 Holly Grove Church Rd                   Hourly Rate:         15.0000            Hire Date: 9/2/2021       Federal: Married                  Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-0259                                                       Status:              Active             Birth Date: 2/10/XXXX     State SC: Married                 Exempts: 5     Addl Tax:                 Work State: SC
HAMMCHRI
REGULAR CHECK                          Gross Wage: 235.95                  Paid Gross: 235.95                 Net Pay: 217.90                Direct Deposit: - None -                          Check Amount: 217.90             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.73              235.95            326.18              4,892.70                                                            SOC SEC EE              235.95          14.63          5,013.38               310.83
Overtime                                    0.00                0.00              0.03                  0.68                                                            MED EE                  235.95           3.42          5,013.38                72.69
Personal                                    0.00                0.00              8.00                120.00                                                            FEDERAL WH              235.95           0.00          5,013.38                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       235.95           0.00          5,013.38                61.30
                         Totals:            15.73             235.95             334.21              5,013.38                 Totals:         0.00              0.00                 Totals:                    18.05                                 444.82


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 22
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:25 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 23 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Hammond, Cynthia R                             358 Lake Rd                                 Hourly Rate:          14.0000           Hire Date: 2/25/2021      Federal: Single                   Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325                                                                                                                               (Block)
Emp #:                   XXX-XX-6878                                                       Status:               Active            Birth Date: 2/1/XXXX                                                                                 Work State: SC
HAMMCYNT                                                                                                                                                     State SC: Single                  Exempts:       Addl Tax:
                                                                                                                                                                                               (Block)
REGULAR CHECK                          Gross Wage: 219.38                  Paid Gross: 219.38                 Net Pay: 202.59                Direct Deposit: Checking ####0006       202.59    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.67              219.38          1,281.59             17,270.22 SC Child Support                 0.00            976.50 SOC SEC EE                 219.38          13.61         19,710.41              1,222.05
Overtime                                    0.00                0.00            101.28              1,992.19                                                            MED EE                  219.38           3.18         19,710.41                285.80
Vacation                                    0.00                0.00             16.00                224.00                                                            FEDERAL WH              219.38           0.00         19,710.41                  0.00
Holiday                                     0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH       219.38           0.00         19,710.41                  0.00
Personal                                    0.00                0.00              8.00                112.00
                         Totals:           15.67              219.38          1,414.87             19,710.41            Totals:               0.00            976.50                 Totals:                    16.79                                1,507.85

Haupfear, James O                              908 Old Colony Rd                           Per Pay Salary:       1442.31           Hire Date: 7/21/2021      Federal: Married Filing Jointly   Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: HAUPJAME XXX-XX-2843                                                                Status:               Active            Birth Date: 11/13/XXXX    State SC: Married                 Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 576.92                  Paid Gross: 576.92                 Net Pay: 501.29                Direct Deposit: Checking ####2282       501.29    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  36.0577           16.00              576.92            616.00             23,906.28 MedInsPT                         0.00          1,104.40    SOC SEC EE              576.92          35.77         22,580.58              1,400.00
                                                                                                                 DentalPT                     0.00            183.00    MED EE                  576.92           8.37         22,580.58                327.42
                                                                                                                 VisioPTWH                    0.00             38.30    FEDERAL WH              576.92           0.00         22,580.58                 32.55
                                                                                                                 Voluntary Life               0.00            134.20    SOUTH CAROLINA WH       576.92          31.49         22,580.58              1,429.33
                         Totals:            16.00             576.92             616.00              23,906.28                Totals:         0.00          1,459.90                 Totals:                    75.63                                3,189.30

Henry, Kaydren R                               172 Pleasantview Dr                         Hourly Rate:          14.5000           Hire Date: 9/30/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #:                   XXX-XX-9205                                                       Status:               Active            Birth Date: 2/19/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC
HENRKAYD
REGULAR CHECK                          Gross Wage: 109.77                  Paid Gross: 109.77                 Net Pay: 101.36                Direct Deposit: - None -                          Check Amount: 101.36             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.57              109.77            154.60              2,241.73                                                            SOC SEC EE              109.77           6.81          2,241.73               138.99
                                                                                                                                                                        MED EE                  109.77           1.60          2,241.73                32.51
                                                                                                                                                                        FEDERAL WH              109.77           0.00          2,241.73                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       109.77           0.00          2,241.73                 0.15
                         Totals:             7.57             109.77             154.60               2,241.73                Totals:         0.00               0.00                Totals:                     8.41                                 171.65

Hernandez, Carla C                             665 S Harper St Ext                         Hourly Rate:          17.0000           Hire Date: 6/17/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: HERNCARL XXX-XX-4563                                                                Status:               Active            Birth Date: 4/13/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 263.16                  Paid Gross: 263.16                 Net Pay: 233.45                Direct Deposit: Checking ####6777       233.45    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000           15.48              263.16            765.06             12,271.02                                                            SOC SEC EE              263.16          16.31         17,144.41              1,062.95
Overtime                                    0.00                0.00            195.46              4,633.39                                                            MED EE                  263.16           3.81         17,144.41                248.59
Holiday                                     0.00                0.00              8.00                120.00                                                            FEDERAL WH              263.16           0.00         17,144.41                 37.10
Personal                                    0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       263.16           9.59         17,144.41              1,016.42
                         Totals:           15.48              263.16            976.52             17,144.41           Totals:                0.00               0.00                Totals:                    29.71                                2,365.06



 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 23
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:25 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 24 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Hernandez, Claudia                             301 East Marion Rd                          Hourly Rate:         15.5000            Hire Date: 2/8/2021       Federal: Married                  Exempts: 4     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29617
Emp #: HERNCLAU XXX-XX-5884                                                                Status:              Active             Birth Date: 11/24/XXXX    State SC:                         Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.52                Direct Deposit: - None -                          Check Amount: 114.52             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00          1,491.27             21,994.74                                                            SOC SEC EE              124.00           7.69         33,883.66              2,100.79
Overtime                                    0.00                0.00            511.55             11,144.92                                                            MED EE                  124.00           1.79         33,883.66                491.31
Vacation                                    0.00                0.00             32.00                496.00                                                            FEDERAL WH              124.00           0.00         33,883.66              1,282.91
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       124.00           0.00         33,883.66              1,270.48
Personal                                    0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          2,050.82             33,883.66           Totals:                0.00              0.00                 Totals:                     9.48                                5,145.49

Hernandez, Gloria                              401 Conway Ave                              Hourly Rate:         14.5000            Hire Date: 7/22/2021      Federal: Single                   Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-2468                                                       Status:              Active             Birth Date: 11/22/XXXX    State SC: Single                  Exempts: 5     Addl Tax:                 Work State: SC
HERNGLOR
REGULAR CHECK                          Gross Wage: 113.54                  Paid Gross: 113.54                 Net Pay: 104.86                Direct Deposit: - None -                          Check Amount: 104.86             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.83              113.54            585.67              8,492.28                                                            SOC SEC EE              113.54           7.04          8,899.52               551.77
Overtime                                    0.00                0.00             13.39                291.24                                                            MED EE                  113.54           1.64          8,899.52               129.04
Personal                                    0.00                0.00              8.00                116.00                                                            FEDERAL WH              113.54           0.00          8,899.52               127.64
                                                                                                                                                                        SOUTH CAROLINA WH       113.54           0.00          8,899.52               137.57
                         Totals:             7.83             113.54             607.06              8,899.52                 Totals:         0.00              0.00                 Totals:                     8.68                                 946.02

Hill, Cynthia D                                11 A-Bud Ave                                Hourly Rate:         15.0000            Hire Date: 8/19/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: HILLCYNT XXX-XX-7114                                                                Status:              Active             Birth Date: 6/14/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.80                  Paid Gross: 232.80                 Net Pay: 207.22                Direct Deposit: - None -                          Check Amount: 207.22             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.52              232.80            337.01              5,055.15 Voluntary Life                   0.00             44.05 SOC SEC EE                 232.80          14.43          5,895.15               365.50
Vacation                                    0.00                0.00             40.00                600.00                                                            MED EE                  232.80           3.38          5,895.15                85.48
Personal                                    0.00                0.00              8.00                120.00                                                            FEDERAL WH              232.80           0.00          5,895.15                 0.00
FloatingHoliday                             0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       232.80           7.77          5,895.15               300.13
                         Totals:           15.52              232.80            393.01              5,895.15            Totals:               0.00             44.05                 Totals:                    25.58                                 751.11

Hill, Tommy E                                  117 Houston Street                          Hourly Rate:         14.5000            Hire Date: 10/28/2021     Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: HILLTOMM XXX-XX-8478                                                                Status:              Active             Birth Date: 12/3/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 108.32                  Paid Gross: 108.32                 Net Pay: 100.04                Direct Deposit: - None -                          Check Amount: 100.04             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.47              108.32             33.33                483.30                                                            SOC SEC EE              108.32           6.71            483.30                29.96
                                                                                                                                                                        MED EE                  108.32           1.57            483.30                 7.01
                                                                                                                                                                        FEDERAL WH              108.32           0.00            483.30                 5.09
                                                                                                                                                                        SOUTH CAROLINA WH       108.32           0.00            483.30                 5.13
                         Totals:             7.47             108.32              33.33                483.30                 Totals:         0.00              0.00                 Totals:                     8.28                                  47.19




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 24
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:25 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                  Desc
                                                                                                Exhibit A - Payroll Register                         Page 25 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                      Payroll Type: Regular Payroll

Huckabee, Brittany E                           2818 Hwy 39                                 Hourly Rate:          14.5000           Hire Date: 9/20/2021     Federal: Single                   Exempts: 8     Addl Tax:                 Res State:     SC
                                               Mountville, SC 29370
Emp #: HUCKBRIT XXX-XX-8720                                                                Status:               Active            Birth Date: 8/19/XXXX    State SC: Single                  Exempts: 8     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 71.78                   Paid Gross: 71.78                  Net Pay: 66.29                Direct Deposit: Pay Card (Checking)     66.29     Check Amount: 0.00               Check #:
                                                                                                                                                            ####9775
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage            Tax         YTD Wage               YTD Tax
Regular                  14.5000            4.95               71.78            296.02              4,292.33                                                           SOC SEC EE                71.78          4.45          4,640.33               287.70
Vacation                                    0.00                0.00             16.00                232.00                                                           MED EE                    71.78          1.04          4,640.33                67.28
Personal                                    0.00                0.00              8.00                116.00                                                           FEDERAL WH                71.78          0.00          4,640.33                 9.00
                                                                                                                                                                       SOUTH CAROLINA WH         71.78          0.00          4,640.33                18.94
                         Totals:             4.95               71.78            320.02               4,640.33                Totals:         0.00              0.00                Totals:                     5.49                                 382.92

Hunter, Marissa                                800 Spring Street Apt 3A                    Hourly Rate:          14.0000           Hire Date: 4/8/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: HuntMari          XXX-XX-5274                                                       Status:               Active            Birth Date: 11/16/XXXX   State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 218.68                  Paid Gross: 218.68                 Net Pay: 201.95                Direct Deposit: Checking ####5410      201.95    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.62              218.68          1,064.06             14,506.72                                                           SOC SEC EE              218.68          13.56         17,906.29              1,110.19
Overtime                                    0.00                0.00            123.37              2,503.57                                                           MED EE                  218.68           3.17         17,906.29                259.64
Vacation                                    0.00                0.00             40.00                560.00                                                           FEDERAL WH              218.68           0.00         17,906.29                 37.55
Holiday                                     0.00                0.00              8.00                112.00                                                           SOUTH CAROLINA WH       218.68           0.00         17,906.29                109.38
Personal                                    0.00                0.00              8.00                112.00
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:           15.62              218.68          1,251.43             17,906.29           Totals:                0.00              0.00                Totals:                    16.73                                1,516.76

Iowa, Lawton O                                 2921 Ford Ave                               Per Pay Salary:       1442.31           Hire Date: 7/6/2021      Federal: Married Filing Jointly   Exempts:       Addl Tax:                 Res State:     NY
                                               Schenectady, NY 12306
Emp #:                   XXX-XX-3421                                                       Status:               Active            Birth Date: 3/12/XXXX    State NY:                         Exempts:       Addl Tax:                 Work State: SC
IOWALAWT                                                                                                                                                                                      (Block)
                                                                                                                                                            State SC: Married                 Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 576.92                  Paid Gross: 576.92                 Net Pay: 501.29                Direct Deposit: Checking ####9122      501.29    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  36.0577           16.00              576.92            672.00             26,098.63 MedInsPT                         0.00            883.52   SOC SEC EE              576.92          35.77         25,903.45              1,606.01
Vacation                                    0.00                0.00             24.00                865.38 DentalPT                         0.00            146.40   MED EE                  576.92           8.37         25,903.45                375.60
                                                                                                                 VisioPTWH                    0.00             30.64   FEDERAL WH              576.92           0.00         25,903.45                  0.00
                                                                                                                 Accidental Ill               0.00             21.20   SOUTH CAROLINA WH       576.92          31.49         25,903.45              1,644.13
                         Totals:            16.00             576.92             696.00              26,964.01                Totals:         0.00          1,081.76                Totals:                    75.63                                3,625.74




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                               Page 25
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                 Created on: 11/16/2021 9:29:25 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 26 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Irby, Shameka M                                121 Spring Street                           Hourly Rate:          17.5000           Hire Date: 8/26/2020      Federal: Single                   Exempts: 3     Addl Tax: $10.50          Res State:     SC
                                               Laurens, SC 29360
Emp #: IRBYSHAM XXX-XX-6216                                                                Status:               Active            Birth Date: 10/9/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 137.38                  Paid Gross: 137.38                 Net Pay: 116.36                Direct Deposit: Checking ####0622       116.36    Check Amount: 0.00                Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            7.85              137.38          1,678.79             24,611.06                                                            SOC SEC EE              137.38           8.52         30,709.44              1,903.99
Overtime                                    0.00                0.00            223.16              4,570.38                                                            MED EE                  137.38           2.00         30,709.44                445.29
Vacation                                    0.00                0.00             64.00              1,088.00                                                            FEDERAL WH              137.38          10.50         30,709.44              2,233.57
Holiday                                     0.00                0.00             16.00                224.00                                                            SOUTH CAROLINA WH       137.38           0.00         30,709.44              1,045.49
Personal                                    0.00                0.00              8.00                108.00
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            7.85              137.38          1,997.95             30,709.44           Totals:                0.00              0.00                 Totals:                    21.02                                5,628.34

Irick, James C                                 120 Vine Hill RD                            Per Pay Salary:       1634.62           Hire Date: 1/20/2020      Federal: Married                  Exempts: 1     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29607
Emp #: IRICJAME XXX-XX-1348                                                                Status:               Active            Birth Date: 4/25/XXXX     State SC: Married                 Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 653.85                  Paid Gross: 653.85                 Net Pay: 541.49                Direct Deposit: Checking ####4593       541.49    Check Amount: 0.00                Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage            YTD Tax
Regular                  40.8654           16.00              653.85          1,808.00             73,884.82 MedInsPT                         0.00          7,645.50    SOC SEC EE              653.85          40.53         65,570.39           4,065.36
Personal                                    0.00                0.00              8.00                326.92 DentalPT                         0.00            823.50    MED EE                  653.85           9.48         65,570.39             950.77
                                                                                                                 VisioPTWH                    0.00            172.35    FEDERAL WH              653.85          33.65         65,570.39           5,765.75
                                                                                                                                                                        SOUTH CAROLINA WH       653.85          28.70         65,570.39           3,756.49
                         Totals:            16.00             653.85           1,816.00              74,211.74                Totals:         0.00          8,641.35                 Totals:                   112.36                            14,538.37

Jacks, Gary L                                  433 Summit St                               Hourly Rate:          14.5000           Hire Date: 9/16/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: JACKGARY XXX-XX-1395                                                                Status:               Active            Birth Date: 4/17/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 113.54                  Paid Gross: 113.54                 Net Pay: 104.85               Direct Deposit: Pay Card (Checking)      104.85    Check Amount: 0.00                Check #:
                                                                                                                                                            ####9095
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.83              113.54            160.09              2,321.35 SC Child Support                 0.00           140.22 SOC SEC EE                  113.54           7.04          2,321.35               143.92
                                                                                                                                                                        MED EE                  113.54           1.65          2,321.35                33.66
                                                                                                                                                                        FEDERAL WH              113.54           0.00          2,321.35                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       113.54           0.00          2,321.35                 0.10
                         Totals:             7.83             113.54             160.09               2,321.35                Totals:         0.00            140.22                 Totals:                     8.69                                 177.68

JACKSON, Kitcha DENISE                         28 MATTIE PEARL DR                          Hourly Rate:          15.5000           Hire Date: 6/29/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: JACKKITC          XXX-XX-0190                                                       Status:               Active            Birth Date: 6/26/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51                Direct Deposit: - None -                          Check Amount: 114.51              Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            550.39              8,785.09 SC DEW                           0.00            262.00 SOC SEC EE                 124.00           7.69          9,714.95               602.33
                                                                                                                 Garnishment
Overtime                                     0.00               0.00              18.66                 433.86                                                          MED EE                  124.00           1.80            9,714.95             140.87
Vacation                                     0.00               0.00              16.00                 248.00                                                          FEDERAL WH              124.00           0.00            9,714.95               5.11
Holiday                                      0.00               0.00               8.00                 124.00                                                          SOUTH CAROLINA WH       124.00           0.00            9,714.95              43.25
Personal                                     0.00               0.00               8.00                 124.00
                         Totals:             8.00             124.00             601.05               9,714.95                Totals:         0.00            262.00                 Totals:                     9.49                                 791.56

 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 26
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:26 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 27 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Jenkins, Patrick                               115 Hunters Court                           Hourly Rate:          15.0000           Hire Date: 6/8/2020       Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: JENKPATR XXX-XX-1583                                                                Status:               Active            Birth Date: 6/16/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 231.45                  Paid Gross: 231.45                 Net Pay: 190.50               Direct Deposit: Pay Card (Checking)  190.50        Check Amount: 0.00                Check #:
                                                                                                                                                            ####8153
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            7.43              111.45          1,667.89             25,018.35     DentalPT                     0.00           108.90 SOC SEC EE                  231.45          14.35         30,687.26              1,902.61
Overtime                                    0.00                0.00            193.93              4,363.46     VisioPTWH                    0.00             25.65 MED EE                     231.45           3.36         30,687.26                444.97
Vacation                                    0.00                0.00             56.00                840.00     STD                          0.00           210.60 FEDERAL WH                  231.45          15.55         30,687.26              3,222.45
Holiday                                     0.00                0.00             16.00                240.00     LTD                          0.00           166.05 SOUTH CAROLINA WH           231.45           7.69         30,687.26              1,750.73
Personal                 15.0000            8.00              120.00             16.00                240.00     Accidental Ill               0.00           119.25
FloatingHoliday                             0.00                0.00              8.00                120.00     Critical Illnes              0.00           213.75
                         Totals:           15.43              231.45          1,957.82             30,821.81                  Totals:         0.00           844.20             Totals:                         40.95                                7,320.76

Jermon, Terri A                                104 Fredericksburg Drive                    Per Pay Salary:       1335.24           Hire Date: 3/16/1998      Federal: Single                   Exempts: 1     Addl Tax: $15.00          Res State:     SC
                                               SIMPSONVILLE, SC 29681
Emp #: JERMTERR XXX-XX-2257                                                                Status:               Active            Birth Date: 8/31/XXXX     State SC:                         Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 534.10                  Paid Gross: 534.10                 Net Pay: 415.86                Direct Deposit: Checking ####7767       415.86    Check Amount: 0.00                Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  33.3810           16.00              534.10          1,816.00             60,619.90 MedInsPT                         0.00          4,578.75    SOC SEC EE              534.10          33.11         55,498.90              3,440.93
ER Match*                                   0.00                0.00              0.00              2,403.45 DentalPT                         0.00            516.60    MED EE                  534.10           7.74         55,498.90                804.73
                                                                                                                 Roth_401K                    0.00          3,375.00    FEDERAL WH              534.10          56.23         55,498.90              7,573.48
                                                                                                                 TranAmerL                    0.00          1,077.75    SOUTH CAROLINA WH       534.10          21.16         55,498.90              3,051.91
                                                                                                                 VisioPTWH                    0.00             25.65
                                                                                                                 STD                          0.00            540.90
                         Totals:            16.00             534.10           1,816.00              60,619.90                Totals:         0.00         10,114.65                 Totals:                   118.24                            14,871.05

Joel Ortiz, Martha                             212 Bells Creek Dr                          Hourly Rate:          15.0000           Hire Date: 1/14/2019      Federal: Married                  Exempts: 4     Addl Tax:                 Res State:     SC
                                               Simpsonviile, SC 29681
Emp #: JOELMART XXX-XX-4596                                                                Status:               Active            Birth Date: 8/1/XXXX      State SC:                         Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 234.45                  Paid Gross: 234.45                 Net Pay: 216.48                Direct Deposit: - None -                          Check Amount: 216.48              Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.63              234.45          1,011.88             15,178.20 DentalPT                         0.00            108.90 SOC SEC EE                 234.45          14.54         20,971.13              1,300.21
Overtime                                    0.00                0.00            194.11              4,367.48 VisioPTWH                        0.00             25.65 MED EE                     234.45           3.40         20,971.13                304.08
Vacation                                    0.00                0.00             80.00              1,200.00                                                            FEDERAL WH              234.45           0.00         20,971.13                716.34
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       234.45           0.03         20,971.13                735.97
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.63              234.45          1,309.99             21,105.68           Totals:                0.00            134.55                 Totals:                    17.97                                3,056.60




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 27
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:26 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 28 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Johnson, Amelia C                              1211 Charlottes Rd                          Hourly Rate:         14.5000            Hire Date: 9/9/2021       Federal: Head of Household          Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: JOHNAMEL XXX-XX-0290                                                                Status:              Active             Birth Date: 8/13/XXXX     State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 111.22                  Paid Gross: 111.22                 Net Pay: 100.69                Direct Deposit: - None -                            Check Amount: 100.69             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.67              111.22            241.14              3,496.59                                                            SOC SEC EE                111.22           6.90          4,076.59               252.75
Vacation                                    0.00                0.00             40.00                580.00                                                            MED EE                    111.22           1.61          4,076.59                59.11
                                                                                                                                                                        FEDERAL WH                111.22           0.00          4,076.59                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         111.22           2.02          4,076.59               203.80
                         Totals:             7.67             111.22             281.14              4,076.59                 Totals:         0.00              0.00                 Totals:                      10.53                                 515.66

Johnson, Clarence L                            403 Fairview Rd                             Hourly Rate:         14.0000            Hire Date: 12/29/2020     Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt. 4
Emp #: JOHNCLAR XXX-XX-0703                    Laurens, SC 29360                           Status:              Active             Birth Date: 6/30/XXXX     State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 206.78                  Paid Gross: 206.78                 Net Pay: 190.96                Direct Deposit: Checking ####0121       190.96      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           14.77              206.78          1,737.21             23,182.60 SC Tax Levy                      0.00            206.04 SOC SEC EE                   206.78          12.82         30,462.54              1,888.68
Overtime                                    0.00                0.00            330.44              6,591.94 Other                            0.00             10.00 MED EE                       206.78           3.00         30,462.54                441.71
Vacation                                    0.00                0.00             40.00                520.00                                                            FEDERAL WH                206.78           0.00         30,462.54                 50.38
Personal                                    0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH         206.78           0.00         30,462.54                218.51
FloatingHoliday                             0.00                0.00              4.00                 56.00
                         Totals:           14.77              206.78          2,119.65             30,462.54           Totals:                0.00            216.04                 Totals:                      15.82                                2,599.28

Johnson, Terence N                             590 Phillips Street                         Hourly Rate:         15.5000            Hire Date: 1/14/2021      Federal: Single                     Exempts: 5     Addl Tax:                 Res State:     SC
                                               West Chase Apt# B1
Emp #: JOHNTERE XXX-XX-0381                    CLINTON, SC 29325                           Status:              Active             Birth Date: 7/19/XXXX     State SC: Single                    Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 123.69                  Paid Gross: 123.69                 Net Pay: 114.22               Direct Deposit: Pay Card (Checking)      114.22      Check Amount: 0.00               Check #:
                                                                                                                                                            ####9746
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.98              123.69          1,524.01             23,142.25                                                            SOC SEC EE                123.69           7.67         26,907.30              1,668.25
Overtime                                    0.00                0.00            158.71              3,517.05                                                            MED EE                    123.69           1.80         26,907.30                390.16
Holiday                                     0.00                0.00              8.00                124.00                                                            FEDERAL WH                123.69           0.00         26,907.30                776.93
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH         123.69           0.00         26,907.30                620.91
                         Totals:            7.98              123.69          1,698.72             26,907.30           Totals:                0.00              0.00                 Totals:                       9.47                                3,456.25

Jones, Javier M                                450 Currys Lake Rd                          Hourly Rate:         14.0000            Hire Date: 7/22/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645                                                                                          Separately
Emp #: JONEJAVI          XXX-XX-3573                                                       Status:              Active             Birth Date: 4/11/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 41.72                   Paid Gross: 41.72                  Net Pay: 38.31                Direct Deposit: Pay Card (Checking)      38.31       Check Amount: 0.00               Check #:
                                                                                                                                                            ####0849
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                           Wage            Tax         YTD Wage               YTD Tax
Regular                  14.0000            2.98               41.72            510.14              7,141.96 K401                             0.00           464.19 SOC SEC EE                      41.72          2.59          8,728.23               541.15
Overtime                                    0.00                0.00             32.87                690.27                                                            MED EE                      41.72          0.61          8,728.23               126.56
Vacation                                    0.00                0.00             40.00                560.00                                                            FEDERAL WH                  41.72          0.00          8,264.04                 0.00
Bereavement                                 0.00                0.00             24.00                336.00                                                            SOUTH CAROLINA WH           41.72          0.21          8,264.04               433.86
ER Match*                                   0.00                0.00              0.00                268.57
                         Totals:            2.98               41.72            607.01              8,728.23           Totals:                0.00            464.19                 Totals:                       3.41                                1,101.57


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 28
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:26 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 29 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Joseph, Michael J                              104 Southview Dr                            Hourly Rate:         14.5000            Hire Date: 10/14/2021     Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: JOSEMICH XXX-XX-7157                                                                Status:              Active             Birth Date: 3/31/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 100.90               Direct Deposit: Pay Card (Checking)      100.90    Check Amount: 0.00               Check #:
                                                                                                                                                            ####0327
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            126.68              1,836.87                                                            SOC SEC EE              116.00           7.20          1,836.87               113.89
                                                                                                                                                                        MED EE                  116.00           1.68          1,836.87                26.63
                                                                                                                                                                        FEDERAL WH              116.00           4.00          1,836.87               171.68
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           2.22          1,836.87                95.98
                         Totals:             8.00             116.00             126.68              1,836.87                 Totals:         0.00              0.00                 Totals:                    15.10                                 408.18

Kennedy, James D                               104 Shadowwood Drive                        Per Pay Salary:      1019.23            Hire Date: 8/4/2020       Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt. C
Emp #: KENNJAME XXX-XX-7868                    Clinton, SC 29325                           Status:              Active             Birth Date: 11/22/XXXX    State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 407.69                  Paid Gross: 407.69                 Net Pay: 376.50                Direct Deposit: - None -                          Check Amount: 376.50             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  25.4808           16.00              407.69          1,744.00             37,587.23     DentalPT                     0.00            108.90    SOC SEC EE              407.69          25.28         49,793.72              3,087.21
Overtime                                    0.00                0.00            431.45             10,852.01     Accidental Ill               0.00            119.25    MED EE                  407.69           5.91         49,793.72                722.01
Vacation                                    0.00                0.00             48.00              1,071.38     Critical Illnes              0.00            213.75    FEDERAL WH              407.69           0.00         49,793.72              1,402.05
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       407.69           0.00         49,793.72              1,349.52
Personal                                    0.00                0.00              8.00                136.00
FloatingHoliday                             0.00                0.00              8.00                136.00
                         Totals:           16.00              407.69          2,247.45             49,902.62                  Totals:         0.00            441.90                 Totals:                    31.19                                6,560.79

Lancaster, Corey                               183 Joshuas Pl                              Hourly Rate:         15.5000            Hire Date: 7/16/2021      Federal: Single                   Exempts: 8     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: LANCCORE XXX-XX-8687                                                                Status:              Active             Birth Date: 5/27/XXXX     State SC: Single                  Exempts: 8     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51                Direct Deposit: - None -                          Check Amount: 114.51             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            547.88              8,335.86                                                            SOC SEC EE              124.00           7.69         10,161.10               629.99
Overtime                                    0.00                0.00             43.30                957.24                                                            MED EE                  124.00           1.80         10,161.10               147.34
Vacation                                    0.00                0.00             40.00                620.00                                                            FEDERAL WH              124.00           0.00         10,161.10                32.75
Personal                                    0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       124.00           0.00         10,161.10                79.89
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00            647.18             10,161.10           Totals:                0.00              0.00                 Totals:                     9.49                                 889.97




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 29
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:26 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 30 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Landrith, Kelli M                              325 MOUNT PLEASANT ESTATES ROAD             Hourly Rate:          15.0000           Hire Date: 5/25/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: LANDKELL XXX-XX-4785                                                                Status:               Active            Birth Date: 1/23/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 104.70                  Paid Gross: 104.70                 Net Pay: 94.89                 Direct Deposit: Checking ####8377       94.89       Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            6.98              104.70            805.16             12,077.40                                                            SOC SEC EE                104.70           6.50         13,744.28               852.15
Overtime                                    0.00                0.00             36.75                826.88                                                            MED EE                    104.70           1.52         13,744.28               199.29
Vacation                                    0.00                0.00             36.00                540.00                                                            FEDERAL WH                104.70           0.00         13,744.28               641.56
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         104.70           1.79         13,744.28               743.34
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              4.00                 60.00
                         Totals:            6.98              104.70            897.91             13,744.28           Totals:                0.00              0.00                 Totals:                       9.81                                2,436.34

Landrith, Ken Allen                            9772 Hwy 72 W                               Hourly Rate:          28.0000           Hire Date: 3/11/2021      Federal: Single                     Exempts:       Addl Tax:                 Res State:     SC
                                               Mountville, SC 29370
Emp #: LANDKEN           XXX-XX-9868                                                       Status:               Active            Birth Date: 11/10/XXXX    State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 477.96                  Paid Gross: 477.96                 Net Pay: 372.43                Direct Deposit: Checking ####4058       372.43      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  28.0000           17.07              477.96          1,377.07             38,557.96     MedInsPT                     0.00          6,969.20    SOC SEC EE                477.96          29.63         46,457.46              2,880.36
Overtime                                    0.00                0.00            360.77             15,152.34     DentalPT                     0.00            512.40    MED EE                    477.96           6.93         46,457.46                673.63
Vacation                                    0.00                0.00              4.00                112.00     VisioPTWH                    0.00            107.24    FEDERAL WH                477.96          44.41         46,457.46              6,821.77
Holiday                                     0.00                0.00              8.00                224.00     STD                          0.00            282.24    SOUTH CAROLINA WH         477.96          24.56         46,457.46              2,940.62
                                                                                                                 LTD                          0.00            489.16
                                                                                                                 Accidental Ill               0.00            184.24
                         Totals:            17.07             477.96           1,749.84              54,046.30                Totals:         0.00          8,544.48                 Totals:                     105.53                            13,316.38

Lindsey, Jimmy E                               491 Georgia Rd                              Hourly Rate:          14.0000           Hire Date: 7/22/2021      Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: LINDJIMM XXX-XX-9997                                                                Status:               Active            Birth Date: 7/13/XXXX     State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 201.18                  Paid Gross: 201.18                 Net Pay: 185.79                Direct Deposit: - None -                            Check Amount: 185.79             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           14.37              201.18            509.43              7,132.02 SC Child Support                 0.00            945.00 SOC SEC EE                   201.18          12.47          8,204.82               508.70
Overtime                                    0.00                0.00             50.48              1,060.08 SC DEW                           0.00            319.95 MED EE                       201.18           2.92          8,204.82               118.97
                                                                                                                 Garnishment
Vacation                                     0.00                0.00             16.00                224.00 MedInsPT                        0.00            187.36 FEDERAL WH                   201.18           0.00           8,204.82                0.00
                                                                                                                 DentalPT                     0.00             19.36 SOUTH CAROLINA WH            201.18           0.00           8,204.82               32.81
                                                                                                                 VisioPTWH                    0.00              4.56
                         Totals:            14.37             201.18             575.91               8,416.10                Totals:         0.00          1,476.23             Totals:                          15.39                                 660.48




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 30
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:26 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 31 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Lopez De Harrell, Claribel Esperan             207 Glendale Avenue                         Hourly Rate:          14.5000           Hire Date: 2/18/2021      Federal: Single                     Exempts: 1     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: LOPECLAR XXX-XX-7842                                                                Status:               Active            Birth Date: 12/18/XXXX    State SC: Single                    Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 109.04                  Paid Gross: 109.04                 Net Pay: 100.46                Direct Deposit: Checking ####8851       100.46      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.52              109.04          1,106.62             15,383.56                                                            SOC SEC EE                109.04           6.77         18,223.63              1,129.87
Overtime                                    0.00                0.00            102.91              2,084.07                                                            MED EE                    109.04           1.58         18,223.63                264.24
Vacation                                    0.00                0.00             40.00                540.00                                                            FEDERAL WH                109.04           0.00         18,223.63              1,488.33
Personal                                    0.00                0.00              8.00                108.00                                                            SOUTH CAROLINA WH         109.04           0.23         18,223.63                767.31
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            7.52              109.04          1,265.53             18,223.63           Totals:                0.00              0.00                 Totals:                       8.58                                3,649.75

LOPEZ MENDEZ, CLAUDIA C                        56 BEECH STREET                             Hourly Rate:          15.0000           Hire Date: 5/25/2021      Federal: Head of Household          Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: LOPECLAU XXX-XX-7039                                                                Status:               Active            Birth Date: 7/31/XXXX     State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 229.95                  Paid Gross: 229.95                 Net Pay: 204.75                Direct Deposit: Checking ####1845       204.75      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.33              229.95            933.17             13,997.55                                                            SOC SEC EE                229.95          14.26         20,366.14              1,262.70
Overtime                                    0.00                0.00            256.38              5,768.59                                                            MED EE                    229.95           3.34         20,366.14                295.31
Vacation                                    0.00                0.00             16.00                240.00                                                            FEDERAL WH                229.95           0.00         20,366.14              1,257.68
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         229.95           7.60         20,366.14              1,203.58
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.33              229.95          1,229.55             20,366.14           Totals:                0.00              0.00                 Totals:                      25.20                                4,019.27

Lopez, Ebilia                                  313 Conway Ave                              Hourly Rate:          15.5000           Hire Date: 5/6/2021       Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #: LOPEEBIL          XXX-XX-7282                                                       Status:               Active            Birth Date: 2/26/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Married                   Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.97                Direct Deposit: - None -                            Check Amount: 111.97             Check #:
Earnings                     Rate          Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                                     0.00                0.00          1,035.26             16,046.55                                                            SOC SEC EE                124.00           7.69         24,435.69              1,515.01
Overtime                                    0.00                0.00            328.82              7,645.14                                                            MED EE                    124.00           1.80         24,435.69                354.32
Vacation                 15.5000            8.00              124.00             32.00                496.00                                                            FEDERAL WH                124.00           0.00         24,435.69                  0.00
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH         124.00           2.54         24,435.69              1,464.11
Personal                                    0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          1,412.08             24,435.69           Totals:                0.00              0.00                 Totals:                      12.03                                3,333.44

Lowman, Robert Daniel                          24 Tigris Way                               Per Pay Salary:       1586.54           Hire Date: 8/17/2020      Federal: Married                    Exempts: 7     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29607
Emp #:                   XXX-XX-2269                                                       Status:               Active            Birth Date: 3/1/XXXX      State SC: Married                   Exempts: 7     Addl Tax:                 Work State: SC
LOWMROBE
REGULAR CHECK                          Gross Wage: 634.62                  Paid Gross: 634.62                 Net Pay: 579.53                Direct Deposit: Checking ####5317       579.53      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage            YTD Tax
Regular                  39.6635           16.00              634.62          1,808.00             65,221.33 DentalPT                         0.00            823.50 SOC SEC EE                   634.62          39.35         64,715.14           4,012.34
Personal                                    0.00                0.00              8.00                317.31                                                            MED EE                    634.62           9.20         64,715.14             938.37
                                                                                                                                                                        FEDERAL WH                634.62           0.00         64,715.14           2,958.55
                                                                                                                                                                        SOUTH CAROLINA WH         634.62           6.54         64,715.14           2,705.29
                         Totals:            16.00             634.62           1,816.00              65,538.64                Totals:         0.00            823.50                 Totals:                      55.09                            10,614.55
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 31
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 32 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Maloney, Tequitha                              91 Perry Dean Rd                            Hourly Rate:          17.0000           Hire Date: 7/7/2020      Federal: Single                    Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-6451                                                       Status:               Active            Birth Date: 7/15/XXXX    State SC: Married                  Exempts: 9     Addl Tax:                 Work State: SC
MALOTEQU
REGULAR CHECK                          Gross Wage: 273.70                  Paid Gross: 273.70                 Net Pay: 252.76                Direct Deposit: Checking ####1293      252.76     Check Amount: 0.00                 Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD    Taxes                     Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000           16.10              273.70          1,780.40             27,644.38     MedInsPT                     0.00          1,053.90   SOC SEC EE               273.70          16.97         40,342.65              2,501.24
Overtime                                    0.00                0.00            523.79             12,350.72     DentalPT                     0.00            108.90   MED EE                   273.70           3.97         40,342.65                584.97
Vacation                                    0.00                0.00             64.00              1,072.00     VisioPTWH                    0.00             25.65   FEDERAL WH               273.70           0.00         40,342.65                765.61
Holiday                                     0.00                0.00             16.00                240.00     STD                          0.00            210.60   SOUTH CAROLINA WH        273.70           0.00         40,342.65                818.25
Personal                                    0.00                0.00              8.00                104.00     LTD                          0.00            500.85
FloatingHoliday                             0.00                0.00              8.00                120.00     Voluntary Life               0.00            490.50
                                                                                                                 Accidental Ill               0.00            119.25
                                                                                                                 Critical Illnes              0.00            370.80
                         Totals:            16.10             273.70           2,400.19              41,531.10                Totals:         0.00          2,880.45                Totals:                     20.94                                4,670.07

Marshall, Gregory L                            100 Pepperwood Drive                        Per Pay Salary:       4230.78           Hire Date: 10/7/2002     Federal: Married                   Exempts: 0     Addl Tax: $100.00         Res State:     SC
                                               Greenville, SC 29611
Emp #:                   XXX-XX-8571                                                       Status:               Active            Birth Date: 1/14/XXXX    State SC:                          Exempts: 0     Addl Tax:                 Work State: SC
MARSGREG
REGULAR CHECK                          Gross Wage: 1,692.31                Paid Gross: 1,692.31               Net Pay: 1,290.94              Direct Deposit: Checking ####9591      1,290.94   Check Amount: 0.00                 Check #:
Earnings                   Rate            Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD    Taxes                      Wage            Tax         YTD Wage            YTD Tax
Regular                105.7695            16.00            1,692.31          1,816.00            192,077.41 AflacPT                          0.00          1,995.30   SOC SEC EE                  0.00          0.00        142,800.00           8,853.60
ER Match*                                   0.00                0.00              0.00              5,584.59 MedInsPT                         0.00         10,524.60   MED EE                  1,692.31         24.54        179,024.71           2,595.86
                                                                                                                 DentalPT                     0.00            445.50   FEDERAL WH              1,692.31        267.27        179,024.71          34,444.77
                                                                                                                 Roth_401K                    0.00          5,584.59   SOUTH CAROLINA WH       1,692.31        109.56        179,024.71          12,122.31
                                                                                                                 JH_Loan                      0.00          2,939.72
                                                                                                                 VisioPTWH                    0.00             87.30
                         Totals:            16.00           1,692.31           1,816.00           192,077.41                  Totals:         0.00         21,577.01                Totals:                    401.37                            58,016.54

Marshall, Sunny R                              100 Pepperwood Dr                           Per Pay Salary:       1000.00           Hire Date: 1/6/2020      Federal: Single                    Exempts: 1     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29611
Emp #:                   XXX-XX-7714                                                       Status:               Active            Birth Date: 5/17/XXXX    State SC: Single                   Exempts: 1     Addl Tax:                 Work State: SC
MARSSUNN
REGULAR CHECK                          Gross Wage: 600.00                  Paid Gross: 600.00                 Net Pay: 479.66                Direct Deposit: Checking ####2369      479.66     Check Amount: 0.00                 Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD    Taxes                     Wage             Tax         YTD Wage               YTD Tax
Regular                  25.0000           16.00              400.00          1,368.00             34,200.00 MedInsPT                         0.00          4,162.29   SOC SEC EE               600.00          37.20         30,336.05              1,880.84
Vacation                 25.0000            8.00              200.00             16.00                400.00 DentalPT                         0.00             82.28   MED EE                   600.00           8.70         30,336.05                439.87
                                                                                                                 VisioPTWH                    0.00             19.38   FEDERAL WH               600.00          49.13         30,336.05              2,857.83
                                                                                                                                                                       SOUTH CAROLINA WH        600.00          25.31         30,336.05              1,493.16
                         Totals:            24.00             600.00           1,384.00              34,600.00                Totals:         0.00          4,263.95                Totals:                    120.34                                6,671.70




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 32
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                  Desc
                                                                                                Exhibit A - Payroll Register                         Page 33 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                      Payroll Type: Regular Payroll

Massey, Michelle A                             163 Nelson St                               Per Pay Salary:       1086.54           Hire Date: 4/4/2004      Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Whitmire, SC 29178
Emp #:                   XXX-XX-9738                                                       Status:               Active            Birth Date: 10/18/XXXX   State SC:                         Exempts: 6     Addl Tax:                 Work State: SC
MASSMICH
REGULAR CHECK                          Gross Wage: 434.62                  Paid Gross: 434.62                 Net Pay: 400.23                Direct Deposit: Checking ####2657      400.23    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  27.1635           16.00              434.62          1,816.00             48,627.10 AflacPT                          0.00            727.65   SOC SEC EE              434.62          26.94         46,736.65              2,897.67
                                                                                                                 AflacAT                      0.00            628.20   MED EE                  434.62           6.30         46,736.65                677.68
                                                                                                                 MedInsPT                     0.00          1,053.90   FEDERAL WH              434.62           0.00         46,736.65              2,294.46
                                                                                                                 DentalPT                     0.00            108.90   SOUTH CAROLINA WH       434.62           1.15         46,736.65              1,617.03
                                                                                                                 JH_Loan                      0.00          2,571.75
                                                                                                                 Other                        0.00            109.06
                                                                                                                 STD                          0.00            400.95
                                                                                                                 Accidental Ill               0.00            119.25
                                                                                                                 Critical Illnes              0.00            370.80
                         Totals:            16.00             434.62           1,816.00              48,627.10                Totals:         0.00          6,090.46                Totals:                    34.39                                7,486.84

McCanty, Zyikia D                              305 Gordon St                               Hourly Rate:          14.0000           Hire Date: 6/28/2021     Federal: Single                   Exempts: 8     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: MCCAZYIK XXX-XX-0770                                                                Status:               Active            Birth Date: 4/22/XXXX    State SC: Single                  Exempts: 8     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 330.40                  Paid Gross: 330.40                 Net Pay: 305.13               Direct Deposit: Pay Card (Checking)     305.13    Check Amount: 0.00               Check #:
                                                                                                                                                            ####2621
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.60              218.40            663.08              9,283.12                                                           SOC SEC EE              330.40          20.48         10,052.49               623.25
Overtime                                    0.00                0.00              9.97                209.37                                                           MED EE                  330.40           4.79         10,052.49               145.76
Vacation                 14.0000            8.00              112.00             24.00                336.00                                                           FEDERAL WH              330.40           0.00         10,052.49                75.19
Holiday                                     0.00                0.00              8.00                112.00                                                           SOUTH CAROLINA WH       330.40           0.00         10,052.49                75.11
Personal                                    0.00                0.00              8.00                112.00
                         Totals:           23.60              330.40            713.05             10,052.49           Totals:                0.00             0.00                 Totals:                    25.27                                 919.31

McDonald, Calvernetta D                        643 Whitten Road                            Hourly Rate:          15.0000           Hire Date: 7/30/2020     Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Waterloo, SC 29384
Emp #:                   XXX-XX-5586                                                       Status:               Active            Birth Date: 6/20/XXXX    State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC
MCDOCALV
REGULAR CHECK                          Gross Wage: 232.05                  Paid Gross: 232.05                 Net Pay: 214.30                Direct Deposit: Checking ####1792      214.30    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD    Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.47              232.05          1,706.93             24,804.31     UniformsWH                   0.00              6.00   SOC SEC EE              232.05          14.39         28,761.72              1,783.23
Overtime                                    0.00                0.00            185.62              3,933.86     MedInsPT                     0.00          1,053.90   MED EE                  232.05           3.36         28,761.72                417.04
Vacation                                    0.00                0.00             52.00                764.00     DentalPT                     0.00            108.90   FEDERAL WH              232.05           0.00         27,275.80                315.83
Holiday                                     0.00                0.00             16.00                224.00     K401                         0.00          1,485.92   SOUTH CAROLINA WH       232.05           0.00         27,275.80                411.55
Personal                                    0.00                0.00              8.00                104.00     VisioPTWH                    0.00             25.65
FloatingHoliday                             0.00                0.00              8.00                120.00     Other                        0.00             26.00
ER Match*                                   0.00                0.00              0.00              1,188.73     STD                          0.00            210.60
                                                                                                                 LTD                          0.00            166.05
                                                                                                                 Voluntary Life               0.00             76.50
                                                                                                                 Accidental Ill               0.00            119.25
                                                                                                                 Critical Illnes              0.00            107.10
                         Totals:            15.47             232.05           1,976.55              29,950.17                Totals:         0.00          3,385.87                Totals:                    17.75                                2,927.65

 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                               Page 33
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                 Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 34 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

McGowan , James                                1780 Boyd Road                              Hourly Rate:          15.5000           Hire Date: 4/1/2021       Federal: Single                     Exempts: 4     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: mcgojame XXX-XX-1165                                                                Status:               Active            Birth Date: 3/20/XXXX     State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 123.54                  Paid Gross: 123.54                 Net Pay: 111.57                Direct Deposit: Checking ####3097       111.57      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.97              123.54          1,242.32             18,218.19                                                            SOC SEC EE                123.54           7.66         22,198.48              1,376.31
Overtime                                    0.00                0.00            161.47              3,524.29                                                            MED EE                    123.54           1.79         22,198.48                321.88
Vacation                                    0.00                0.00             16.00                232.00                                                            FEDERAL WH                123.54           0.00         22,198.48              1,020.62
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH         123.54           2.52         22,198.48              1,271.92
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            7.97              123.54          1,435.79             22,198.48           Totals:                0.00               0.00                Totals:                      11.97                                3,990.73

McGowan, David A                               1780 Boyd Rd                                Hourly Rate:          15.5000           Hire Date: 8/19/2021      Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #:                   XXX-XX-9987                                                       Status:               Active            Birth Date: 8/26/XXXX     State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC
MCGODAVI
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51                Direct Deposit: - None -                            Check Amount: 114.51             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            336.97              5,223.09                                                            SOC SEC EE                124.00           7.69          5,347.09               331.52
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            MED EE                    124.00           1.80          5,347.09                77.53
                                                                                                                                                                        FEDERAL WH                124.00           0.00          5,347.09                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         124.00           0.00          5,347.09                 6.01
                         Totals:             8.00             124.00             344.97               5,347.09                Totals:         0.00               0.00                Totals:                       9.49                                 415.06

McGowan, Joshua E                              2753 Torrington Rd                          Hourly Rate:          17.5000           Hire Date: 6/28/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                             Separately
Emp #:                   XXX-XX-2851                                                       Status:               Active            Birth Date: 6/7/XXXX                                                                                   Work State: SC
MCGOJOSH                                                                                                                                                     State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 140.00                  Paid Gross: 140.00                 Net Pay: 126.11                Direct Deposit: Savings ####2611        126.11      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            8.00              140.00            707.65             11,717.03 SC Child Support                 0.00            407.12 SOC SEC EE                   140.00           8.68         13,768.14                853.62
Overtime                                    0.00                0.00             67.06              1,655.11                                                            MED EE                    140.00           2.03         13,768.14                199.64
Vacation                                    0.00                0.00             16.00                280.00                                                            FEDERAL WH                140.00           0.00         13,768.14                  0.00
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH         140.00           3.18         13,768.14                788.09
                         Totals:            8.00              140.00            798.71             13,768.14            Totals:               0.00            407.12                 Totals:                      13.89                                1,841.35

McKinney, Stephen Alan                         112 Whixley Lane                            Per Pay Salary:       1442.31           Hire Date: 6/3/2021       Federal: Married Filing Jointly     Exempts:       Addl Tax:                 Res State:     SC
                                               Greenville, SC 29607
Emp #: MCKISTEP XXX-XX-1596                                                                Status:               Active            Birth Date: 3/5/XXXX      State SC: Married                   Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 576.92                  Paid Gross: 576.92                 Net Pay: 491.89                Direct Deposit: Savings ####6015        200.00      Check Amount: 0.00               Check #:
                                                                                                                                                            Checking    ####6994     291.89
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  36.0577           16.00              576.92            896.00             32,307.73 MedInsPT                         0.00           509.38     SOC SEC EE                576.92          35.76         32,497.97              2,014.87
Vacation                                    0.00                0.00             24.00                865.38 DentalPT                         0.00           138.60     MED EE                    576.92           8.36         32,497.97                471.22
                                                                                                                 VisioPTWH                    0.00            27.16     FEDERAL WH                576.92           9.42         32,497.97              2,357.46
                                                                                                                                                                        SOUTH CAROLINA WH         576.92          31.49         32,497.97              2,061.24
                         Totals:            16.00             576.92             920.00              33,173.11                Totals:         0.00            675.14                 Totals:                      85.03                                6,904.79



 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 34
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 35 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Means, Destiny S                               128 Young Aly                               Hourly Rate:         15.0000            Hire Date: 6/25/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Union, SC 29379                                                                                               Separately
Emp #: MEANDEST XXX-XX-5369                                                                Status:              Active             Birth Date: 7/14/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 239.25                  Paid Gross: 239.25                 Net Pay: 212.79                Direct Deposit: Checking ####0527       212.79      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.95              239.25            650.99              9,764.85                                                            SOC SEC EE                239.25          14.83         12,565.68               779.07
Overtime                                    0.00                0.00             76.48              1,720.83                                                            MED EE                    239.25           3.47         12,565.68               182.20
Vacation                                    0.00                0.00             40.00                600.00                                                            FEDERAL WH                239.25           0.00         12,565.68               689.58
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         239.25           8.16         12,565.68               702.09
Personal                                    0.00                0.00             16.00                240.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.95              239.25            799.47             12,565.68           Totals:                0.00              0.00                 Totals:                      26.46                                2,352.94

Melendez Rojas, Veronica                       286 Grove Street                            Hourly Rate:         15.5000            Hire Date: 5/10/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325                                                                                             Separately
Emp #: MELEVERO XXX-XX-8309                                                                Status:              Active             Birth Date: 9/8/XXXX                                                                                   Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.97                Direct Deposit: - None -                            Check Amount: 111.97             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            995.39             15,428.59                                                            SOC SEC EE                124.00           7.69         21,389.46              1,326.15
Overtime                                    0.00                0.00            224.38              5,216.87                                                            MED EE                    124.00           1.80         21,389.46                310.15
Vacation                                    0.00                0.00             24.00                372.00                                                            FEDERAL WH                124.00           0.00         21,389.46                 60.81
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH         124.00           2.54         21,389.46              1,259.79
Personal                                    0.00                0.00              8.00                124.00
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          1,267.77             21,389.46           Totals:                0.00              0.00                 Totals:                      12.03                                2,956.90

Melendez Sanchez, Nancy                        15 Beagle Dr                                Hourly Rate:         15.5000            Hire Date: 9/10/2021      Federal: Single                     Exempts: 5     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: MELENANC XXX-XX-7399                                                                Status:              Active             Birth Date: 10/17/XXXX    State SC: Single                    Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 122.45                  Paid Gross: 122.45                 Net Pay: 113.09                Direct Deposit: - None -                            Check Amount: 113.09             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.90              122.45            255.15              3,954.85                                                            SOC SEC EE                122.45           7.59          4,078.85               252.89
FloatingHoliday                             0.00                0.00              8.00                124.00                                                            MED EE                    122.45           1.77          4,078.85                59.14
                                                                                                                                                                        FEDERAL WH                122.45           0.00          4,078.85                46.27
                                                                                                                                                                        SOUTH CAROLINA WH         122.45           0.00          4,078.85                58.16
                         Totals:             7.90             122.45             263.15              4,078.85                 Totals:         0.00              0.00                 Totals:                       9.36                                 416.46




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 35
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 36 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Mendoza, Diana L                               10415 Hwy 101 South                         Hourly Rate:         15.5000            Hire Date: 9/2/2021       Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #:                   XXX-XX-5693                                                       Status:              Active             Birth Date: 12/8/XXXX     State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC
MENDDIAN
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 107.18                Direct Deposit: - None -                            Check Amount: 107.18             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            304.15              4,714.35                                                            SOC SEC EE                124.00           7.68          5,086.35                315.35
Vacation                                    0.00                0.00             16.00                248.00                                                            MED EE                    124.00           1.80          5,086.35                 73.75
Personal                                    0.00                0.00              8.00                124.00                                                            FEDERAL WH                124.00           4.80          5,086.35                484.35
                                                                                                                                                                        SOUTH CAROLINA WH         124.00           2.54          5,086.35                270.12
                         Totals:             8.00             124.00             328.15              5,086.35                 Totals:         0.00              0.00                 Totals:                      16.82                                1,143.57

Mobley, Airston J                              590 Phillips Street                         Hourly Rate:         14.5000            Hire Date: 10/28/2021     Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               CLINTON, SC 29325                                                                                             Separately
Emp #: MOBLAIRS XXX-XX-3915                                                                Status:              Active             Birth Date: 6/4/XXXX                                                                                   Work State: SC
                                                                                                                                                             State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 104.91               Direct Deposit: Pay Card (Checking)      104.91      Check Amount: 0.00               Check #:
                                                                                                                                                            ####6527
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00             48.00                696.00                                                            SOC SEC EE                116.00           7.19            696.00                43.15
                                                                                                                                                                        MED EE                    116.00           1.68            696.00                10.09
                                                                                                                                                                        FEDERAL WH                116.00           0.00            696.00                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         116.00           2.22            696.00                33.92
                         Totals:             8.00             116.00              48.00                696.00                 Totals:         0.00              0.00                 Totals:                      11.09                                  87.16

Morris, Maurice A                              218 Fisher Ave                              Hourly Rate:         14.0000            Hire Date: 8/26/2021      Federal: Single                     Exempts: 2     Addl Tax:                 Res State:     SC
                                               Spartanburg, SC 29301
Emp #:                   XXX-XX-1207                                                       Status:              Active             Birth Date: 3/15/XXXX     State SC: Single                    Exempts: 2     Addl Tax:                 Work State: SC
MORRMAUR
REGULAR CHECK                          Gross Wage: 137.90                  Paid Gross: 137.90                 Net Pay: 127.24               Direct Deposit: Pay Card (Checking)      127.24      Check Amount: 0.00               Check #:
                                                                                                                                                            ####4744
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000            9.85              137.90            367.39              5,143.46                                                            SOC SEC EE                137.90           8.55          5,211.71               323.13
Overtime                                    0.00                0.00              3.25                 68.25                                                            MED EE                    137.90           2.00          5,211.71                75.57
                                                                                                                                                                        FEDERAL WH                137.90           0.00          5,211.71               271.23
                                                                                                                                                                        SOUTH CAROLINA WH         137.90           0.11          5,211.71               154.68
                         Totals:             9.85             137.90             370.64              5,211.71                 Totals:         0.00              0.00                 Totals:                      10.66                                 824.61

Negrete-Sprouse, Mia B                         231 Horseshoe Falls Rd                      Hourly Rate:         17.0000            Hire Date: 2/25/2021      Federal: Married                    Exempts: 2     Addl Tax:                 Res State:     SC
                                               Enoree, SC 29335
Emp #: NEGRMIA           XXX-XX-7034                                                       Status:              Active             Birth Date: 3/25/XXXX     State SC: Married                   Exempts: 2     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 153.34                  Paid Gross: 153.34                 Net Pay: 141.44                Direct Deposit: Checking ####5458       141.44      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000            9.02              153.34          1,203.62             18,169.22 Other                            0.00             10.00 SOC SEC EE                   153.34           9.50         23,707.62              1,469.87
Overtime                                    0.00                0.00            208.68              4,650.40                                                            MED EE                    153.34           2.22         23,707.62                343.76
Vacation                                    0.00                0.00             40.00                648.00                                                            FEDERAL WH                153.34           0.00         23,707.62              1,082.61
Holiday                                     0.00                0.00              8.00                136.00                                                            SOUTH CAROLINA WH         153.34           0.18         23,707.62                967.49
Personal                                    0.00                0.00              8.00                104.00
                         Totals:            9.02              153.34          1,468.30             23,707.62           Totals:                0.00             10.00                 Totals:                      11.90                                3,863.73

 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 36
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:27 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 37 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Nero, Eugene                                   1 Lakeside Rd Apt 273                       Hourly Rate:         15.2500            Hire Date: 10/12/2008     Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29611
Emp #: NEROEUGE XXX-XX-0599                                                                Status:              Active             Birth Date: 2/5/XXXX      State SC:                         Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 121.54                  Paid Gross: 121.54                 Net Pay: 112.24                Direct Deposit: Checking ####4927       112.24    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  15.2500            7.97              121.54          1,802.38             26,451.89     AflacPT                      0.00            275.40    SOC SEC EE              121.54           7.54         45,072.02              2,794.47
Overtime                                    0.00                0.00            830.19             18,171.98     AflacAT                      0.00            303.75    MED EE                  121.54           1.76         45,072.02                653.54
Vacation                                    0.00                0.00             96.00              1,448.00     MedInsPT                     0.00          1,053.90    FEDERAL WH              121.54           0.00         45,072.02              3,595.11
Holiday                                     0.00                0.00             16.00                236.00     DentalPT                     0.00            108.90    SOUTH CAROLINA WH       121.54           0.00         45,072.02              2,010.65
Personal                                    0.00                0.00              8.00                114.00     VisioPTWH                    0.00             25.65
FloatingHoliday                             0.00                0.00              8.00                114.00
                         Totals:            7.97              121.54          2,760.57             46,535.87                  Totals:         0.00          1,767.60                 Totals:                     9.30                                9,053.77

Ojeda, Jam Carlos                              23 Copeland St                              Hourly Rate:         15.0000            Hire Date: 6/29/2021      Federal: Married                  Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: OJEDJAMC XXX-XX-6898                                                                Status:              Active             Birth Date: 11/2/XXXX     State SC: Married                 Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 236.70                  Paid Gross: 236.70                 Net Pay: 218.60                Direct Deposit: - None -                          Check Amount: 218.60             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.78              236.70            739.63             11,362.21                                                            SOC SEC EE              236.70          14.67         15,810.40                980.24
Overtime                                    0.00                0.00            159.73              3,712.19                                                            MED EE                  236.70           3.43         15,810.40                229.25
Vacation                                    0.00                0.00             40.00                612.00                                                            FEDERAL WH              236.70           0.00         15,810.40                403.47
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       236.70           0.00         15,810.40                494.28
                         Totals:           15.78              236.70            947.36             15,810.40           Totals:                0.00              0.00                 Totals:                    18.10                                2,107.24

Olivarez Z., Leticia                           203 Mercedez Dr                             Hourly Rate:         15.0000            Hire Date: 12/29/2020     Federal: Married                  Exempts: 6     Addl Tax:                 Res State:     SC
                                               GRAY COURT, SC 29645
Emp #: OLIVLETI          XXX-XX-3546                                                       Status:              Active             Birth Date: 10/23/XXXX    State SC: Married                 Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 229.95                  Paid Gross: 229.95                 Net Pay: 212.35                Direct Deposit: - None -                          Check Amount: 212.35             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.33              229.95          1,720.69             24,614.27 UniformsWH                       0.00             11.00 SOC SEC EE                 229.95          14.26         36,697.71              2,275.26
Overtime                                    0.00                0.00            524.09             11,243.44                                                            MED EE                  229.95           3.34         36,697.71                532.12
Vacation                                    0.00                0.00             40.00                600.00                                                            FEDERAL WH              229.95           0.00         36,697.71                670.37
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH       229.95           0.00         36,697.71              1,009.69
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.33              229.95          2,300.78             36,697.71           Totals:                0.00             11.00                 Totals:                    17.60                                4,487.44

Ortega, Veronica                               222 Patton Rd                               Hourly Rate:         15.0000            Hire Date: 3/10/2020      Federal: Married                  Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ORTEVERO XXX-XX-6586                                                                Status:              Active             Birth Date: 2/14/XXXX     State SC: Married                 Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 221.25                  Paid Gross: 221.25                 Net Pay: 204.33                Direct Deposit: Checking ####8489       204.33    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           14.75              221.25          1,680.80             25,212.00 DentalPT                         0.00            445.50 SOC SEC EE                 221.25          13.72         30,450.65              1,887.94
Overtime                                    0.00                0.00            181.84              4,091.45 VisioPTWH                        0.00             87.30 MED EE                     221.25           3.20         30,450.65                441.53
Vacation                                    0.00                0.00             80.00              1,200.00                                                            FEDERAL WH              221.25           0.00         30,450.65                348.93
Holiday                                     0.00                0.00             16.00                240.00                                                            SOUTH CAROLINA WH       221.25           0.00         30,450.65                717.46
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           14.75              221.25          1,974.64             30,983.45           Totals:                0.00            532.80                 Totals:                    16.92                                3,395.86
 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 37
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:28 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                    Desc
                                                                                                Exhibit A - Payroll Register                         Page 38 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                        Payroll Type: Regular Payroll

Patton, Kathryn L                              835 Sullivan Street                         Hourly Rate:         14.0000            Hire Date: 2/3/2021       Federal: Single                    Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-8773                                                       Status:              Active             Birth Date: 10/17/XXXX    State SC: Single                   Exempts: 9     Addl Tax:                 Work State: SC
PATTOKATH
REGULAR CHECK                          Gross Wage: 213.22                  Paid Gross: 213.22                 Net Pay: 196.91                Direct Deposit: Checking ####4439       196.91     Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.23              213.22          1,504.63             20,266.91 DentalPT                         0.00             77.44 SOC SEC EE                  213.22          13.22         26,260.88              1,628.17
Overtime                                    0.00                0.00            263.38              5,217.65 VisioPTWH                        0.00             18.24 MED EE                      213.22           3.09         26,260.88                380.78
Vacation                                    0.00                0.00             40.00                552.00                                                            FEDERAL WH               213.22           0.00         26,260.88                 56.81
Holiday                                     0.00                0.00              8.00                112.00                                                            SOUTH CAROLINA WH        213.22           0.00         26,260.88                197.99
Personal                                    0.00                0.00              8.00                104.00
FloatingHoliday                             0.00                0.00              8.00                104.00
                         Totals:           15.23              213.22          1,832.01             26,356.56           Totals:                0.00             95.68                 Totals:                     16.31                                2,263.75

Pedro Felipe, Lorenza                          108 RTS DR                                  Hourly Rate:         14.5000            Hire Date: 4/15/2021      Federal: Single                    Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: FELILORE          XXX-XX-0441                                                       Status:              Active             Birth Date: 7/23/XXXX     State SC: Single                   Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.12                Direct Deposit: - None -                           Check Amount: 107.12             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00          1,137.75             16,137.40                                                            SOC SEC EE               116.00           7.20         22,995.74              1,425.74
Overtime                                    0.00                0.00            286.04              6,046.34                                                            MED EE                   116.00           1.68         22,995.74                333.44
Vacation                                    0.00                0.00             32.00                464.00                                                            FEDERAL WH               116.00           0.00         22,995.74              1,519.20
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH        116.00           0.00         22,995.74                883.70
Personal                                    0.00                0.00              8.00                116.00
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            8.00              116.00          1,479.79             22,995.74           Totals:                0.00               0.00                Totals:                      8.88                                4,162.08

Pierce, Martin Bailey                          511 Spaulding Lake Drive                    Per Pay Salary:      3846.16            Hire Date: 4/12/2021      Federal: Married Filing Jointly    Exempts:       Addl Tax:                 Res State:     SC
                                               Greenville, SC 29615
Emp #: PIERMART XXX-XX-4793                                                                Status:              Active             Birth Date: 11/19/XXXX    State SC: Married                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 1,538.46                Paid Gross: 1,538.46               Net Pay: 1,321.98              Direct Deposit: Checking ####0592       1,321.98   Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage            Tax         YTD Wage            YTD Tax
Regular                  96.1540           16.00            1,538.46          1,216.00            111,154.00 K401                             0.00          3,846.26 SOC SEC EE                 1,538.46         95.39        111,154.00           6,891.55
ER Match*                                   0.00                0.00              0.00              3,846.26                                                            MED EE                  1,538.46         22.30        111,154.00           1,611.73
                                                                                                                                                                        FEDERAL WH              1,538.46          0.00        107,307.74           6,935.09
                                                                                                                                                                        SOUTH CAROLINA WH       1,538.46         98.79        107,307.74           7,235.68
                         Totals:            16.00           1,538.46           1,216.00           111,154.00                  Totals:         0.00          3,846.26                 Totals:                    216.48                            22,674.05




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 38
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                   Created on: 11/16/2021 9:29:28 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 39 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Pinckney, Regina N                             204 Lee Street                              Per Pay Salary:       1019.24           Hire Date: 6/10/2021    Federal: Head of Household          Exempts:       Addl Tax:                 Res State:     SC
                                               Greenwood, SC 29646
Emp #: PINCREGI XXX-XX-6721                                                                Status:               Active            Birth Date: 2/17/XXXX   State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 407.70                  Paid Gross: 407.70                 Net Pay: 356.87                Direct Deposit: Checking ####9087     356.87      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current            YTD    Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  25.4810           16.00              407.70            896.00             22,830.98 MedInsPT                         0.00          327.88   SOC SEC EE                 407.70          25.28         22,461.24              1,392.60
                                                                                                                 DentalPT                     0.00           33.88   MED EE                     407.70           5.91         22,461.24                325.69
                                                                                                                 VisioPTWH                    0.00            7.98   FEDERAL WH                 407.70           0.00         22,461.24                  0.00
                                                                                                                 Other                        0.00            1.00   SOUTH CAROLINA WH          407.70          19.64         22,461.24              1,367.64
                                                                                                                 STD                          0.00          128.38
                                                                                                                 LTD                          0.00          148.40
                                                                                                                 Accidental Ill               0.00           37.10
                         Totals:            16.00             407.70             896.00              22,830.98                Totals:         0.00          684.62                Totals:                       50.83                                3,085.93

Pinson, Eric                                   318 Winetta St                              Hourly Rate:          15.5000           Hire Date: 5/6/2021     Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                           Separately
Emp #: PINSERIC XXX-XX-8583                                                                Status:               Active            Birth Date: 5/8/XXXX                                                                                 Work State: SC
                                                                                                                                                           State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.98                Direct Deposit: Savings ####0300      111.98      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            943.55             14,625.09                                                         SOC SEC EE                 124.00           7.69         17,392.71              1,078.35
Overtime                                    0.00                0.00             76.37              1,775.62                                                         MED EE                     124.00           1.79         17,392.71                252.19
Vacation                                    0.00                0.00             40.00                620.00                                                         FEDERAL WH                 124.00           0.00         17,392.71              1,339.69
Holiday                                     0.00                0.00              8.00                124.00                                                         SOUTH CAROLINA WH          124.00           2.54         17,392.71                979.99
Personal                                    0.00                0.00              8.00                124.00
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          1,083.92             17,392.71           Totals:                0.00            0.00                Totals:                       12.02                                3,650.22

Pitts, Dwight A                                201 South Bell St Circle                    Hourly Rate:          15.5000           Hire Date: 10/1/2021    Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: PITTDWIG XXX-XX-5424                                                                Status:               Active            Birth Date: 1/20/XXXX   State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 101.06                  Paid Gross: 101.06                 Net Pay: 93.33                 Direct Deposit: Checking ####8301     93.33       Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            6.52              101.06            162.56              2,519.69                                                         SOC SEC EE                 101.06           6.26          2,519.69               156.22
                                                                                                                                                                     MED EE                     101.06           1.47          2,519.69                36.54
                                                                                                                                                                     FEDERAL WH                 101.06           0.00          2,519.69                 0.00
                                                                                                                                                                     SOUTH CAROLINA WH          101.06           0.00          2,519.69                 0.95
                         Totals:             6.52             101.06             162.56               2,519.69                Totals:         0.00            0.00                Totals:                        7.73                                 193.71




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 39
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:28 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 40 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Ponce Mercado, Yanelly                         319 Wilson St                               Hourly Rate:          15.0000           Hire Date: 7/29/2021      Federal: Single                   Exempts: 5     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: PONCYANE XXX-XX-8103                                                                Status:               Active            Birth Date: 9/21/XXXX     State SC: Single                  Exempts: 5     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 235.80                  Paid Gross: 235.80                 Net Pay: 217.76                Direct Deposit: - None -                          Check Amount: 217.76             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.72              235.80            553.92              8,308.80                                                            SOC SEC EE              235.80          14.62         10,620.26                658.46
Overtime                                    0.00                0.00            102.73              2,311.46                                                            MED EE                  235.80           3.42         10,620.26                153.99
                                                                                                                                                                        FEDERAL WH              235.80           0.00         10,620.26                400.71
                                                                                                                                                                        SOUTH CAROLINA WH       235.80           0.00         10,620.26                289.66
                         Totals:            15.72             235.80             656.65              10,620.26                Totals:         0.00              0.00                 Totals:                    18.04                                1,502.82

Pulley, Shykera D                              140 New Bethlehem Church Rd                 Hourly Rate:          14.5000           Hire Date: 10/28/2021     Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Honea Path, SC 29654
Emp #: PULLSHYK XXX-XX-5619                                                                Status:               Active            Birth Date: 9/30/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 114.26                  Paid Gross: 114.26                 Net Pay: 103.37                Direct Deposit: - None -                          Check Amount: 103.37             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.88              114.26             39.45                572.03                                                            SOC SEC EE              114.26           7.09            572.03                35.47
                                                                                                                                                                        MED EE                  114.26           1.65            572.03                 8.29
                                                                                                                                                                        FEDERAL WH              114.26           0.00            572.03                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       114.26           2.15            572.03                25.30
                         Totals:             7.88             114.26              39.45                572.03                 Totals:         0.00              0.00                 Totals:                    10.89                                  69.06

Quinones Arroyo, Ricardo                       523 Conway Ave                              Hourly Rate:          14.5000           Hire Date: 8/5/2021       Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: QUINRICA XXX-XX-1262                                                                Status:               Active            Birth Date: 9/29/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.13                Direct Deposit: - None -                          Check Amount: 107.13             Check #:
Earnings                     Rate          Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                                     0.00                0.00            495.24              7,181.05                                                            SOC SEC EE              116.00           7.19          8,176.41               506.94
Overtime                                    0.00                0.00             40.43                879.36                                                            MED EE                  116.00           1.68          8,176.41               118.56
Vacation                 14.5000            8.00              116.00              8.00                116.00                                                            FEDERAL WH              116.00           0.00          8,176.41                 5.64
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           0.00          8,176.41                40.07
                         Totals:             8.00             116.00             543.67               8,176.41                Totals:         0.00              0.00                 Totals:                     8.87                                 671.21

Ramirez Mosqueda, Gonzalo                      388 Highway 49                              Hourly Rate:          17.5000           Hire Date: 7/16/2021      Federal: Single                   Exempts: 2     Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #:                   XXX-XX-4965                                                       Status:               Active            Birth Date: 11/24/XXXX    State SC: Single                  Exempts: 2     Addl Tax:                 Work State: SC
RAMIGONZ
REGULAR CHECK                          Gross Wage: 140.00                  Paid Gross: 140.00                 Net Pay: 129.17                Direct Deposit: - None -                          Check Amount: 129.17             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            8.00              140.00            640.65             11,035.10 SC Child Support                 0.00            580.44 SOC SEC EE                 140.00           8.68         13,558.16                840.61
Overtime                                    0.00                0.00             97.93              2,523.06                                                            MED EE                  140.00           2.03         13,558.16                196.59
                                                                                                                                                                        FEDERAL WH              140.00           0.00         13,558.16              1,086.33
                                                                                                                                                                        SOUTH CAROLINA WH       140.00           0.12         13,558.16                588.92
                         Totals:             8.00             140.00             738.58              13,558.16                Totals:         0.00            580.44                 Totals:                    10.83                                2,712.45




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 40
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:28 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 41 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Ramirez, Robert J                              183 Joshuas Place                           Hourly Rate:          14.5000           Hire Date: 10/14/2021   Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360                                                                                           Separately
Emp #: RAMIROBE XXX-XX-8910                                                                Status:               Active            Birth Date: 5/28/XXXX                                                                                Work State: SC
                                                                                                                                                           State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 114.12                  Paid Gross: 114.12                 Net Pay: 103.25                Direct Deposit: Checking ####9723     103.25      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.87              114.12            119.61              1,734.36                                                         SOC SEC EE                 114.12           7.07          1,741.32               107.96
Overtime                                    0.00                0.00              0.32                  6.96                                                         MED EE                     114.12           1.66          1,741.32                25.25
                                                                                                                                                                     FEDERAL WH                 114.12           0.00          1,741.32                 0.00
                                                                                                                                                                     SOUTH CAROLINA WH          114.12           2.14          1,741.32                89.35
                         Totals:             7.87             114.12             119.93               1,741.32                Totals:         0.00            0.00                Totals:                       10.87                                 222.56

Ramirez-Ramirez, Lizett Guadalupe 55 N Orchard Farms Ave                                   Per Pay Salary:       1480.77           Hire Date: 1/25/2021    Federal: Married                    Exempts: 0     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29681
Emp #: RAMILIZE XXX-XX-8087                                                                Status:               Active            Birth Date: 12/6/XXXX   State SC: Married                   Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 592.31                  Paid Gross: 592.31                 Net Pay: 478.68                Direct Deposit: Checking ####6556     478.68      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD Taxes                         Wage             Tax         YTD Wage            YTD Tax
Regular                  37.0193           16.00              592.31          1,616.00             57,928.54                                                         SOC SEC EE                 592.31          36.72         57,928.54           3,591.57
                                                                                                                                                                     MED EE                     592.31           8.58         57,928.54             839.96
                                                                                                                                                                     FEDERAL WH                 592.31          35.77         57,928.54           5,447.90
                                                                                                                                                                     SOUTH CAROLINA WH          592.31          32.56         57,928.54           3,681.24
                         Totals:            16.00             592.31           1,616.00              57,928.54                Totals:         0.00            0.00                Totals:                      113.63                            13,560.67

Ramos, Brian M                                 15 Puzzle Drive                             Hourly Rate:          15.0000           Hire Date: 8/4/2020     Federal: Married                    Exempts: 7     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #:                   XXX-XX-6966                                                       Status:               Active            Birth Date: 2/27/XXXX   State SC: Married                   Exempts: 7     Addl Tax:                 Work State: SC
RAMOBRIA
REGULAR CHECK                          Gross Wage: 240.00                  Paid Gross: 240.00                 Net Pay: 221.64                Direct Deposit: Checking ####4483     221.64      Check Amount: 0.00               Check #:
Earnings                     Rate          Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current            YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                                     0.00                0.00          1,567.08             22,139.84 DentalPT                         0.00          104.06 SOC SEC EE                   240.00          14.88         28,777.19              1,784.19
Overtime                                    0.00                0.00            251.40              5,277.41                                                         MED EE                     240.00           3.48         28,777.19                417.27
Vacation                 15.0000           16.00              240.00             96.00              1,360.00                                                         FEDERAL WH                 240.00           0.00         28,777.19                104.61
Holiday                                     0.00                0.00              8.00                104.00                                                         SOUTH CAROLINA WH          240.00           0.00         28,777.19                424.13
                         Totals:           16.00              240.00          1,922.48             28,881.25           Totals:                0.00          104.06                Totals:                       18.36                                2,730.20

Ramos, Maria Elena                             101 Estelle Dr                              Hourly Rate:          15.0000           Hire Date: 2/11/2019    Federal: Married                    Exempts: 1     Addl Tax:                 Res State:     SC
                                               Williamston, SC 29697
Emp #:                   XXX-XX-2281                                                       Status:               Active            Birth Date: 4/7/XXXX    State SC:                           Exempts: 1     Addl Tax:                 Work State: SC
RAMOMARI
REGULAR CHECK                          Gross Wage: 235.05                  Paid Gross: 235.05                 Net Pay: 213.08                Direct Deposit: Checking ####3728     213.08      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current            YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.67              235.05          1,436.64             21,549.60 Other                            0.00           24.00 SOC SEC EE                   235.05          14.58         25,517.99              1,582.12
Overtime                                    0.00                0.00            107.04              2,408.39                                                         MED EE                     235.05           3.41         25,517.99                370.01
Vacation                                    0.00                0.00             80.00              1,200.00                                                         FEDERAL WH                 235.05           0.00         25,517.99              1,215.86
Holiday                                     0.00                0.00              8.00                120.00                                                         SOUTH CAROLINA WH          235.05           3.98         25,517.99              1,069.63
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.67              235.05          1,647.68             25,517.99           Totals:                0.00           24.00                Totals:                       21.97                                4,237.62


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 41
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:28 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                           Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                       Page 42 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Ramos-Vazquez, Sandra                          15 Beagle Dr                                Hourly Rate:         17.5000          Hire Date: 12/1/2020      Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #:                   XXX-XX-8098                                                       Status:              Active           Birth Date: 7/7/XXXX      State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC
RAMOSAND
REGULAR CHECK                          Gross Wage: 139.65                  Paid Gross: 139.65                 Net Pay: 119.43              Direct Deposit: Checking ####5504       119.43      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            7.98              139.65          1,697.33             25,823.57 Other                          0.00             21.00 SOC SEC EE                   139.65           8.66         34,686.77              2,150.58
Overtime                                    0.00                0.00            358.01              7,627.20                                                          MED EE                    139.65           2.03         34,686.77                502.96
Vacation                                    0.00                0.00             40.00                620.00                                                          FEDERAL WH                139.65           6.37         34,686.77              3,784.13
Holiday                                     0.00                0.00             16.00                228.00                                                          SOUTH CAROLINA WH         139.65           3.16         34,686.77              2,021.04
Personal                                    0.00                0.00              8.00                124.00
FloatingHoliday                             0.00                0.00             16.00                264.00
                         Totals:            7.98              139.65          2,135.34             34,686.77           Totals:              0.00             21.00                 Totals:                      20.22                                8,458.71

Rangel, Luz                                    32 RTS Dr                                   Hourly Rate:         15.0000          Hire Date: 5/6/2021       Federal: Single                     Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: RANGELUZ XXX-XX-7709                                                                Status:              Active           Birth Date: 5/5/XXXX      State SC: Single                    Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 237.30                  Paid Gross: 237.30                 Net Pay: 219.14              Direct Deposit: - None -                            Check Amount: 219.14             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.82              237.30          1,051.87             15,673.49 Other                          0.00             10.00 SOC SEC EE                   237.30          14.72         22,651.05              1,404.37
Overtime                                    0.00                0.00            278.83              6,125.56                                                          MED EE                    237.30           3.44         22,651.05                328.44
Vacation                                    0.00                0.00             40.00                604.00                                                          FEDERAL WH                237.30           0.00         22,651.05                823.42
Holiday                                     0.00                0.00              8.00                124.00                                                          SOUTH CAROLINA WH         237.30           0.00         22,651.05                629.69
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:           15.82              237.30          1,386.70             22,651.05           Totals:              0.00             10.00                 Totals:                      18.16                                3,185.92

Reid, Demarquis J                              2714 Collinswood Dr                         Hourly Rate:         15.0000          Hire Date: 6/25/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Newberry, SC 29108                                                                                          Separately
Emp #: REIDDEMA XXX-XX-0020                                                                Status:              Active           Birth Date: 9/10/XXXX                                                                                  Work State: SC
                                                                                                                                                           State SC: Single                    Exempts: 0     Addl Tax:
REGULAR CHECK                          Gross Wage: 234.45                  Paid Gross: 234.45                 Net Pay: 208.64              Direct Deposit: Checking ####4664       208.64      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.63              234.45            597.77              8,966.55 SC Child Support               0.00            496.90 SOC SEC EE                   234.45          14.54         10,126.94               627.87
Overtime                                    0.00                0.00             14.24                320.39                                                          MED EE                    234.45           3.40         10,126.94               146.84
Vacation                                    0.00                0.00             32.00                480.00                                                          FEDERAL WH                234.45           0.00         10,126.94               588.21
Holiday                                     0.00                0.00              8.00                120.00                                                          SOUTH CAROLINA WH         234.45           7.87         10,126.94               534.49
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.63              234.45            668.01             10,126.94            Totals:             0.00            496.90                 Totals:                      25.81                                1,897.41




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 42
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:29 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 43 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Rice, Akeem K                                  796 Bull Hill Rd                            Hourly Rate:         14.0000            Hire Date: 10/28/2021     Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: RICEAKEE XXX-XX-5111                                                                Status:              Active             Birth Date: 11/25/XXXX    State SC: Single                    Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 112.00                  Paid Gross: 112.00                 Net Pay: 97.77                 Direct Deposit: - None -                            Check Amount: 97.77              Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000            8.00              112.00             47.45                664.30                                                            SOC SEC EE                112.00           6.95            664.30                41.19
                                                                                                                                                                        MED EE                    112.00           1.62            664.30                 9.63
                                                                                                                                                                        FEDERAL WH                112.00           3.60            664.30                56.93
                                                                                                                                                                        SOUTH CAROLINA WH         112.00           2.06            664.30                31.82
                         Totals:             8.00             112.00              47.45                664.30                 Totals:         0.00              0.00                 Totals:                      14.23                                 139.57

Rice, Josiah I                                 3201 White Horse Rd                         Hourly Rate:         15.0000            Hire Date: 5/26/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Greenville, SC 29611                                                                                          Separately
Emp #: RICEJOSI          XXX-XX-2265                                                       Status:              Active             Birth Date: 4/8/XXXX                                                                                   Work State: SC
                                                                                                                                                             State SC: Single                    Exempts: 0     Addl Tax:
REGULAR CHECK                          Gross Wage: 220.80                  Paid Gross: 220.80                 Net Pay: 196.86                Direct Deposit: Checking ####8323       196.86      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           14.72              220.80            588.02              8,820.30                                                            SOC SEC EE                220.80          13.69         10,316.63               639.63
Overtime                                    0.00                0.00             29.17                656.33                                                            MED EE                    220.80           3.20         10,316.63               149.59
Vacation                                    0.00                0.00             32.00                480.00                                                            FEDERAL WH                220.80           0.00         10,316.63               659.76
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         220.80           7.05         10,316.63               562.82
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           14.72              220.80            673.19             10,316.63           Totals:                0.00              0.00                 Totals:                      23.94                                2,011.80

RICHEY, KEIERA N                               149 DORA RD                                 Hourly Rate:         15.5000            Hire Date: 6/29/2021      Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: RICKKEIE          XXX-XX-1407                                                       Status:              Active             Birth Date: 5/9/XXXX      State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51               Direct Deposit: Pay Card (Checking)      114.51      Check Amount: 0.00               Check #:
                                                                                                                                                            ####9229
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            633.61              9,821.02                                                            SOC SEC EE                124.00           7.69         11,948.48                740.81
Overtime                                    0.00                0.00             70.17              1,631.46                                                            MED EE                    124.00           1.80         11,948.48                173.25
Vacation                                    0.00                0.00              8.00                124.00                                                            FEDERAL WH                124.00           0.00         11,948.48                 23.17
Bereavement                                 0.00                0.00             24.00                372.00                                                            SOUTH CAROLINA WH         124.00           0.00         11,948.48                 97.63
                         Totals:            8.00              124.00            735.78             11,948.48           Totals:                0.00              0.00                 Totals:                       9.49                                1,034.86

Rivera Vazquez, Janet                          317 Beauregard St                           Hourly Rate:         15.0000            Hire Date: 8/5/2021       Federal: Single                     Exempts: 7     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: VAZQJANE XXX-XX-2618                                                                Status:              Active             Birth Date: 3/11/XXXX     State SC: Single                    Exempts: 7     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 237.30                  Paid Gross: 237.30                 Net Pay: 219.14                Direct Deposit: - None -                            Check Amount: 219.14             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.82              237.30            510.15              7,652.25                                                            SOC SEC EE                237.30          14.72          8,465.42               524.86
Overtime                                    0.00                0.00             36.14                813.17                                                            MED EE                    237.30           3.44          8,465.42               122.75
                                                                                                                                                                        FEDERAL WH                237.30           0.00          8,465.42                57.95
                                                                                                                                                                        SOUTH CAROLINA WH         237.30           0.00          8,465.42                97.07
                         Totals:            15.82             237.30             546.29              8,465.42                 Totals:         0.00              0.00                 Totals:                      18.16                                 802.63



 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 43
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:29 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                           Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                       Page 44 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                     Payroll Type: Regular Payroll

Rocha, Julia                                   111 Irby Ave                                Hourly Rate:         14.5000          Hire Date: 3/16/2020      Federal: Single                   Exempts: 4     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: ROCHJULI XXX-XX-1428                                                                Status:              Active           Birth Date: 10/25/XXXX    State SC: Single                  Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 113.54                  Paid Gross: 113.54                 Net Pay: 104.86              Direct Deposit: - None -                          Check Amount: 104.86             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.83              113.54          1,604.00             22,316.69                                                          SOC SEC EE              113.54           7.04         28,383.61              1,759.78
Overtime                                    0.00                0.00            258.93              5,278.92                                                          MED EE                  113.54           1.64         28,383.61                411.56
Vacation                                    0.00                0.00             32.00                448.00                                                          FEDERAL WH              113.54           0.00         28,383.61              1,175.93
Holiday                                     0.00                0.00             16.00                224.00                                                          SOUTH CAROLINA WH       113.54           0.00         28,383.61                800.73
Personal                                    0.00                0.00              8.00                116.00
                         Totals:            7.83              113.54          1,918.93             28,383.61           Totals:              0.00              0.00                 Totals:                     8.68                                4,148.00

Rodriguez, Jesus                               66 RTS Drive                                Hourly Rate:         14.5000          Hire Date: 4/1/2021       Federal: Married                  Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: rodrjesu          XXX-XX-6008                                                       Status:              Active           Birth Date: 5/14/XXXX     State SC: Married                 Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 115.57                  Paid Gross: 115.57                 Net Pay: 104.53              Direct Deposit: Checking ####1189       104.53    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.97              115.57          1,183.76             16,644.56                                                          SOC SEC EE              115.57           7.17         24,794.80              1,537.28
Overtime                                    0.00                0.00            343.02              7,222.24                                                          MED EE                  115.57           1.67         24,794.80                359.52
Vacation                                    0.00                0.00             40.00                580.00                                                          FEDERAL WH              115.57           0.00         24,794.80                336.77
Holiday                                     0.00                0.00              8.00                116.00                                                          SOUTH CAROLINA WH       115.57           2.20         24,794.80              1,453.91
Personal                                    0.00                0.00              8.00                116.00
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            7.97              115.57          1,590.78             24,794.80           Totals:              0.00              0.00                 Totals:                    11.04                                3,687.48

Roque Secundino, Luzareli                      710 Sweetwater Rd                           Hourly Rate:         14.0000          Hire Date: 2/26/2021      Federal: Married                  Exempts: 3     Addl Tax:                 Res State:     SC
                                               Greenwood, SC 29646
Emp #: ROQULUZA XXX-XX-1570                                                                Status:              Active           Birth Date: 7/18/XXXX     State SC: Married                 Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 229.88                  Paid Gross: 229.88                 Net Pay: 212.04              Direct Deposit: Checking ####1222       212.04    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                 Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           16.42              229.88          1,212.61             16,389.86                                                          SOC SEC EE              229.88          14.25         19,713.95              1,222.26
Overtime                                    0.00                0.00            113.08              2,228.09                                                          MED EE                  229.88           3.33         19,713.95                285.85
Vacation                                    0.00                0.00             56.00                760.00                                                          FEDERAL WH              229.88           0.00         19,713.95                418.20
Holiday                                     0.00                0.00              8.00                112.00                                                          SOUTH CAROLINA WH       229.88           0.26         19,713.95                584.79
Personal                                    0.00                0.00              8.00                112.00
FloatingHoliday                             0.00                0.00              8.00                112.00
                         Totals:           16.42              229.88          1,405.69             19,713.95           Totals:              0.00              0.00                 Totals:                    17.84                                2,511.10




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                              Page 44
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                Created on: 11/16/2021 9:29:29 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 45 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Sanchez, Jason                                 10 Leighton Ct                              Hourly Rate:          18.2500           Hire Date: 4/13/2020      Federal: Single                   Exempts: 2     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #: SANCJASO XXX-XX-5480                                                                Status:               Active            Birth Date: 4/28/XXXX     State SC: Single                  Exempts: 2     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 238.53                  Paid Gross: 238.53                 Net Pay: 218.23                Direct Deposit: Savings ####7176        218.23    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  18.2500           13.07              238.53          1,722.39             29,355.78 Child Support                    0.00          7,970.85 SOC SEC EE                 238.53          14.79         38,209.17              2,368.97
Overtime                                    0.00                0.00            273.88              6,965.39 SC Tax Levy                      0.00            417.73 MED EE                     238.53           3.46         38,209.17                554.03
Vacation                                    0.00                0.00             80.00              1,360.00                                                            FEDERAL WH              238.53           0.00         38,209.17              3,183.39
Holiday                                     0.00                0.00             16.00                256.00                                                            SOUTH CAROLINA WH       238.53           2.05         38,209.17              1,696.90
Personal                                    0.00                0.00              8.00                136.00
FloatingHoliday                             0.00                0.00              8.00                136.00
                         Totals:           13.07              238.53          2,108.27             38,209.17            Totals:               0.00          8,388.58                 Totals:                    20.30                                7,803.29

Santiago-Marcos, Leonila                       302 Bronco Dr                               Hourly Rate:          15.0000           Hire Date: 10/28/2019     Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: SANTLEON XXX-XX-6819                                                                Status:               Active            Birth Date: 1/16/XXXX     State SC:                         Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 235.05                  Paid Gross: 235.05                 Net Pay: 216.70                Direct Deposit: - None -                          Check Amount: 216.70             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.67              235.05          1,688.51             25,327.65     MedInsPT                     0.00          1,053.90    SOC SEC EE              235.05          14.57         30,991.28              1,921.46
Overtime                                    0.00                0.00            228.73              5,146.43     DentalPT                     0.00            108.90    MED EE                  235.05           3.40         30,991.28                449.37
Vacation                                    0.00                0.00             56.00                840.00     Accidental Ill               0.00             31.80    FEDERAL WH              235.05           0.00         30,991.28              1,794.70
Holiday                                     0.00                0.00             16.00                240.00                                                            SOUTH CAROLINA WH       235.05           0.38         30,991.28              1,064.89
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
Bereavement                                 0.00                0.00             24.00                360.00
                         Totals:           15.67              235.05          2,029.24             32,154.08                  Totals:         0.00          1,194.60                 Totals:                    18.35                                5,230.42

Shepherd, Deborah C                            224 Chestatee Ct                            Per Pay Salary:       1923.09           Hire Date: 4/22/2019      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #: SHEPDEBO XXX-XX-2594                                                                Status:               Active            Birth Date: 11/29/XXXX    State SC:                         Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 769.24                  Paid Gross: 769.24                 Net Pay: 586.07                Direct Deposit: Checking ####2463       586.07    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage            YTD Tax
Regular                  48.0772           16.00              769.24          1,816.00             87,308.29 MedInsPT                         0.00          1,053.90    SOC SEC EE              769.24          47.69         86,119.84           5,339.43
                                                                                                                 DentalPT                     0.00            108.90    MED EE                  769.24          11.16         86,119.84           1,248.74
                                                                                                                 VisioPTWH                    0.00             25.65    FEDERAL WH              769.24          79.37         86,119.84          14,568.92
                                                                                                                 Accidental Ill               0.00            119.25    SOUTH CAROLINA WH       769.24          44.95         86,119.84           5,619.10
                         Totals:            16.00             769.24           1,816.00              87,308.29                Totals:         0.00          1,307.70                 Totals:                   183.17                            26,776.19




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 45
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:29 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 46 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Simmons, James A                               565 Campground Rd                           Hourly Rate:         15.0000            Hire Date: 5/5/2021       Federal: Married Filing Jointly   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: SIMMJAME XXX-XX-2320                                                                Status:              Active             Birth Date: 7/9/XXXX      State SC: Married                 Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 232.05                  Paid Gross: 232.05                 Net Pay: 206.57                Direct Deposit: Checking ####3300       206.57    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.47              232.05            846.33             12,694.95     MedInsPT                     0.00          2,328.96    SOC SEC EE              232.05          14.39         12,148.17               753.19
Overtime                                    0.00                0.00             43.78                985.07     DentalPT                     0.00            135.96    MED EE                  232.05           3.37         12,148.17               176.15
Vacation                                    0.00                0.00             40.00                600.00     VisioPTWH                    0.00             26.93    FEDERAL WH              232.05           0.00         12,148.17               216.71
Holiday                                     0.00                0.00              8.00                120.00     STD                          0.00             86.40    SOUTH CAROLINA WH       232.05           7.72         12,148.17               624.53
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.47              232.05            954.11             14,640.02                  Totals:         0.00          2,578.25                 Totals:                    25.48                                1,770.58

Simpkins, Elbert                               606 Cannon Pointe Dr                        Hourly Rate:         14.0000            Hire Date: 8/27/2021      Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Apt 608
Emp #: SIMPELBE XXX-XX-3906                    SPARTANBURG, SC 29303                       Status:              Active             Birth Date: 2/20/XXXX     State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 241.50                  Paid Gross: 241.50                 Net Pay: 223.03               Direct Deposit: Pay Card (Checking)      223.03    Check Amount: 0.00               Check #:
                                                                                                                                                            ####3549
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           17.25              241.50            332.88              4,660.32                                                            SOC SEC EE              241.50          14.97          5,024.04               311.49
Overtime                                    0.00                0.00              1.32                 27.72                                                            MED EE                  241.50           3.50          5,024.04                72.85
Vacation                                    0.00                0.00             24.00                336.00                                                            FEDERAL WH              241.50           0.00          5,024.04                 2.21
                                                                                                                                                                        SOUTH CAROLINA WH       241.50           0.00          5,024.04                29.69
                         Totals:            17.25             241.50             358.20              5,024.04                 Totals:         0.00               0.00                Totals:                    18.47                                 416.24

Sims, Willie B                                 101 E. Settlement Rd                        Hourly Rate:         14.5000            Hire Date: 10/28/2021     Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt 607
Emp #: SIMSWILL XXX-XX-2927                    Greenville, SC 29617                        Status:              Active             Birth Date: 3/30/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.13                Direct Deposit: - None -                          Check Amount: 107.13             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00             38.80                562.60                                                            SOC SEC EE              116.00           7.19            562.60                34.88
                                                                                                                                                                        MED EE                  116.00           1.68            562.60                 8.16
                                                                                                                                                                        FEDERAL WH              116.00           0.00            562.60                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           0.00            562.60                 0.00
                         Totals:             8.00             116.00              38.80                562.60                 Totals:         0.00               0.00                Totals:                     8.87                                  43.04




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 46
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:29 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                    Desc
                                                                                                Exhibit A - Payroll Register                         Page 47 of 60
        Client ID:     5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
       Pay Group:      Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
      Check Date:      11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
        Run Date:      11/16/2021                                                                                                                                                                        Payroll Type: Regular Payroll

Smiley, Tiffany M                              70 Spellbound Dr                            Hourly Rate:         14.0000            Hire Date: 8/26/2020     Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: SMILTIFF          XXX-XX-7068                                                       Status:              Active             Birth Date: 10/26/XXXX   State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 217.28                  Paid Gross: 217.28                 Net Pay: 200.66                Direct Deposit: Checking ####2400      200.66      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD    Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.52              217.28          1,078.16             14,485.71     MedInsPT                     0.00          1,030.48   SOC SEC EE                217.28          13.47         15,690.37               972.80
Overtime                                    0.00                0.00             30.27                613.62     DentalPT                     0.00            106.48   MED EE                    217.28           3.15         15,690.37               227.51
Vacation                                    0.00                0.00             64.00                872.00     LTD                          0.00            105.16   FEDERAL WH                217.28           0.00         15,690.37                 0.00
Holiday                                     0.00                0.00              8.00                104.00     Accidental Ill               0.00            116.60   SOUTH CAROLINA WH         217.28           0.00         15,690.37                 8.52
Personal                                    0.00                0.00              8.00                112.00     Critical Illnes              0.00            209.00
DML                                         0.00                0.00             32.00                416.00
FloatingHoliday                             0.00                0.00             16.00                224.00
                         Totals:           15.52              217.28          1,236.43             16,827.33                  Totals:         0.00          1,567.72                Totals:                      16.62                                1,208.83

Smith, Imperria J                              245 Houston St                              Hourly Rate:         14.5000            Hire Date: 6/17/2021     Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                            Separately
Emp #: SMITIMPE XXX-XX-2323                                                                Status:              Active             Birth Date: 1/7/XXXX                                                                                  Work State: SC
                                                                                                                                                            State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 104.90                Direct Deposit: Checking ####1836      104.90      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            646.86              9,379.54                                                           SOC SEC EE                116.00           7.20         10,793.80               669.22
Overtime                                    0.00                0.00             27.69                602.26                                                           MED EE                    116.00           1.68         10,793.80               156.51
Vacation                                    0.00                0.00             40.00                580.00                                                           FEDERAL WH                116.00           0.00         10,793.80                 0.00
Holiday                                     0.00                0.00              8.00                116.00                                                           SOUTH CAROLINA WH         116.00           2.22         10,793.80               582.15
Personal                                    0.00                0.00              8.00                116.00
                         Totals:            8.00              116.00            730.55             10,793.80           Totals:                0.00             0.00                 Totals:                      11.10                                1,407.88

Smith, James T                                 104 Maggie Street                           Hourly Rate:         17.0000            Hire Date: 9/1/2020      Federal: Single                     Exempts: 3     Addl Tax:                 Res State:     SC
                                               GREENVILLE, SC 29605
Emp #: SMITJAME XXX-XX-9906                                                                Status:              Active             Birth Date: 1/20/XXXX    State SC: Single                    Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 168.64                  Paid Gross: 168.64                 Net Pay: 155.73                Direct Deposit: Checking ####6703      155.73      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current             YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000            9.92              168.64          1,696.28             25,554.09     DentalPT                     0.00           108.90    SOC SEC EE                168.64          10.46         32,645.25              2,024.01
Overtime                                    0.00                0.00            287.51              6,129.71     VisioPTWH                    0.00            25.65    MED EE                    168.64           2.45         32,645.25                473.36
Vacation                                    0.00                0.00             32.00                544.00     Other                        0.00           -20.20    FEDERAL WH                168.64           0.00         32,645.25              2,021.81
Holiday                                     0.00                0.00             16.00                224.00     Accidental Ill               0.00           119.25    SOUTH CAROLINA WH         168.64           0.00         32,645.25              1,193.27
Personal                                    0.00                0.00             16.00                224.00
FloatingHoliday                             0.00                0.00              8.00                104.00
                         Totals:            9.92              168.64          2,055.79             32,779.80                  Totals:         0.00           233.60                 Totals:                      12.91                                5,712.45




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 47
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                   Created on: 11/16/2021 9:29:30 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                    Desc
                                                                                                Exhibit A - Payroll Register                         Page 48 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                        Payroll Type: Regular Payroll

Smith, Joshua D                                151 Ranch Road                              Hourly Rate:          15.5000           Hire Date: 6/3/2021       Federal: Married                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: SMITJOSH XXX-XX-7491                                                                Status:               Active            Birth Date: 11/15/XXXX    State SC: Married                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 111.97                Direct Deposit: Checking ####6419       111.97     Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            837.81             12,668.04 Pennsylvania Child               0.00           1,223.10 SOC SEC EE                 124.00           7.69         14,021.76               869.35
                                                                                                                 Support
Overtime                                     0.00                0.00             57.15               1,237.72                                                          MED EE                   124.00           1.80         14,021.76                203.32
Holiday                                      0.00                0.00              8.00                 116.00                                                          FEDERAL WH               124.00           0.00         14,021.76                894.99
                                                                                                                                                                        SOUTH CAROLINA WH        124.00           2.54         14,021.76                779.63
                         Totals:             8.00             124.00             902.96              14,021.76                Totals:         0.00           1,223.10                Totals:                     12.03                                2,747.29

Strickler, Dale                                200 Mulberry Way                            Per Pay Salary:       4230.78           Hire Date: 7/6/2020       Federal: Married                   Exempts: 2     Addl Tax:                 Res State:     TX
                                               IRVING, TX 75063
Emp #: STRIDALE XXX-XX-5025                                                                Status:               Active            Birth Date: 3/19/XXXX     State TX:                          Exempts:       Addl Tax:                 Work State: TX

REGULAR CHECK                          Gross Wage: 1,692.31                Paid Gross: 1,692.31               Net Pay: 1,520.35              Direct Deposit: Checking ####3481       1,520.35   Check Amount: 0.00               Check #:
Earnings                   Rate            Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD    Taxes                      Wage            Tax         YTD Wage            YTD Tax
Regular                105.7695            16.00            1,692.31          1,816.00            192,077.41 MedInsPT                         0.00           1,053.90   SOC SEC EE                  0.00          0.00        142,800.00           8,853.60
ER Match*                                   0.00                0.00              0.00              7,615.35 DentalPT                         0.00             108.90   MED EE                  1,692.31         24.54        190,888.96           2,767.89
                                                                                                                 K401                         0.00          22,338.37   FEDERAL WH              1,692.31        147.42        168,550.59          25,546.99
                                                                                                                 VisioPTWH                    0.00              25.65
                                                                                                                 Accidental Ill               0.00             119.25
                         Totals:            16.00           1,692.31           1,816.00           192,077.41                  Totals:         0.00          23,646.07                Totals:                    171.96                            37,168.48

Styles, Daryae                                 419 Robinson rd                             Hourly Rate:          14.5000           Hire Date: 5/6/2021       Federal: Single                    Exempts: 9     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: STYLDARY XXX-XX-8523                                                                Status:               Active            Birth Date: 4/2/XXXX      State SC: Single                   Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 115.57                  Paid Gross: 115.57                 Net Pay: 106.73                Direct Deposit: - None -                           Check Amount: 106.73             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.97              115.57            998.52             15,174.61                                                            SOC SEC EE               115.57           7.16         17,717.13              1,098.46
Overtime                                    0.00                0.00             99.44              2,294.52                                                            MED EE                   115.57           1.68         17,717.13                256.90
Holiday                                     0.00                0.00              8.00                124.00                                                            FEDERAL WH               115.57           0.00         17,717.13                259.68
Personal                                    0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH        115.57           0.00         17,717.13                235.23
                         Totals:            7.97              115.57          1,113.96             17,717.13           Totals:                0.00               0.00                Totals:                      8.84                                1,850.27

Suchil, Ezeki A                                2778 Thompson Rd                            Hourly Rate:          14.0000           Hire Date: 7/22/2021      Federal: Single                    Exempts: 4     Addl Tax:                 Res State:     SC
                                               Fountain Inn, SC 29644
Emp #: SUCHEZEK XXX-XX-3663                                                                Status:               Active            Birth Date: 8/21/XXXX     State SC: Single                   Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 215.18                  Paid Gross: 215.18                 Net Pay: 198.71                Direct Deposit: - None -                           Check Amount: 198.71             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.37              215.18            581.11              8,135.54                                                            SOC SEC EE               215.18          13.35          8,572.83                531.52
Overtime                                    0.00                0.00             15.49                325.29                                                            MED EE                   215.18           3.12          8,572.83                124.31
Personal                                    0.00                0.00              8.00                112.00                                                            FEDERAL WH               215.18           0.00          8,572.83                217.34
                                                                                                                                                                        SOUTH CAROLINA WH        215.18           0.00          8,572.83                171.26
                         Totals:            15.37             215.18             604.60               8,572.83                Totals:         0.00               0.00                Totals:                     16.47                                1,044.43




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 48
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                   Created on: 11/16/2021 9:29:30 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 49 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Sullivan, Jarvis M                             2390 Boyd Rd                                Hourly Rate:         14.5000            Hire Date: 9/30/2021      Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: SULLJARV XXX-XX-8170                                                                Status:              Active             Birth Date: 6/24/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 113.83                  Paid Gross: 113.83                 Net Pay: 99.20                Direct Deposit: Pay Card (Checking)      99.20     Check Amount: 0.00               Check #:
                                                                                                                                                            ####5816
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.85              113.83            175.33              2,542.32                                                            SOC SEC EE              113.83           7.06          2,545.58               157.83
Overtime                                    0.00                0.00              0.15                  3.26                                                            MED EE                  113.83           1.65          2,545.58                36.91
                                                                                                                                                                        FEDERAL WH              113.83           3.79          2,545.58               230.88
                                                                                                                                                                        SOUTH CAROLINA WH       113.83           2.13          2,545.58               127.85
                         Totals:             7.85             113.83             175.48              2,545.58                 Totals:         0.00              0.00                 Totals:                    14.63                                 553.47

Tapia Rodriguez, Leticia                       8 Townsend St                               Hourly Rate:         15.0000            Hire Date: 9/2/2021       Federal: Married                  Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: TAPILETI          XXX-XX-6120                                                       Status:              Active             Birth Date: 8/2/XXXX      State SC: Married                 Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 238.50                  Paid Gross: 238.50                 Net Pay: 219.78                Direct Deposit: - None -                          Check Amount: 219.78             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.90              238.50            343.23              5,148.45 K401                             0.00            125.50 SOC SEC EE                 238.50          14.79          5,291.41               328.07
Overtime                                    0.00                0.00              1.02                 22.96                                                            MED EE                  238.50           3.46          5,291.41                76.73
Personal                                    0.00                0.00              8.00                120.00                                                            FEDERAL WH              238.50           0.00          5,165.91                70.03
ER Match*                                   0.00                0.00              0.00                125.50                                                            SOUTH CAROLINA WH       238.50           0.47          5,165.91               129.94
                         Totals:           15.90              238.50            352.25              5,291.41           Totals:                0.00            125.50                 Totals:                    18.72                                 604.77

Taylor, Jeffrey J                              321 Coonie Turner Rd                        Hourly Rate:         15.0000            Hire Date: 11/17/2020     Federal: Married                  Exempts: 3     Addl Tax:                 Res State:     SC
                                               Cross Hill, SC 29332
Emp #: TAYLJEFF          XXX-XX-7505                                                       Status:              Active             Birth Date: 9/14/XXXX     State SC: Married                 Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 235.80                  Paid Gross: 235.80                 Net Pay: 217.37                Direct Deposit: Checking ####6588       217.37    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.72              235.80          1,682.46             23,575.90                                                            SOC SEC EE              235.80          14.62         29,405.82              1,823.16
Overtime                                    0.00                0.00            232.92              4,725.92                                                            MED EE                  235.80           3.41         29,405.82                426.38
Vacation                                    0.00                0.00             32.00                432.00                                                            FEDERAL WH              235.80           0.00         29,405.82                843.83
Holiday                                     0.00                0.00             16.00                224.00                                                            SOUTH CAROLINA WH       235.80           0.40         29,405.82                985.64
Personal                                    0.00                0.00             16.00                224.00
FloatingHoliday                             0.00                0.00             16.00                224.00
                         Totals:           15.72              235.80          1,995.38             29,405.82           Totals:                0.00              0.00                 Totals:                    18.43                                4,079.01

Tejada, Norma Anell                            26 Everleigh Court                          Hourly Rate:         16.0000            Hire Date: 8/30/2021      Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29681
Emp #: TEJANORM XXX-XX-6240                                                                Status:              Active             Birth Date: 8/26/XXXX     State SC: Single                  Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 132.80                  Paid Gross: 132.80                 Net Pay: 121.95                Direct Deposit: Checking ####2789       121.95    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  16.0000            8.30              132.80            375.16              6,002.56     MedInsPT                     0.00            117.10    SOC SEC EE              132.80           8.23          6,429.71               398.64
Overtime                                    0.00                0.00              7.30                175.20     DentalPT                     0.00             12.10    MED EE                  132.80           1.92          6,429.71                93.23
Vacation                                    0.00                0.00             24.00                384.00     VisioPTWH                    0.00              2.85    FEDERAL WH              132.80           0.00          6,429.71               536.90
                                                                                                                 LTD                          0.00             22.70    SOUTH CAROLINA WH       132.80           0.70          6,429.71               280.53
                                                                                                                 Accidental Ill               0.00             13.25
                         Totals:             8.30             132.80             406.46              6,561.76                 Totals:         0.00            168.00                 Totals:                    10.85                                1,309.30


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 49
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:30 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 50 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Templeton, Cynthia D                           552 Carousel Rd                             Per Pay Salary:       1634.62           Hire Date: 3/16/2020      Federal: Single                   Exempts: 6     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: TEMPCYNT XXX-XX-7403                                                                Status:               Active            Birth Date: 6/9/XXXX      State SC: Single                  Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 653.85                  Paid Gross: 653.85                 Net Pay: 584.93                Direct Deposit: Checking ####7461       584.93    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  40.8654           16.00              653.85          1,816.00             74,211.75 MedInsPT                         0.00          2,234.70    SOC SEC EE              653.85          40.54         71,842.50              4,454.24
ER Match*                                   0.00                0.00              0.00              2,157.54 DentalPT                         0.00            108.90    MED EE                  653.85           9.48         71,842.50              1,041.72
                                                                                                                 K401                         0.00          1,078.77    FEDERAL WH              653.85           8.17         70,763.73              6,089.35
                                                                                                                 Roth_401K                    0.00          1,536.57    SOUTH CAROLINA WH       653.85          10.73         70,763.73              3,293.06
                                                                                                                 VisioPTWH                    0.00             25.65
                                                                                                                 STD                          0.00            661.50
                                                                                                                 LTD                          0.00          1,574.10
                                                                                                                 Voluntary Life               0.00            765.90
                         Totals:            16.00             653.85           1,816.00              74,211.75                Totals:         0.00          7,986.09                 Totals:                    68.92                            14,878.37

Thompson, Hannah F                             114 Cedar St                                Hourly Rate:          14.0000           Hire Date: 10/28/2021     Federal: Single                   Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-7517                                                       Status:               Active            Birth Date: 3/18/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC
THOMHANN
REGULAR CHECK                          Gross Wage: 203.42                  Paid Gross: 203.42                 Net Pay: 168.98                Direct Deposit: - None -                          Check Amount: 168.98             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           14.53              203.42             61.38                859.32                                                            SOC SEC EE              203.42          12.61            859.32                53.28
                                                                                                                                                                        MED EE                  203.42           2.95            859.32                12.46
                                                                                                                                                                        FEDERAL WH              203.42          12.75            859.32                78.52
                                                                                                                                                                        SOUTH CAROLINA WH       203.42           6.13            859.32                43.14
                         Totals:            14.53             203.42              61.38                859.32                 Totals:         0.00              0.00                 Totals:                    34.44                                 187.40

Todd, Janice Alfreda                           103 E Hampton St                            Hourly Rate:          14.0000           Hire Date: 8/19/2021      Federal: Married                  Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: TODDJANI XXX-XX-7964                                                                Status:               Active            Birth Date: 10/29/XXXX    State SC: Married                 Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 219.10                  Paid Gross: 219.10                 Net Pay: 195.39                Direct Deposit: - None -                          Check Amount: 195.39             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.65              219.10            386.75              5,414.50 MedInsPT                         0.00            117.10    SOC SEC EE              219.10          13.58          5,299.67               328.58
Overtime                                    0.00                0.00              0.82                 17.22 DentalPT                         0.00             12.10    MED EE                  219.10           3.18          5,299.67                76.85
                                                                                                                 VisioPTWH                    0.00              2.85    FEDERAL WH              219.10           0.00          5,299.67               404.00
                                                                                                                 STD                          0.00             25.20    SOUTH CAROLINA WH       219.10           6.95          5,299.67               264.71
                                                                                                                 Voluntary Life               0.00             10.40
                                                                                                                 Accidental Ill               0.00             13.25
                                                                                                                 Critical Illnes              0.00             20.60
                         Totals:            15.65             219.10             387.57               5,431.72                Totals:         0.00            201.50                 Totals:                    23.71                                1,074.14




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 50
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:30 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                  Desc
                                                                                                Exhibit A - Payroll Register                         Page 51 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                        Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                     Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                     Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                      Payroll Type: Regular Payroll

Todd, Leroy Edward                             103 E. Hampton St                           Hourly Rate:          17.0000           Hire Date: 8/2/2021      Federal: Married Filing Jointly   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: TODDLERO XXX-XX-6506                                                                Status:               Active            Birth Date: 2/14/XXXX    State SC: Married                 Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 273.70                  Paid Gross: 273.70                 Net Pay: 242.50                Direct Deposit: Checking ####9734      242.50    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current             YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  17.0000           16.10              273.70            563.93              9,586.81 MedInsPT                         0.00           117.10    SOC SEC EE              273.70          16.97         10,755.30                666.83
Overtime                                    0.00                0.00             51.00              1,300.54 DentalPT                         0.00            12.10    MED EE                  273.70           3.97         10,755.30                155.95
                                                                                                                 VisioPTWH                    0.00             2.85    FEDERAL WH              273.70           0.00         10,755.30                373.86
                                                                                                                 Critical Illnes              0.00            31.80    SOUTH CAROLINA WH       273.70          10.26         10,755.30                619.42
                         Totals:            16.10             273.70             614.93              10,887.35                Totals:         0.00           163.85                 Totals:                    31.20                                1,816.06

Todd, Princess Danielle                        3201 White Hourse Rd                        Hourly Rate:          15.0000           Hire Date: 5/19/2021     Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Lot#14
Emp #: TODDPRIN XXX-XX-6481                    Greenville, SC 29611                        Status:               Active            Birth Date: 8/7/XXXX     State SC: Single                  Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 220.50                  Paid Gross: 220.50                 Net Pay: 196.61                Direct Deposit: Checking ####9146      196.61    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           14.70              220.50            778.92             11,736.00                                                           SOC SEC EE              220.50          13.67         13,409.20               831.37
Overtime                                    0.00                0.00             31.39                713.20                                                           MED EE                  220.50           3.19         13,409.20               194.43
Vacation                                    0.00                0.00             40.00                600.00                                                           FEDERAL WH              220.50           0.00         13,409.20                 0.00
Holiday                                     0.00                0.00              8.00                120.00                                                           SOUTH CAROLINA WH       220.50           7.03         13,409.20               716.37
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           14.70              220.50            874.31             13,409.20           Totals:                0.00              0.00                Totals:                    23.89                                1,742.17

Torres, Maria E                                76 Hurley Dr                                Hourly Rate:          14.0000           Hire Date: 6/18/2020     Federal: Single                   Exempts: 1     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: TORRMARI XXX-XX-5234                                                                Status:               Active            Birth Date: 11/12/XXXX   State SC:                         Exempts: 1     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 215.88                  Paid Gross: 215.88                 Net Pay: 190.35                Direct Deposit: Checking ####7687      190.35    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.42              215.88          1,597.30             21,429.23                                                           SOC SEC EE              215.88          13.39         26,142.57              1,620.84
Overtime                                    0.00                0.00            228.82              4,497.34                                                           MED EE                  215.88           3.13         26,142.57                379.07
Holiday                                     0.00                0.00             16.00                216.00                                                           FEDERAL WH              215.88           5.72         26,142.57              2,136.41
                                                                                                                                                                       SOUTH CAROLINA WH       215.88           3.29         26,142.57              1,087.26
                         Totals:            15.42             215.88           1,842.12              26,142.57                Totals:         0.00              0.00                Totals:                    25.53                                5,223.58

Torres, Micaela                                122 Shagbark Ct                             Hourly Rate:          15.0000           Hire Date: 1/28/2019     Federal: Married                  Exempts: 0     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #: TORRMICA XXX-XX-0444                                                                Status:               Active            Birth Date: 7/3/XXXX     State SC:                         Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 236.25                  Paid Gross: 236.25                 Net Pay: 210.04                Direct Deposit: Checking ####1269      210.04    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.75              236.25          1,675.50             25,132.50                                                           SOC SEC EE              236.25          14.65         36,435.35              2,258.99
Overtime                                    0.00                0.00            427.68              9,622.85                                                           MED EE                  236.25           3.42         36,435.35                528.31
Vacation                                    0.00                0.00             80.00              1,200.00                                                           FEDERAL WH              236.25           0.16         36,435.35              2,750.47
Holiday                                     0.00                0.00             16.00                240.00                                                           SOUTH CAROLINA WH       236.25           7.98         36,435.35              2,141.63
Personal                                    0.00                0.00              8.00                120.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.75              236.25          2,215.18             36,435.35           Totals:                0.00              0.00                Totals:                    26.21                                7,679.40

 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                               Page 51
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                 Created on: 11/16/2021 9:29:30 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 52 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                          Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                       Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                       Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Truitt, Shayana A                              106 Hills St                                Hourly Rate:         14.5000            Hire Date: 10/21/2021     Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: TRUISHAY XXX-XX-9361                                                                Status:              Active             Birth Date: 7/31/XXXX     State SC: Single                  Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.12               Direct Deposit: Pay Card (Checking)      107.12    Check Amount: 0.00               Check #:
                                                                                                                                                            ####7375
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00             87.28              1,265.57                                                            SOC SEC EE              116.00           7.19          1,287.97                79.85
Overtime                                    0.00                0.00              1.03                 22.40                                                            MED EE                  116.00           1.69          1,287.97                18.68
                                                                                                                                                                        FEDERAL WH              116.00           0.00          1,287.97                55.22
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           0.00          1,287.97                34.47
                         Totals:             8.00             116.00              88.31              1,287.97                 Totals:         0.00              0.00                 Totals:                     8.88                                 188.22

Turner, Maurice M                              143 BOARD ST                                Hourly Rate:         15.5000            Hire Date: 6/29/2021      Federal: Single                   Exempts: 9     Addl Tax:                 Res State:     SC
                                               Wellford, SC 29385
Emp #:                   XXX-XX-9903                                                       Status:              Active             Birth Date: 7/10/XXXX     State SC: Single                  Exempts: 9     Addl Tax:                 Work State: SC
TURNMAUR
REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.52               Direct Deposit: Pay Card (Checking)      114.52    Check Amount: 0.00               Check #:
                                                                                                                                                            ####2923
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                        Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            656.63              9,802.88                                                            SOC SEC EE              124.00           7.69         10,949.97               678.90
Overtime                                    0.00                0.00             18.90                411.09                                                            MED EE                  124.00           1.79         10,949.97               158.77
Vacation                                    0.00                0.00             16.00                248.00                                                            FEDERAL WH              124.00           0.00         10,949.97                13.04
Holiday                                     0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH       124.00           0.00         10,949.97                41.59
Bereavement                                 0.00                0.00             24.00                372.00
                         Totals:            8.00              124.00            723.53             10,949.97           Totals:                0.00              0.00                 Totals:                     9.48                                 892.30

Vega, Marina Jessica                           66 RTS Dr                                   Hourly Rate:         16.0000            Hire Date: 3/23/2020      Federal: Married                  Exempts: 6     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: VEGAMARI XXX-XX-8176                                                                Status:              Active             Birth Date: 3/24/XXXX     State SC: Married                 Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 128.00                  Paid Gross: 128.00                 Net Pay: 118.21                Direct Deposit: - None -                          Check Amount: 118.21             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  16.0000            8.00              128.00          1,767.32             26,210.44                                                            SOC SEC EE              128.00           7.94         39,927.09              2,475.48
Overtime                                    0.00                0.00            592.12             12,900.65                                                            MED EE                  128.00           1.85         39,927.09                578.94
Vacation                                    0.00                0.00             24.00                364.00                                                            FEDERAL WH              128.00           0.00         39,927.09                867.96
Holiday                                     0.00                0.00             16.00                236.00                                                            SOUTH CAROLINA WH       128.00           0.00         39,927.09              1,194.61
Personal                                    0.00                0.00              8.00                108.00
FloatingHoliday                             0.00                0.00              8.00                108.00
                         Totals:            8.00              128.00          2,415.44             39,927.09           Totals:                0.00              0.00                 Totals:                     9.79                                5,116.99




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 52
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 53 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Vega, T'yada M                                 17 Sizemore St.                             Per Pay Salary:       2019.24           Hire Date: 1/6/1997       Federal: Single                   Exempts: 3     Addl Tax:                 Res State:     SC
                                               Greenville, SC 29609
Emp #: VEGATYAD XXX-XX-9945                                                                Status:               Active            Birth Date: 7/2/XXXX      State SC:                         Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 807.70                  Paid Gross: 807.70                 Net Pay: 660.50                Direct Deposit: Checking ####7509       660.50    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage            YTD Tax
Regular                  50.4810           16.00              807.70          1,744.00             91,204.77 AflacPT                          0.00          2,460.60    SOC SEC EE              807.70          50.08         85,238.57           5,284.79
Vacation                                    0.00                0.00             32.00              1,615.40 AflacAT                          0.00            736.65    MED EE                  807.70          11.71         85,238.57           1,235.96
                                                                                                                 MedInsPT                     0.00          4,578.75    FEDERAL WH              807.70          54.21         85,238.57          11,756.75
                                                                                                                 DentalPT                     0.00            516.60    SOUTH CAROLINA WH       807.70          31.20         85,238.57           4,801.36
                                                                                                                 JH_Loan                      0.00          1,395.00
                                                                                                                 TranAmerL                    0.00          1,298.25
                                                                                                                 VisioPTWH                    0.00             25.65
                                                                                                                 Voluntary Life               0.00            408.15
                                                                                                                 Critical Illnes              0.00            405.00
                         Totals:            16.00             807.70           1,776.00              92,820.17                Totals:         0.00         11,824.65                 Totals:                   147.20                            23,078.86

Velasquez, Virginia                            301 A Conway Ave                            Hourly Rate:          15.5000           Hire Date: 3/18/2021      Federal: Single                   Exempts: 4     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: VELAVIRG XXX-XX-2416                                                                Status:               Active            Birth Date: 9/7/XXXX      State SC: Single                  Exempts: 4     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.52                Direct Deposit: - None -                          Check Amount: 114.52             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00          1,301.36             19,532.43                                                            SOC SEC EE              124.00           7.68         26,277.97              1,629.23
Overtime                                    0.00                0.00            271.43              6,125.54                                                            MED EE                  124.00           1.80         26,277.97                381.03
Vacation                                    0.00                0.00             16.00                248.00                                                            FEDERAL WH              124.00           0.00         26,277.97              1,492.09
Holiday                                     0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       124.00           0.00         26,277.97                919.22
Personal                                    0.00                0.00              8.00                124.00
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:            8.00              124.00          1,612.79             26,277.97           Totals:                0.00              0.00                 Totals:                     9.48                                4,421.57

Villalobos, Ashley                             300 J Revelation Dr                         Hourly Rate:          15.0000           Hire Date: 7/6/2021       Federal: Married                  Exempts: 7     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #:                   XXX-XX-2703                                                       Status:               Active            Birth Date: 6/24/XXXX     State SC: Married                 Exempts: 7     Addl Tax:                 Work State: SC
VILLAASHL
REGULAR CHECK                          Gross Wage: 234.30                  Paid Gross: 234.30                 Net Pay: 216.37                Direct Deposit: - None -                          Check Amount: 216.37             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.62              234.30            582.90              8,935.70                                                            SOC SEC EE              234.30          14.53         13,608.82               843.75
Overtime                                    0.00                0.00            163.93              3,805.12                                                            MED EE                  234.30           3.40         13,608.82               197.33
Vacation                                    0.00                0.00             40.00                620.00                                                            FEDERAL WH              234.30           0.00         13,608.82               212.88
Personal                                    0.00                0.00              8.00                124.00                                                            SOUTH CAROLINA WH       234.30           0.00         13,608.82               328.59
FloatingHoliday                             0.00                0.00              8.00                124.00
                         Totals:           15.62              234.30            802.83             13,608.82           Totals:                0.00              0.00                 Totals:                    17.93                                1,582.55




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 53
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                              Entered 11/29/21 17:22:28                  Desc
                                                                                                Exhibit A - Payroll Register                          Page 54 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Wade, Kimberly Marry                           303 Arborwalk Court                         Per Pay Salary:       1442.31            Hire Date: 7/20/2020    Federal: Single                    Exempts: 9     Addl Tax:                 Res State:     SC
                                               SIMPSONVILLE, SC 29681
Emp #:                   XXX-XX-6422                                                       Status:               Active             Birth Date: 1/16/XXXX   State SC: Single                   Exempts: 9     Addl Tax:                 Work State: SC
WADEKIMB
REGULAR CHECK                          Gross Wage: 1,442.31                Paid Gross: 1,442.31               Net Pay: 1,207.09               Direct Deposit: Checking ####8610     1,207.09   Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                    Current             YTD    Taxes                      Wage            Tax         YTD Wage            YTD Tax
Regular                  36.0577           40.00            1,442.31          1,840.00             66,346.26 MedInsPT                          0.00         1,053.90   SOC SEC EE              1,442.31         89.42         64,296.51           3,986.38
                                                                                                                 DentalPT                      0.00           823.50   MED EE                  1,442.31         20.91         64,296.51             932.30
                                                                                                                 VisioPTWH                     0.00           172.35   FEDERAL WH              1,442.31         70.83         64,296.51           3,012.03
                                                                                                                 Voluntary Life                0.00           175.95   SOUTH CAROLINA WH       1,442.31         54.06         64,296.51           2,343.21
                         Totals:            40.00           1,442.31           1,840.00              66,346.26                Totals:          0.00         2,225.70                Totals:                    235.22                            10,273.92

Wallington, Shawn L                            1305 Jasmine Circle                         Hourly Rate:          17.2500            Hire Date: 7/22/2002    Federal: Single                    Exempts: 7     Addl Tax:                 Res State:     SC
                                               SIMPSONVILLE, SC 29680
Emp #:                   XXX-XX-8833                                                       Status:               Active             Birth Date: 9/28/XXXX   State SC:                          Exempts: 7     Addl Tax:                 Work State: SC
WALLSHAW
REGULAR CHECK                          Gross Wage: 319.65                  Paid Gross: 319.65                 Net Pay: 295.21                 Direct Deposit: Checking ####4321     295.21     Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                 Current             YTD    Taxes                     Wage             Tax         YTD Wage               YTD Tax
Regular                  17.2500           18.53              319.65          1,808.34             30,618.91     MedInsPT                      0.00         1,241.26   SOC SEC EE               319.65          19.81         41,976.85              2,602.56
Overtime                                    0.00                0.00            482.38             12,221.67     DentalPT                      0.00           128.26   MED EE                   319.65           4.63         41,976.85                608.66
Vacation                                    0.00                0.00             16.00                268.00     JH_Loan                       0.00         2,501.79   FEDERAL WH               319.65           0.00         41,976.85              1,329.66
Holiday                                     0.00                0.00             16.00                268.00     VisioPTWH                     0.00            30.21   SOUTH CAROLINA WH        319.65           0.00         41,976.85              1,138.03
                                                                                                                 GuardiaAT                     0.00           146.08
                                                                                                                 UnumAT                        0.00            26.08
                                                                                                                 STD                           0.00           238.95
                                                                                                                 Voluntary Life                0.00           582.75
                                                                                                                 Accidental Ill                0.00           119.25
                                                                                                                 Critical Illnes               0.00           101.25
                         Totals:            18.53             319.65           2,322.72              43,376.58                Totals:          0.00         5,115.88                Totals:                     24.44                                5,678.91

Waters, Chad A                                 1191 Charlottes Road                        Hourly Rate:          14.0000            Hire Date: 9/23/2021    Federal: Single                    Exempts: 9     Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #:                   XXX-XX-1400                                                       Status:               Active             Birth Date: 1/22/XXXX   State SC: Single                   Exempts: 9     Addl Tax:                 Work State: SC
WATECHAD
REGULAR CHECK                          Gross Wage: 213.78                  Paid Gross: 213.78                 Net Pay: 197.42                 Direct Deposit: Savings ####9600      197.42     Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                    Current            YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.27              213.78            220.25              3,083.50 SC Child Support                  0.00          231.00 SOC SEC EE                  213.78          13.26          3,083.50               191.18
                                                                                                                 SC Child support              0.00          473.95 MED EE                      213.78           3.10          3,083.50                44.71
                                                                                                                                                                       FEDERAL WH               213.78           0.00          3,083.50                 0.00
                                                                                                                                                                       SOUTH CAROLINA WH        213.78           0.00          3,083.50                 0.33
                         Totals:            15.27             213.78             220.25               3,083.50                Totals:          0.00          704.95                 Totals:                     16.36                                 236.22




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 54
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                              Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                          Page 55 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                             Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                          Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                          Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                          Payroll Type: Regular Payroll

Watts, Barbara A                               207 Truman Street                           Hourly Rate:         15.0000             Hire Date: 6/3/2021       Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360                                                                                              Separately
Emp #:                   XXX-XX-1835                                                       Status:              Active              Birth Date: 7/3/XXXX                                                                                   Work State: SC
WATTBARB                                                                                                                                                      State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 235.80                  Paid Gross: 235.80                 Net Pay: 209.81                 Direct Deposit: - None -                            Check Amount: 209.81             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                    Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000           15.72              235.80            789.30             10,840.75                                                             SOC SEC EE                235.80          14.62         12,407.30               769.25
Overtime                                    0.00                0.00             35.99                710.55                                                             MED EE                    235.80           3.42         12,407.30               179.91
Vacation                                    0.00                0.00             40.00                544.00                                                             FEDERAL WH                235.80           0.00         12,407.30               509.81
Holiday                                     0.00                0.00              8.00                104.00                                                             SOUTH CAROLINA WH         235.80           7.95         12,407.30               655.89
Personal                                    0.00                0.00              8.00                104.00
FloatingHoliday                             0.00                0.00              8.00                104.00
                         Totals:           15.72              235.80            889.29             12,407.30           Totals:                 0.00              0.00                 Totals:                      25.99                                2,114.86

Watts, Kevin L                                 115 Dial Street                             Hourly Rate:         15.5000             Hire Date: 12/1/2020      Federal: Single                     Exempts: 0     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: WATTKEVI XXX-XX-1467                                                                Status:              Active              Birth Date: 2/10/XXXX     State SC:                           Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 225.53                  Paid Gross: 225.53                 Net Pay: 185.99                Direct Deposit: Pay Card (Checking)      185.99      Check Amount: 0.00               Check #:
                                                                                                                                                             ####5990
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                    Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000           14.55              225.53          1,775.31             25,892.07 Levy # 660768                     0.00           259.88 SOC SEC EE                    225.53          13.98         31,346.33              1,943.47
Overtime                                    0.00                0.00            233.71              4,918.26 Other                             0.00             19.00 MED EE                       225.53           3.27         31,346.33                454.52
Holiday                                     0.00                0.00             16.00                224.00                                                             FEDERAL WH                225.53          14.96         31,346.33              3,172.12
Bereavement                                 0.00                0.00             24.00                312.00                                                             SOUTH CAROLINA WH         225.53           7.33         31,346.33              1,785.37
                         Totals:           14.55              225.53          2,049.02             31,346.33           Totals:                 0.00            278.88                 Totals:                      39.54                                7,355.48

Webb, Fredrick L                               3714 Grandview Apt 384K                     Hourly Rate:         14.5000             Hire Date: 5/5/2021       Federal: Single                     Exempts: 2     Addl Tax:                 Res State:     SC
                                               Simpsonville, SC 29680
Emp #:                   XXX-XX-1964                                                       Status:              Active              Birth Date: 7/3/XXXX      State SC:                           Exempts: 2     Addl Tax:                 Work State: SC
WEBBFRED
REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.12                 Direct Deposit: Checking ####6233       107.12      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                 Current              YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            957.11             13,536.34     Child Support 1               0.00             72.67    SOC SEC EE                116.00           7.19         16,141.31              1,000.76
Overtime                                    0.00                0.00             92.40              1,908.97     Child Support 2               0.00            116.88    MED EE                    116.00           1.68         16,141.31                234.05
Vacation                                    0.00                0.00             40.00                580.00     Child Support 1 Fee           0.00              3.00    FEDERAL WH                116.00           0.00         16,141.31              1,046.35
Holiday                                     0.00                0.00              8.00                116.00                                                             SOUTH CAROLINA WH         116.00           0.01         16,141.31                581.56
                         Totals:            8.00              116.00          1,097.51             16,141.31                  Totals:          0.00            192.55                 Totals:                       8.88                                2,862.72

Wells, Alvin L                                 311 Longneedle Court                        Hourly Rate:         17.5000             Hire Date: 2/26/2021      Federal: Single                     Exempts: 6     Addl Tax:                 Res State:     SC
                                               GREENWOOD, SC 29649
Emp #: WELLALV           XXX-XX-1355                                                       Status:              Active              Birth Date: 5/8/XXXX      State SC: Single                    Exempts: 6     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 138.60                  Paid Gross: 138.60                 Net Pay: 128.00                 Direct Deposit: Checking ####7546       128.00      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                 Current              YTD     Taxes                      Wage             Tax         YTD Wage               YTD Tax
Regular                  17.5000            7.92              138.60          1,398.22             24,432.12     Texas Child Support           0.00          3,742.71    SOC SEC EE                138.60           8.59         31,712.48              1,966.17
Overtime                                    0.00                0.00            241.53              6,444.36     SC Child Support              0.00          6,131.81    MED EE                    138.60           2.01         31,712.48                459.83
Vacation                                    0.00                0.00             40.00                700.00     Other                         0.00            -23.78    FEDERAL WH                138.60           0.00         31,712.48              1,139.35
Holiday                                     0.00                0.00              8.00                136.00                                                             SOUTH CAROLINA WH         138.60           0.00         31,712.48                891.49
                         Totals:            7.92              138.60          1,687.75             31,712.48                  Totals:          0.00          9,850.74                 Totals:                      10.60                                4,456.84


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                   Page 55
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                     Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                   Desc
                                                                                                Exhibit A - Payroll Register                         Page 56 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                               PAYROLL REGISTER PREVIEW                                                         Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                      5000 - The Muffin Mam, Inc.                                                      Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                         DBA: The Muffin Mam, Inc.                                                      Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                       Payroll Type: Regular Payroll

Wharton, Sonja T                               102 Carriage Farms Ct                       Per Pay Salary:       961.54            Hire Date: 7/6/2021       Federal: Married                  Exempts: 0     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #:                   XXX-XX-0093                                                       Status:               Active            Birth Date: 9/23/XXXX     State SC: Married                 Exempts: 0     Addl Tax:                 Work State: SC
WHARSONJ
REGULAR CHECK                          Gross Wage: 384.62                  Paid Gross: 384.62                 Net Pay: 322.16                Direct Deposit: Checking ####8186       322.16    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  24.0385           16.00              384.62            736.00             17,692.34 STD                              0.00             86.40    SOC SEC EE              384.62          23.85         17,692.34              1,096.93
                                                                                                                 LTD                          0.00            205.80    MED EE                  384.62           5.58         17,692.34                256.54
                                                                                                                 Voluntary Life               0.00            136.20    FEDERAL WH              384.62          15.00         17,692.34              1,447.44
                                                                                                                                                                        SOUTH CAROLINA WH       384.62          18.03         17,692.34              1,069.41
                         Totals:            16.00             384.62             736.00              17,692.34                Totals:         0.00            428.40                 Totals:                    62.46                                3,870.32

Wilkinson, Joseph Daniel                       33 Honea Path Street                        Per Pay Salary:       1019.23           Hire Date: 2/26/2021      Federal: Single                   Exempts: 2     Addl Tax:                 Res State:     SC
                                               Ware Shoals, SC 29692
Emp #: WILKJOSE XXX-XX-2080                                                                Status:               Active            Birth Date: 12/13/XXXX    State SC: Single                  Exempts: 2     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 407.69                  Paid Gross: 407.69                 Net Pay: 350.22                Direct Deposit: Checking ####9039       350.22    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  25.4808           16.00              407.69          1,327.44             28,292.81                                                            SOC SEC EE              407.69          25.28         31,528.96              1,954.80
Overtime                                    0.00                0.00            113.58              2,896.30                                                            MED EE                  407.69           5.91         31,528.96                457.17
Vacation                                    0.00                0.00              8.00                203.85                                                            FEDERAL WH              407.69          16.63         31,528.96              2,705.40
Holiday                                     0.00                0.00              8.00                136.00                                                            SOUTH CAROLINA WH       407.69           9.65         31,528.96              1,474.57
                         Totals:           16.00              407.69          1,457.02             31,528.96           Totals:                0.00              0.00                 Totals:                    57.47                                6,591.94

Williams, Constanzus M                         938 Apple Orchard Rd                        Hourly Rate:          14.0000           Hire Date: 8/19/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Clinton, SC 29325
Emp #: WILLCONS XXX-XX-6692                                                                Status:               Active            Birth Date: 3/30/XXXX     State SC: Single                  Exempts: 0     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 212.80                  Paid Gross: 212.80                 Net Pay: 189.92                Direct Deposit: Checking ####1207       189.92    Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars    Deductions                Current              YTD     Taxes                    Wage             Tax         YTD Wage               YTD Tax
Regular                  14.0000           15.20              212.80            412.47              5,774.58     MedInsPT                     0.00            140.52    SOC SEC EE              212.80          13.19          6,381.36               395.64
Overtime                                    0.00                0.00             20.44                429.24     DentalPT                     0.00             14.52    MED EE                  212.80           3.09          6,381.36                92.53
Vacation                                    0.00                0.00             16.00                224.00     VisioPTWH                    0.00              3.42    FEDERAL WH              212.80           0.00          6,381.36                52.54
FloatingHoliday                             0.00                0.00              8.00                112.00     LTD                          0.00             34.92    SOUTH CAROLINA WH       212.80           6.60          6,381.36               340.51
                                                                                                                 Voluntary Life               0.00             51.48
                                                                                                                 Critical Illnes              0.00             54.00
                         Totals:            15.20             212.80             456.91               6,539.82                Totals:         0.00            298.86                 Totals:                    22.88                                 881.22

Williams, Hashim S                             6239 Belfast                                Hourly Rate:          14.5000           Hire Date: 8/26/2021      Federal: Head of Household        Exempts:       Addl Tax:                 Res State:     SC
                                               Newberry, SC 29108
Emp #: WILLHASH XXX-XX-8628                                                                Status:               Active            Birth Date: 7/17/XXXX     State SC: Single                  Exempts: 3000 Addl Tax:                  Work State: SC

REGULAR CHECK                          Gross Wage: 116.00                  Paid Gross: 116.00                 Net Pay: 107.11                Direct Deposit: - None -                          Check Amount: 107.11             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                       Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            8.00              116.00            376.56              5,460.16                                                            SOC SEC EE              116.00           7.20          5,609.44               347.79
Overtime                                    0.00                0.00              1.53                 33.28                                                            MED EE                  116.00           1.69          5,609.44                81.34
Personal                                    0.00                0.00              8.00                116.00                                                            FEDERAL WH              116.00           0.00          5,609.44               314.04
                                                                                                                                                                        SOUTH CAROLINA WH       116.00           0.00          5,609.44               175.09
                         Totals:             8.00             116.00             386.09               5,609.44                Totals:         0.00              0.00                 Totals:                     8.89                                 918.26




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                Page 56
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                  Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                     Desc
                                                                                                Exhibit A - Payroll Register                         Page 57 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                            Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                         Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                         Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                         Payroll Type: Regular Payroll

Williams, Jonathan                             108 Holland Hill                            Hourly Rate:         14.5000            Hire Date: 7/15/2021      Federal: Single                     Exempts:       Addl Tax:                 Res State:     SC
                                               LAURENS, SC 29360
Emp #: WILLJONA XXX-XX-5037                                                                Status:              Active             Birth Date: 11/14/XXXX    State SC: Single                    Exempts:       Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 105.13                  Paid Gross: 105.13                 Net Pay: 92.36                Direct Deposit: Pay Card (Checking)      92.36       Check Amount: 0.00               Check #:
                                                                                                                                                            ####9389
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                          Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.25              105.13            478.59              6,939.62 SC Child Support                 0.00             85.15 SOC SEC EE                   105.13           6.52          7,287.62                451.83
Vacation                                    0.00                0.00              8.00                116.00                                                            MED EE                    105.13           1.52          7,287.62                105.67
Personal                                    0.00                0.00              8.00                116.00                                                            FEDERAL WH                105.13           2.92          7,287.62                658.37
FloatingHoliday                             0.00                0.00              8.00                116.00                                                            SOUTH CAROLINA WH         105.13           1.81          7,287.62                362.56
                         Totals:            7.25              105.13            502.59              7,287.62            Totals:               0.00             85.15                 Totals:                      12.77                                1,578.43

Williams, Larna V                              1321 South Board Street                     Hourly Rate:         15.5000            Hire Date: 9/23/2021      Federal: Single                     Exempts: 9     Addl Tax:                 Res State:     SC
                                               Apt 09
Emp #: WILLLARN XXX-XX-5326                    Clinton, SC 29325                           Status:              Active             Birth Date: 10/15/XXXX    State SC: Single                    Exempts: 9     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 123.23                  Paid Gross: 123.23                 Net Pay: 113.80                Direct Deposit: - None -                            Check Amount: 113.80             Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            7.95              123.23            197.82              3,066.23                                                            SOC SEC EE                123.23           7.64          3,341.82               207.19
Overtime                                    0.00                0.00              6.52                151.59                                                            MED EE                    123.23           1.79          3,341.82                48.46
Personal                                    0.00                0.00              8.00                124.00                                                            FEDERAL WH                123.23           0.00          3,341.82                 0.00
                                                                                                                                                                        SOUTH CAROLINA WH         123.23           0.00          3,341.82                11.45
                         Totals:             7.95             123.23             212.34              3,341.82                 Totals:         0.00              0.00                 Totals:                       9.43                                 267.10

Williams, Rayshawn K                           3201 White Horse Rd                         Hourly Rate:         15.0000            Hire Date: 5/26/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Greenville, SC 29611                                                                                          Separately
Emp #: WILLRAYS XXX-XX-1156                                                                Status:              Active             Birth Date: 8/16/XXXX                                                                                  Work State: SC
                                                                                                                                                             State SC: Single                    Exempts: 0     Addl Tax:
REGULAR CHECK                          Gross Wage: 113.70                  Paid Gross: 113.70                 Net Pay: 102.88                Direct Deposit: Checking ####6075       102.88      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            7.58              113.70            930.96             13,964.40                                                            SOC SEC EE                113.70           7.05         15,759.32                977.08
Overtime                                    0.00                0.00             58.44              1,314.92                                                            MED EE                    113.70           1.65         15,759.32                228.51
Vacation                                    0.00                0.00             24.00                360.00                                                            FEDERAL WH                113.70           0.00         15,759.32              1,060.79
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         113.70           2.12         15,759.32                874.85
                         Totals:            7.58              113.70          1,021.40             15,759.32           Totals:                0.00              0.00                 Totals:                      10.82                                3,141.23

Witherspoon, Mary V                            1467 Eichelberger Rd                        Hourly Rate:         15.0000            Hire Date: 6/28/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645                                                                                          Separately
Emp #:                   XXX-XX-5076                                                       Status:              Active             Birth Date: 6/17/XXXX                                                                                  Work State: SC
WITHMARY                                                                                                                                                     State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 234.30                  Paid Gross: 234.30                 Net Pay: 208.51                Direct Deposit: Checking ####1519       208.51      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current               YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            7.62              114.30            661.71              9,925.65                                                            SOC SEC EE                234.30          14.53         11,890.13               737.19
Overtime                                    0.00                0.00             39.31                884.48                                                            MED EE                    234.30           3.40         11,890.13               172.41
Vacation                 15.0000            8.00              120.00             40.00                600.00                                                            FEDERAL WH                234.30           0.00         11,890.13               593.55
Holiday                                     0.00                0.00              8.00                120.00                                                            SOUTH CAROLINA WH         234.30           7.86         11,890.13               648.97
Personal                                    0.00                0.00             16.00                240.00
FloatingHoliday                             0.00                0.00              8.00                120.00
                         Totals:           15.62              234.30            773.02             11,890.13           Totals:                0.00              0.00                 Totals:                      25.79                                2,152.12


 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 57
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                    Created on: 11/16/2021 9:29:31 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                    Desc
                                                                                                Exhibit A - Payroll Register                         Page 58 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                           Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                        Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                        Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                                        Payroll Type: Regular Payroll

Workman, Tiffani M                             527 Conway Ave                              Hourly Rate:         15.5000            Hire Date: 6/17/2021     Federal: Single                     Exempts: 3     Addl Tax:                 Res State:     SC
                                               Laurens, SC 29360
Emp #: WORKTIFF XXX-XX-4527                                                                Status:              Active             Birth Date: 11/13/XXXX   State SC: Single                    Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 124.00                  Paid Gross: 124.00                 Net Pay: 114.51                Direct Deposit: Checking ####4570      114.51      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.5000            8.00              124.00            661.87              9,787.94                                                          SOC SEC EE                 124.00           7.69         11,238.38               696.78
Overtime                                    0.00                0.00             27.88                614.44                                                          MED EE                     124.00           1.80         11,238.38               162.96
Vacation                                    0.00                0.00             40.00                604.00                                                          FEDERAL WH                 124.00           0.00         11,238.38               489.40
Personal                                    0.00                0.00              8.00                116.00                                                          SOUTH CAROLINA WH          124.00           0.00         11,238.38               305.62
FloatingHoliday                             0.00                0.00              8.00                116.00
                         Totals:            8.00              124.00            745.75             11,238.38           Totals:                0.00             0.00                Totals:                        9.49                                1,654.76

Young, Jasmine                                 105 North Marion St                         Hourly Rate:         14.5000            Hire Date: 8/5/2021      Federal: Single or Married Filing   Exempts:       Addl Tax:                 Res State:     SC
                                               Joanna, SC 29351                                                                                             Separately
Emp #:                   XXX-XX-0105                                                       Status:              Active             Birth Date: 9/19/XXXX                                                                                 Work State: SC
YOUNJASM                                                                                                                                                    State SC: Single                    Exempts:       Addl Tax:
REGULAR CHECK                          Gross Wage: 115.71                  Paid Gross: 115.71                 Net Pay: 104.65                Direct Deposit: Checking ####3604      104.65      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  14.5000            7.98              115.71            473.58              6,866.94                                                          SOC SEC EE                 115.71           7.18          7,114.97               441.13
Overtime                                    0.00                0.00              6.07                132.03                                                          MED EE                     115.71           1.68          7,114.97               103.17
Vacation                                    0.00                0.00              8.00                116.00                                                          FEDERAL WH                 115.71           0.00          7,114.97                 0.00
                                                                                                                                                                      SOUTH CAROLINA WH          115.71           2.20          7,114.97               370.65
                         Totals:             7.98             115.71             487.65              7,114.97                 Totals:         0.00             0.00                Totals:                       11.06                                 914.95

Zapata, Maria G                                800 Spartan Dr                              Hourly Rate:         15.0000            Hire Date: 8/19/2021     Federal: Single                     Exempts: 3     Addl Tax:                 Res State:     SC
                                               Gray Court, SC 29645
Emp #: ZAPAMARI XXX-XX-2520                                                                Status:              Active             Birth Date: 9/23/XXXX    State SC:                           Exempts: 3     Addl Tax:                 Work State: SC

REGULAR CHECK                          Gross Wage: 120.00                  Paid Gross: 120.00                 Net Pay: 110.82                Direct Deposit: Checking ####6113      110.82      Check Amount: 0.00               Check #:
Earnings                    Rate           Hours              Dollars        YTD Hours            YTD Dollars Deductions                   Current              YTD Taxes                         Wage             Tax         YTD Wage               YTD Tax
Regular                  15.0000            8.00              120.00            350.82              5,262.30                                                          SOC SEC EE                 120.00           7.44          5,333.18               330.66
Overtime                                    0.00                0.00              3.15                 70.88                                                          MED EE                     120.00           1.74          5,333.18                77.33
                                                                                                                                                                      FEDERAL WH                 120.00           0.00          5,333.18               159.57
                                                                                                                                                                      SOUTH CAROLINA WH          120.00           0.00          5,333.18               110.21
                         Totals:             8.00             120.00             353.97              5,333.18                 Totals:         0.00             0.00                Totals:                        9.18                                 677.77




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                 Page 58
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                   Created on: 11/16/2021 9:29:32 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                             Entered 11/29/21 17:22:28                      Desc
                                                                                                Exhibit A - Payroll Register                         Page 59 of 60
        Client ID:     5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                                             Period Begin Date: 11/7/2021
       Pay Group:      Weekly                                                                                     5000 - The Muffin Mam, Inc.                                                          Period End Date: 11/13/2021
      Check Date:      11/18/2021                                                                                        DBA: The Muffin Mam, Inc.                                                          Pay Period: 46
        Run Date:      11/16/2021                                                                                                                                                                          Payroll Type: Regular Payroll

Company Total
Employees Paid:         202              Voids/Manuals Included:              None                                      Total Net Pay:                46,010.40          Total Check Amount:                 10,501.90          Active:               214
Live Checks:            66               Check Numbers:                       0-0                                       Live Check Net Pay:           46,010.40          Live Check Amount:                  10,501.90          Inactive:               2
Vouchers:               136              Direct Deposit Vouchers:             -                                         Direct Deposits:                   139           Total Direct Deposit:               35,508.50          Terminated:           999

Earnings                      Rate         Hours              Dollars       YTD Hours            YTD Dollars     Deductions                Current            YTD    Taxes                           Wage              Tax          YTD Wage         YTD Tax
Regular                                 2,313.19           50,586.63        304,491.59          6,169,150.17     Child Support                0.00       53,029.75   SOC SEC EE                  46,596.47        2,889.07       7,084,096.12      439,214.07
Overtime                                    0.00                0.00         40,692.92            949,589.25     State Tax Levy               0.00        2,264.04   MED EE                      52,442.63          760.37       7,226,098.80      104,778.45
Vacation                                  104.00            1,612.00          8,924.00            149,158.65     Garnishment                  0.00          581.95   FEDERAL WH                  52,442.63        1,482.46       7,166,213.20      471,245.46
Holiday                                     0.00                0.00          2,192.00             33,384.00     Child Support Fee            0.00          315.00   SOUTH CAROLINA WH           50,750.32        1,300.33       6,990,322.84      301,076.30
Auto Allowance                              0.00                0.00              0.00              8,000.00     UniformsWH                   0.00           58.00   UTAH WH                          0.00            0.00           7,339.77          363.33
Personal                                   16.00              244.00          1,588.00             24,216.23     AflacPT                      0.00        6,733.11
DML                                         0.00                0.00            112.00              1,576.00     AflacAT                      0.00        2,721.85
FloatingHoliday                             0.00                0.00          1,140.00             17,262.00     MedInsPT                     0.00      130,093.31
Bereavement                                 0.00                0.00            312.00              4,584.00     DentalPT                     0.00       16,044.44
Severance Pay                               0.00                0.00              0.00             24,846.16     K401                         0.00       59,885.60
1099 Earnings                               0.00                0.00              0.00             10,036.25     Roth_401K                    0.00       14,013.11
ER Match*                                   0.00                0.00              0.00             40,240.44     JH_Loan                      0.00       13,294.98
                                                                                                                 TranAmerL                    0.00        4,237.03
                                                                                                                 VisioPTWH                    0.00        2,796.80
                                                                                                                 GuardiaAT                    0.00          522.95
                                                                                                                 UnumAT                       0.00           66.40
                                                                                                                 Other                        0.00          752.59
                                                                                                                 STD                          0.00        8,147.96
                                                                                                                 LTD                          0.00        9,060.16
                                                                                                                 Voluntary Life               0.00        7,057.63
                                                                                                                 Accidental Ill               0.00        3,795.36
                                                                                                                 Critical Illnes              0.00        6,303.52
                         Totals:        2,433.19           52,442.63        359,452.51          7,391,802.71                  Totals:         0.00      341,775.54                Totals:                         6,432.23                       1,316,677.61




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                                                  Page 59
                                                                                                                   PAYROLL REGISTER PREVIEW
                                                                                                                                                                                                                         Created on: 11/16/2021 9:29:32 AM
                                                        Case 21-02909-hb                         Doc 22-1 Filed 11/29/21                       Entered 11/29/21 17:22:28   Desc
                                                                                                Exhibit A - Payroll Register                   Page 60 of 60
       Client ID:      5000 - The Muffin Mam, Inc.                                                              PAYROLL REGISTER PREVIEW                                   Period Begin Date: 11/7/2021
      Pay Group:       Weekly                                                                                     5000 - The Muffin Mam, Inc.                                Period End Date: 11/13/2021
     Check Date:       11/18/2021                                                                                      DBA: The Muffin Mam, Inc.                                  Pay Period: 46
       Run Date:       11/16/2021                                                                                                                                                Payroll Type: Regular Payroll

No Third Party Payment activity this payroll.




 *Memo Calculation (not included in totals) **Reimbursement (included in totals) #Non-Paid Earning (not included in totals)

                                                                                                                                                                                                                    Page 60
                                                                                                                  PAYROLL REGISTER PREVIEW
                                                                                                                                                                                           Created on: 11/16/2021 9:29:32 AM
